        Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 1 of 217




                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF ARKANSAS


                                                                                     FILED
                                                                                   U.S. JiSTR!CT COURT
Trinity Behavioral Health Care System, Inc.,                                   EASTERN DISTRICT ARKANSAS

and Maxus, Inc.,
                                                                                   NOV 0 s 20'14
                       Plaintiffs
                                                                         ~A~E~~ERK
         v.                                                                y    --J14.tZ..tf       DEP CLERK


Arkansas Department ofHuman Services, John
M. Selig, in his individual capacity and in his
official capacity as Director of the Arkansas
Department of Human Services, and Dawn
Stehle in her individual capacity and in her
official capacity as Director of the Division of
Medical Services of the Arkansas Department
of Human Service

                       Defendants.



            MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFFS'
       EMERGENCY MOTION FOR A TEMPORARY RESTRAINING ORDER OR
                      PRELIMINARY INJUNCTION

         Plaintiffs Trinity Health Care System, Inc., ("Trinity") and Maxus, Inc., ("Maxus")

(collectively "Plaintiffs" or "Providers") respectfully submit this Memorandum in Support of

their Motion for a Temporary Restraining Order or in the alternative, a Preliminary Injunction.

                                         INTRODUCTION

          This is an action seeking a temporary restraining order or in the alternative, a preliminary

injunction enjoining Defendants from violating Plaintiffs' statutory and constitutional rights and

endangering Arkansas' juvenile and adult Medicaid patients by wrongly suspending Plaintiffs'

Medicaid payments on November 6, 2014. Under federal law, a court should grant preliminary




3228940vl/08992-0015
11/3114
          Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 2 of 217




injunctive relief when movant can demonstrate a likelihood of success on the merits and

irreparable harm in the absence of such relief.

          Plaintiffs in this case are likely to prevail on the merits because the suspension was

wrongly issued on numerous grounds. First, the agency from which the suspension was issued,

the Arkansas Department of Human Services ("DHS"), lacks the authority to do so and therefore,

under the federal Medicaid statutory and regulatory scheme, the suspension is invalid. Second,

even if DHS had statutory authority to issue a suspension of Medicaid payments, which it does

not, DHS misapplied the facts and the law when it issued the suspension pursuant to federal

Medicaid regulation section 455.23. Specifically, suspension was improper under this section

because (i) there have been no credible allegations of fraud; (ii) good cause exists not to suspend

payments; (iii) the allegations that gave rise to the suspension do not threaten state Medicaid

funds; and (iv) the allegations lack any facts to suggest that the alleged conduct in any way

benefitted either of the Providers, let alone both. Third, Plaintiffs will prevail on their due

process claims because the suspension will immediately force Providers out of business thus

depriving them of any opportunity to rebut the allegations put forth against them. Plaintiffs will

be out of business even if they committed no wrongdoing. Fourth, the suspension violates the

patients' due process rights because it was issued without any prior consideration ofthe effect it

would have on Arkansas' Medicaid beneficiaries' access to medical care and the statewide

psychiatric system in violation of Sections 1396a(a)(30)(A) and 1396a(a)(19) of the Social

Security Act. The foregoing sections require that states ensure sufficient care and services are

available to Medicaid beneficiaries and require that states administer the program in the best

interest of the beneficiaries. If the suspension is permitted to take effect and the Providers forced




3228940v I/08992-00 15
11/3/14                                      2
          Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 3 of 217




to close, the entirety ofthe state's Medicaid program will be overwhelmed and the beneficiaries

will be unable to secure sufficient care and services as required by federal law.

          Furthermore, both the patients at issue and the Providers will experience irreparable harm

if this Court does not enjoin DHS from suspending the Medicaid payments before a full and fair

hearing can be held. 1        The patients will experience irreparable harm if they are abruptly

transferred from their treatment providers because the transfer will cause stress, anxiety, and

emotional trauma that will adversely impact their treatment progress.                     The Providers will

experience irreparable harm because they will be forced to immediately close their business even

if it is later established that Providers did not engage in any wrongdoing whatsoever. For these

reasons, as set forth in more detail below, this Court should grant Plaintiffs' request for

immediate injunctive relief.

                    THE MEDICAID STATUTE AND REGULATORY SCHEME

          The Medicaid program, as set forth in Title XIX of the Social Security Act (the "Social

Security Act"), is a joint federal and state program that provides medical assistance to

individuals "whose income and resources are insufficient to meet the costs of necessary medical

services." 42 U.S.C. §1396-1. The program operates by authorizing the Federal Government to

pay a percentage of the costs a state incurs for medical care, and, in return, the state is required to

comply with certain federal requirements.

                                    Medicaid Equal Access Provision

         Federal law requires state Medicaid plans to employ methods and procedures to ensure

that the state's payments are sufficient to enlist enough providers so that care and services are


1
  Plaintiffs have requested and were granted an administrative hearing currently scheduled for November 14, 2014.
However, suspension is set to take effect November 6, 2014 and it is uncertain when a ruling may be handed down
following the hearing. As such, court intervention is necessary to ensure that the patients are not prematurely
removed from their treatment providers as discussed more fully herein.


3228940v I/08992-0015
11/3/14                                            3
          Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 4 of 217




available to the general population in a geographic area. Section 1396a(a)(30)(A) of the Social

Security Act, commonly referred to as the Medicaid "Equal Access Provision" requires that

states:

                    provide such methods and procedures relating to the utilization of,
                    and the payment for, care and services available under the plan
                    (including but not limited to utilization review plans as provided
                    for in section 1396b(i)(4) of this title) as may be necessary to
                    safeguard against unnecessary utilization of such care and services
                    and to assure that payments are consistent with efficiency,
                    economy, and quality of care and are sufficient to enlist enough
                    providers so that care and services are available under the plan at
                    least to the extent that such care and services are available to the
                    general population in the geographic area.

                                         42 US.C. § 1396a(a)(19)


          Federal law also requires that states administer Medicaid plans in the best interests of the

recipients. Specifically, 42 U.S.C. § 1396a(a)(l9) requires that states:

                    provide such safeguards as may be necessary to assure that
                    eligibility for care and services under the plan will be determined,
                    and such care and services will be provided, in a manner consistent
                    with simplicity of administration and the best interests of the
                    recipients.


                         Suspension of Medicaid Payments- 42 C. F. R. § 455.23


          Further, federal law requires state plans to prevent fraud and waste of Medicaid funds and

mandates that Medicaid payments be suspended in instances where an investigation is ongoing

and upon the determination of a credible allegation of fraud, except when good cause exists to

not suspend such payments.

          Specifically, 42 C. F. R. § 455.23 provides:

                    (a) Basis for suspension.



3228940v 1/08992-00 15
11/3/14                                          4
          Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 5 of 217




                            (1)     The State Medicaid agency must suspend all
                    Medicaid payments to a provider after the agency determines there
                    is credible allegation of fraud for which an investigation is pending
                    under the Medicaid program against an individual or entity unless
                    the agency has good cause to not suspend payment or to suspend
                    payment only in part.

                                                     ***
                           (3)     A provider may request, and must be granted
                    administrative review where State law so requires.

                                                     ***
                    (e)     Good cause not to suspend payments. A State may find
                    that good cause exists not to suspend payments, or not to continue
                    a payment suspension previously imposed, to an individual or
                    entity against which there is an investigation of a credible
                    allegation of fraud if any of the following are applicable:

                            ( 1)   Law enforcement officials have specifically
                    requested that a payment suspension not be imposed because such
                    a payment suspension may compromise or jeopardize an
                    investigation.

                           (2)     Other available remedies implemented by the State
                    more effectively or quickly protect Medicaid funds.

                           (3)    The State determines, based upon the submission of
                    written evidence by the individual or entity that is the subject of
                    the payment suspension, that the suspension should be removed.

                           (4)    Beneficiary access to items or services would be
                    jeopardized by a payment suspension because of either of the
                    following:

                           (i)     An individual or entity is the sole
                           community physician or the sole source of essential
                           specialized services in a community.

                           (ii)  The individual or entity serves a large
                           number of beneficiaries within a HRSA-designated
                           medically underserved area.




3228940v I/08992-00 15
11/3/14                                          5
          Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 6 of 217




                          (5)     Law enforcement declines to certify that a matter
                   continues to be under investigation per the requirements of
                   paragraph (d)(3) ofthis section.

                            (6)     The State determines that payment suspension is not
                    in the best interests of the Medicaid program.


          The purpose of 42 C.F.R. §455.23 is to ensure that state agencies suspend payments to

providers who are submitting fraudulent claims such that Medicaid funds are not wrongly

dissipated. See 76 F.R. 5966, p. 5934. (discussing that a suspension may be issued in part as

long as "fraudulent claims were not continuing to be paid.") The good cause exception is

intended to be broad "to reflect that payment suspension is a very serious action that can

potentially lead to dire consequences." 76 F.R. 5966, p. 5933. In this case, there have been no

allegations of improper billing or conversion of Medicaid funds asserted against the Providers.

                                Authority to Suspend Medicaid Payments

         Federal regulations mandate the suspension of Medicaid payments to providers under

certain circumstances. See 42 C. F. R. §455.23. As of July 1, 2013, pursuant to the powers and

duties delegated to it by duly enacted Arkansas state statute, the Arkansas Office of Medicaid

Inspector General is the only agency with the proper delegated authority to suspend Medicaid

payments in Arkansas. See A.C.A 20-77-2505, A.C.A. 20-77-2506, and A.C.A. 20-77-2508.

Specifically, the Medicaid Inspector has the explicit statutory duty to: "[p]revent, detect, and

investigate fraud and abuse within the medical assistance program"2 and to "[p]ursue civil and

administrative enforcement actions against an individual or entity that engages in fraud, abuse, or

illegal or improper acts within the medical assistance program, including without limitation: ...

(ii) [w]ithholding payment of medical assistance funds in accordance with state laws and rules

2
  A.C.A. 20-77-2505. A.C.A. 20-77-1303. The "medical assistance program" is defined to include the
program under Title XIX of the federal Social Security Act, commonly known as "Medicaid."


3228940v 1/08992-0015
11/3/14                                         6
          Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 7 of 217




and federal laws and regulation; [and] (iii) [i]mposition of administrative sanctions and penalties

in accordance with state laws and rules and federal laws and regulations."           A.C.A. 20-77-

2506(6)(A). DHS has no similar statutory authority pursuant to which it may order suspension

of Medicaid payments.        Further, in accordance with A.C.A. 20-77-2508, all "duties" and

"functions" of DHS necessary to the operations of the Office of Medicaid Inspector General

were transferred to the Arkansas Office of Medicaid Inspector General. Accordingly, to the

extent DHS ever possessed authority to order the suspension of Medicaid payments, such

authority has since been transferred to the Office of Medicaid Inspector General.

                                 BACKGROUND AND FACTS

                         Trinity and Maxus Psychiatric Treatment Facilities

          Trinity is a licensed inpatient treatment facility that was established in 1987 and has

operated as a licensed psychiatric residential treatment facility since 1999. (See Affidavit of

Kristi Kirk attached hereto as Exhibit A at ~6). Trinity provides psychiatric services to children

in Arkansas ranging from age six to seventeen. (Exh. A at            ~   6). Maxus is an outpatient

treatment facility based in Warm Springs, Arkansas and is a certified provider of mental health

counseling to juvenile and adult patients. (See Third Affidavit of Thomas Christian Stinnett,

M.D., P.A. attached hereto as Exhibit B at       ~6).   Maxus has 18 separate counseling clinics

located throughout the state of Arkansas. (Exh. B       at~   6). The patients at Trinity and Maxus

suffer from psychiatric diagnoses and severe emotional/behavioral problems including impulse

control, abuse recovery, oppositional behavior, depression, grief, post-adoption, chemical

dependency and sexual issues. (See Second Affidavit of Thomas Christian Stinnett, M.D., P.A.

attached hereto as Exhibit Cat ~7; Exh. Bat ~6). Trinity and 12 ofMaxus' 18 counseling clinics

are located within areas designated by the U.S. Department of Health and Human as Medically



3228940v I/08992-00 15
11/3/14                                      7
          Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 8 of 217




Underserved. 3            (Exh. A at ~ 8).     Over 99% of Trinity and Maxus' patients are Medicaid

beneficiaries. (Exh. A at ~ 7).

          The patients receiving treatment at Trinity live on Trinity's residential campus, situated

in Warm Springs, Arkansas. (See Affidavit of Thomas Christian Stinnett, M.D., P.A. attached

hereto as Exhibit D at          ~   6). Patients live in cutting-edge residential homes that are monitored

full-time by residential staff.           (Exh. D at     ~7).    In addition to psychiatric treatment, Trinity

provides its patients with on-campus primary and secondary education. (Exh. D at ~15). Patients

are tested at entry for grade level performance and education plans are developed to address their

individual needs. (Exh. D at ~15). Curriculum is individualized to permit each patient to reach

his or her greatest academic potential and earn a high school diploma or GED. (Exh. D at ~15).

Coordination with the home school district of each patient assures that graduation requirements

will be met. (Exh. D at ~15).

          Trinity has 172 employees and service providers and Maxus has 350 more, many of

whom are highly skilled in the field of psychiatric care and include physicians, master's level

therapists, and registered nurses. (Exh. B at            ~8;    Exh. C at   ~   9). Trinity additionally employs

licensed education personnel. Both Trinity and Maxus have invested a great deal of time and

money in the recruiting, hiring, education, training and certification of these employees and

service providers. (Exh. C at ~9; Exh. B at ~8).

                         DHS' Improper and Unauthorized Attempt To Suspend Payments

          On October 7, 2014, DHS issued letters to Trinity and Maxus purportedly pursuant to 42

C.F.R. §455.23(a) notifying the Providers of the suspension of their Medicaid payments effective

November 6, 2014 because the agency determined there were credible allegations of fraud

3
 Additionally, the U.S. Department of Health and Human Services has designated 16 of 18 of Maxus'
counseling clinics as Underserved Provider Areas specific to mental health. (Exh. B at ~ 11 ).

3228940v I/08992-00 15
11/3/14                                              8
          Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 9 of 217




against the Providers for which an investigation is ongoing. (See October 7, 2014 letters issued

to Maxus and Trinity attached hereto as Exhibit E). DHS noted that the suspension would

continue until DHS or the prosecuting authorities determine that there is insufficient evidence of

fraud or until the legal proceedings related to the alleged fraud are completed. (Exh. E). There

have been no allegations that patient care at Maxus or Trinity has been affected or compromised

m any way.          See Exh. E.        DHS indicated that the suspension was based upon "credible

allegations" that the owner of Trinity and Maxus provided cash and other things of value to an

officer of DHS in return for that officer's acts, including the provision of internal DHS

information that allegedly benefited the owner and the Providers. (Exh. E).

          In its suspension letter, DHS acknowledged the large numbers of Medicaid beneficiaries

that will be negatively impacted by the suspension and found good cause exists to immediately

suspend payment only in part. (Exh. E). Per DHS's letter, the Providers' Medicaid payments

have been suspended for all new inpatient admissions and outpatient beneficiaries. (Exh. E).

Payments for existing beneficiaries will be suspended on November 6, 2014 to allow time for

existing beneficiaries to transfer to new providers. 4 (Exh. E).

                                               Effects of Suspension

          If the suspension is permitted to take effect, there will be numerous irreversible negative

consequences for the Providers, the psychiatric care system in Arkansas as a whole and for the

patients currently receiving treatment at Trinity and Maxus.




4
  As of the date of this filing 60 patients remain at Trinity's inpatient facility and over 2,600 patients are continuing
to receive treatment at one of Maxus' outpatient facilities. As such, the timeframe established by DHS to effectuate
the transfer of patients from Trinity and Max us is clearly insufficient and unrealistic. This is not surprising given
the large number of patients' Providers treat and the lack of alternative care facilities as discussed herein.


3228940v I/08992-0015
11/3/14                                               9
          Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 10 of 217




Negative Effect on the Providers

          The suspension levied by DHS will be the direct cause of the Providers' permanent

destruction and Providers will immediately be forced out of business if the suspension is

permitted to take effect. (Exh. C at        ~~    8, 10; Exh. B at   ~~   7, 9). Providing 24-hour in-patient

care and daily services to out-patient individuals is not a business that can be

"suspended." (Exh. C at         ~8;   Exh. B at   ~7).   The patients Providers treat cannot forgo treatment

pending resolution of an eventual post-suspension administrative hearing but rather must seek

immediate services at another facility and will not return once they do so. (Exh. C at ~8; Exh. B

at ~7).

          Providers have over 500 employees or service providers, all of whom will seek

employment elsewhere if Providers' Medicaid payments are suspended. (Exh. Cat ~9; Exh. B

~8).    In fact, employees who cannot risk being left without a paycheck have begun resigning

despite a strong desire to remain with their patients. See a true and correct copy of a text

message from a clinical supervisor to Providers' Compliance Director Kristi Kirk attached hereto

as Exhibit F in which the clinical supervisor explains her decision to resign by stating the

following:

                    I want you to know that I have been here 9 amazing years and
                    would have been for another 50. I love ACA and have enjoyed it. I
                    have been so uneasy about the future and the bottom line is that I
                    have 3 babies to take care of and they are my priority. You are
                    such a dear friend and I hope that you can look past this and
                    continue that friendship. I did notify Francis as well. I feel terrible
                    for both of you but need to find something that I have a guaranteed
                    job and pay check. I hope you can understand!


This employee and hundreds more like her cannot forgo weeks of pay pending the resolution of

the administrative hearing. To ask these employees to remain with the Providers and continue



3228940v I/08992-00 15
11/3/14                                              10
         Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 11 of 217




caring for the thousands of patients under Providers' care until they are afforded the opportunity

to rebut the allegations made against would be to deny these employees their livelihood for an

underdetermined length of time.       In truth, if the suspension is permitted to take effect on

November 6, these employees will be forced to seek alternative employment. The Providers then

will be unable to replicate its current staffing levels after the termination hearing given the

amount of investment that has gone into their current staff and the limited pool of available

qualified personnel. (Exh. C at ~9; Exh. B ~8).

          Medicaid payments make up over 99% of Providers' revenue; a suspension of those

payments pending an undetermined time for administrative review will leave the companies with

no source of income, no patients, and no employees to serve them. (Exh. Cat ~10; Exh. B ~9).

The Providers will be forced to close their doors before they have any opportunity for a full and

fair hearing on the merits of the suspension and they will not be able to reopen even if they are

successful on the administrative hearing level. (Ex h. C at ~1 0; Exh. B ~9).

Negative Effects On Arkansas' Psychiatric Care System

          Both Trinity and Maxus treat patient who are residents of rural Arkansas where access to

psychiatric treatment facilities is limited. (Exh. D at ~17). If the suspension takes effect and the

Providers are forced to close their doors, the number of mental health patients in Arkansas who

are in need of medical care will skyrocket because of the lack of alternative care facilities. (Exh.

Cat ~17; Exh. Bat ~12). The already overstretched state psychiatric system will be even further

burdened potentially causing a decrease in the level of care the beneficiaries receive.

                          Shortage of Inpatient Psychiatric Care Facilities

          The Arkansas Health Services Permit Agency ("HSP A") prepares an annual survey to

determine capacity for Psychiatric Residential Treatment Facility ("PRTF") need. (Exh. C at



3228940v I /08992-0015
11/3/14                                      11
         Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 12 of 217




~12).    As of October 2014, HSPA reports that there are 628 in-state beds for PRTF in Arkansas.

92 of those beds are Trinity's. (Exh. Cat ~13). Based on HSPA's most recent report, statewide

bed need for inpatient psychiatric patients is 634. (Exh. C at       ~14).   Thus, according to the

HSPA, the state's current bed need is 6 fewer than are currently available. (Exh. C at        ~14).


Suspending Trinity's Medicaid payments would immediately reduce the number of available

PRTF beds in Arkansas by 15% thereby causing an extreme shortage ofPRTF beds in the state.

(Exh. C at      ~15).    The state's inpatient bed shortage would surge from 6 to 98 overnight and

because of the current moratorium on new inpatient beds, no additional bed space can be created

to house Trinity's inpatient population.

                        "Medically Underserved" Areas Currently Served by Providers

          The U.S. Department of Health and Human Services uses several factors, including ratio

of primary medical care physicians per I ,000 population, infant mortality rate, percentage of the

population with incomes below the poverty level, and percentage of the population with incomes

below the poverty level, and percentage of the population age 65 or over to designate defined

geographic areas as "Medically Underserved." See hltp://www.hrsa.gov/shortage/mua/. Trinity

and 12 of 18 of the Maxus' outpatient counseling clinics are within Medically Underserved

Areas. (Exh. A at ~ 8).

          Specifically, Plaintiffs provide services to Arkansas' Medicaid beneficiaries in the

following counties that have been designated as Medically Underserved Areas: Baxter, Chicot,

Desha, Greene, Jackson, Jefferson, Mississippi, Pulaski, Randolph, Sebastian. (Exh. A at ~8). If

the suspension is permitted to take effect and Trinity and Maxus are forced to close despite the

lack of any proof (or even credible allegations) of wrongdoing, these designated Medically

Underserved Areas will experience an even greater shortage of available treatment centers and



3228940v 1/08992-0015
11/3/14                                         12
         Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 13 of 217




wait times at the remaining outpatient facilities will dramatically increase. (Exh. B at ~~ 12-13).

This real concern over a lack of alternative treatment centers is even more compelling

considering the current moratorium on new licenses for outpatient counseling clinics. While

existing clinics may be able to provide treatment for some of Max us' current patients, if they

have the capacity, no new facilities can be opened. Thus, patients living in areas where Maxus

was the only provider will either have to travel to seek treatment or will go without. Considering

the patients' lack of financial resources, the latter is the most likely possibility.

Negative Effect on the Patients

          Because the state is already suffering from a shortage of Medicaid sponsored psychiatric

treatment facilities, abruptly ceasing operations of two of its largest psychiatric behavioral

treatment providers will be devastating to those individuals relying on the treatment Plaintiffs

provide.       See generally, Exh. D.     There is no facility in Northeast Arkansas that can

accommodate Trinity's approximately 100 juvenile inpatients and certainly no facility in the

state with the same level of facilities and treatment for juveniles. (Exh. D at ~17). Additionally,

a large portion of outpatient psychiatric patients will be unable to find nearby substitute

Medicaid outpatient counseling clinics. (Exh.       Bat~   12).

         In addition to a lack of available alternative treatment, the removal of the Providers'

patients from their treatment facilities in itself will likely cause emotional trauma to the patients

that will negatively affect their treatment progress. Because the patients in both the inpatient and

outpatients treatment centers suffer from various behavioral and mental disorders, developing a

stable, comfortable, secure, and trusting therapeutic setting is essential. (Exh. D at    ~~   8, 21 ).

Patients with behavioral and mental disorders have a more difficult time developing trust in their

providers. (Exh. D at     ~~   8, 21). Generally, a period of "bonding" must occur between the



3228940v 1/08992-0015
11/3/14                                        13
                                    ------------------------------------,
              Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 14 of 217




      psychiatric patient and the treatment provider before any benefits of treatment materialize. (Exh.

      D at -,r-,r 11, 22). Removing the patients from Trinity and Maxus will immediately break the trust

      that has been developed, will retard the progress that has been made, and will cause irreparable

      regression in the patients' mental growth. (Exh. D at -,r-,r 14, 24).

                The patients residing at Trinity will experience the negative effects of the suspension to

      an even greater degree because in addition to being removed from their medical treatment

      providers, they are also being removed from the residences and their education providers. (Exh.

      D at -,r16). In many cases, a child coming to Trinity has already tried but failed to receive the

      treatment he or she needs through foster home care, stays in psychiatric hospitals, and in non-

      resident treatment facilities. (Exh. D at -,r12). Forcing these patients to once again endure a

      traumatic transfer away from their medical providers, their educational providers, and their stable

      residences will result in therapeutic and educational regression. (Exh. D at -,r-,r 13, 16).

               On October 22, 2014, Plaintiffs filed a formal notice of appeal with DHS requesting that

      DHS consider the adverse impact the suspension would have on (i) the Providers; (ii) the state's

      psychiatric system as a whole; and (iii) the 2,600 patients receiving treatment at Trinity and

      Maxus. (See Notice of Appeal attached hereto as Exhibit G).

                                  STANDARD FOR INJUNCTIVE RELIEF

               Federal Rule of Civil Procedure 65 governs the issuance of injunctive relief. See FED. R.

      Civ. P. 65. In considering a motion for a preliminary injunction, courts consider the following

      four factors: (1) the likelihood that the moving party will succeed on the merits; (2) the threat of

      irreparable harm to the moving party; (3) the balance between the threat of irreparable harm and

      any injury that granting the injunction would inflict on the other parties; and (4) the impact that

      granting injunctive relief would have on the public interest. Dataphase Systems, Inc. v. CL



      3228940v 1/08992-0015
      11/3/14                                        14



----------------                     ----------
         Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 15 of 217




Systems, Inc., 640 F.2d 109, 113 (8th Cir. 1981 ). As the Eighth Circuit made clear in Dataphase,

these four factors are flexible and interrelated. !d. Stated differently, a movant is not required to

prevail on every factor. International Long Term Care, Inc. v. Shalala, 94 7 F. Supp. 15, 17

(D.C. Cir. 1996). An overwhelming showing of one element may compensate for another. !d.

          In this case, Plaintiffs satisfy all four elements. Plaintiffs have a strong likelihood of

succeeding on the merits of their claim and it is beyond dispute that both Plaintiffs and the 2,600

Arkansas Medicaid beneficiaries currently receiving treatment at Trinity and Maxus will

experience irreparable harm if the suspension is permitted to take effect on November 6, 2014.

Defendants, on the other hand, will suffer no harm if an injunction is granted. Furthermore, the

public interest overwhelmingly supports issuance of an injunction in this case. Accordingly,

Plaintiffs' Motion should be granted.

                                            ARGUMENT

          An injunction is appropriate in this case because Plaintiffs (and the thousands of patients

they treat) will suffer serious and irreparable harm in the absence of an injunction and because

Plaintiffs can demonstrate a likelihood that they will ultimately prevail on the merits of their

claim.      See Bio-Medical Laboratories, Inc. v. Trainor, 68 Ill.2d 540 (Ill. 1977) (enjoining

suspension from Medicaid program and finding irreparable harm when 90% of the plaintiffs

income was generated from Medicaid payments); Kapable Kids Learning Center Inc. v.

Arkansas Dep't of Human Services, 420 F. Supp. 2d 956, 961 (E.D. Ark. 2005) (sustaining an

injunction issued to protect Medicaid beneficiaries' procedural due process right to equal access

to medical care); Oak Park Health Care Center, LLC v. Johnson, 2009 WL 331563, *3 (W.O.

La., Feb. 10, 2009) (finding "the threat of irreparable injury likely to be suffered by the residents

[if forced to move abruptly] alone was sufficient to obtain preliminary injunction."); Pathfinder

Healthcare, Inc. v. Thompson, 177 F. Supp. 2d 895, 896 (E.D. Ark. 2001) (granting injunctive

3228940v I/08992-00 15
11/3/14                                       15
         Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 16 of 217




relief when requiring plaintiff to wait for the administrative review process would be the

"practical equivalent of a total denial of judicial review.").

   I.     PLAINTIFFS ARE LIKELY TO PREVAIL ON THE MERITS

          Plaintiffs have a substantial likelihood of prevailing on the merits on a number of

independent bases. First, the agency from which the suspension was issued, DHS, lacks the

authority to do so and therefore, the suspension is invalid. Second, even if DHS had statutory

authority to issue a suspension of Medicaid payments, the purported suspension in this case is in

contravention to federal Medicaid regulation section 455.23.          Specifically, the suspension

conflicts with the regulation because (i) there have been no credible allegations of fraud; (ii)

good cause exists not to suspend payments; (iii) the allegations at issue do not threaten state

Medicaid funds; and (iv) there are no allegations that the alleged conduct in any way benefitted

Trinity or Maxus, let alone both. Furthermore, Plaintiffs will likely prevail on their due process

claims and on the due process claims of the 2,600 patients for which the injunction is also being

sought. Plaintiffs will prevail because the effect of the suspension will be to put Plaintiffs out of

business before they are ever granted a full and fair hearing on the merits even if it is later shown

that they did not commit any wrongdoing in violation of the Plaintiffs' procedural and

substantive due process rights. The suspension will also unnecessarily and abruptly force the

patients to leave their treatment facilities and put the patients at substantial risk of being denied

medical treatment entirely due to the lack of available alternative treatment facilities thereby

violating the patients' procedural and substantive due process rights. Accordingly, an injunction

is warranted under the circumstances to prevent the gross inequity that would result if the

suspension were permitted to take effect before Plaintiffs have an opportunity to present these

arguments and obtain a reversal of the unauthorized and wrongful suspension.



3228940v I/08992-00 15
11/3/14                                       16
        Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 17 of 217




               A. The Suspension Was Not Authorized By Law

          A state or federal agency cannot act in the absence of statutory authority. See American

Bus Ass 'n v. Slater, 231 F.3d 1 (D.C. Cir. 2000). Action taken by an administrative agency

without the requisite statutory authority is improper and should be reversed. Northport Health

Servs. v. Arkansas Dep 't of Human Services, 2009 Ark. 619 (Ark. 2009). See also Bio-Medical

Laboratories, Inc. v. Trainor, 68 Ill.2d 540 (Ill. 1977) (affirming grant of preliminary injunction

finding the defendant was without statutory authority to suspend or terminate plaintiffs

participation in the Medicaid program.).

         As of July 1, 2013, the Arkansas Office of Medicaid Inspector General is the only agency

with the proper delegated authority to suspend Medicaid payments in Arkansas and has the

explicit statutory duty to pursue civil and administrative remedies in order to prevent, detect, and

investigate fraud within the Medicaid program. See A.C.A 20-77-2505, A.C.A. 20-77-2506, and

A.C.A. 20-77-2508. DHS has no similar statutory authority pursuant to which it may order

suspension of Medicaid payments. Further, in accordance with A.C.A. 20-77-2508, all "duties"

and "functions" of DHS necessary to the operations of the Office of Medicaid Inspector General

were transferred to the Arkansas Office of Medicaid Inspector General, effective July 1, 2013.

As such, to the extent the DHS ever possessed the authority to order the suspension of Medicaid

payments, such authority has since been transferred to the Office of Medicaid Inspector General.

         Because DHS issued a suspension of Plaintiffs' Medicaid payments without any statutory

authority to do so, the purported suspension is invalid. Accordingly, Plaintiffs have a substantial

likelihood of success on their claim that the suspension should be reversed.

              B. DHS Misapplied the Facts and the Law When Issuing the Suspension
                 Pursuant to 42 C.F.R. § 455.23

         If DHS had statutory authority to issue the suspension, which it did not, the suspension


3228940v 1/08992-0015
11/3/14                                      17
         Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 18 of 217




should nonetheless be reversed because DHS misapplied the facts and the law in issuing the

suspension pursuant to 42 C.F.R. §455.23. Specifically, the suspension contravenes the federal

Medicaid regulation because (i) there have been no credible allegations of fraud; (ii) good cause

exists not to suspend payments; (iii) the allegations at issue do not threaten state Medicaid funds;

and (iv) there are no allegations that the alleged conduct in any way benefitted Trinity or Maxus,

let alone both.

                        i.   No Credible Allegations of Fraud

          In order to suspend a provider's Medicaid payments in accordance with the federal

regulations, the agency with the requisite authority must first determine there are "credible

allegation[s] of fraud." 42 C.F.R. §455.23(a). DHS's unauthorized decision to suspend the

Providers' Medicaid payments was in violation of the federal regulations because there have

been no such allegations.

          To be a credible allegation of fraud under federal law, the allegation should be "an

allegation, which has been verified by the state, from any source, including but not limited to the

following: (1) Fraud hotline complaints; (2) Claims data mining; (3) Patterns identified through

provider audits, civil false claims cases, and law enforcement investigations." 42 C.F.R. §455.2.

(Emphasis added). Additionally, pursuant to federal law, allegations must "have an indicia of

reliability and the State Medicaid agency should review all allegations, facts, and evidence

carefully and act judiciously on a case-by-case basis." 42 C.F.R. §455.2(3). (Emphasis added).

Accordingly, the federal regulations require that the state Medicaid agency conduct an

independent review of an allegation in conjunction with additional facts and evidence in order to

verify the allegation prior to making an adverse decision to suspend Medicaid payments. A pre-

suspension independent review is required because, as the federal government has explicitly



3228940v 1/08992-0015
11/3/14                                          18
        Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 19 of 217




recognized, "payment suspension is a very serious action that can potentially lead to dire

consequences." 76 F.R. 5966, p. 5933.

          In this case, DHS has failed to follow any of the requirements for determining whether a

credible allegation of fraud exists.     There is absolutely no evidence to suggest that DHS

complied with statutory obligations and underwent any investigation to confirm the veracity of

the allegations that gave rise to the suspension.       In fact, Providers issued a freedom of

information request (the "FOIA Request") to DHS requesting (1) a complete copy of the file

regarding the temporary suspension of Medicaid payments to Maxus and Trinity and (2) copies

of all documents, or other evidence, that DHS employees have received, reviewed, sent, or

authored in connection with the alleged "credible allegation of fraud" against Maxus and Trinity.

(A true and correct copy of Providers' FOIA Request is attached here to as Exhibit H). There

were no records of substance provided in response. (A true and correct copy of the FOIA

Response is attached here to as Exhibit 1). Accordingly, it is clear that DHS has not undergone

the required review process or conducted any independent or objective investigation of the

allegations at issue here. Rather, upon information and belief, DHS merely accepted allegations

contained in a federal plea agreement entered into by one of DHS' former employees, now a

convicted felon, as true.

         Because DHS failed to conduct any objective review or independent verification of the

allegations and failed to conduct any investigation into the facts and evidence prior to issuing the

suspension of Providers' Medicaid payments, the suspension was not issued in response to a

"credible allegation of fraud" and is not consistent with federal law. As such, Plaintiffs have a

likelihood of success in having the suspension reversed on these grounds.




3228940v 1/08992-0015
11/3114                                      19
         Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 20 of 217




                          ii.     Good Cause Exceptions Exist for Continuing Medicaid Payments

           It is likely Providers will succeed on the merits because even if DHS had conducted a

proper investigation into the allegations that it relied upon in issuing the suspension, substantial

good cause exists not to suspend payments.                   See 42 C.F.R. §455.23(e).   The Medicaid

regulations specifically provide that the following constitutes good cause to not suspend

payments: (a) the provider serves a medically underserved area and (b) suspension would not be

in the best interests of the Medicaid program. 42 C.F.R. §455.23(e). Both good cause exceptions

apply here.

     a. The Providers Serve Medically Underserved Areas

          The federal regulations specifically provide that serving a Medically Underserved Area

constitutes a good cause exception to the suspension provision because the federal government

recognizes that suspending payments pay have devastating and irreversible effects on

beneficiaries living in certain underserved areas. See 76 F.R. 5966, p. 5933. Trinity and 12 of

18 ofMaxus' outpatient clinics serve patients in Medically Underserved Areas. (Exh. A at~ 8).

As discussed above, permitting the suspension will directly impact those living in these

Medically Underserved Areas. (See supra p. 13-14). As such, good cause exists pursuant to 42

C.F.R. §455.23(e)(4)(ii) to not suspend the Providers' Medicaid payments at this time.

     b. Suspension Is Not In The Best Interests Of The Medicaid Program

          Good cause also exists not to suspend payments because, as set forth in detail below,

suspension is not in the best interests of the state's Medicaid program.

                                Suspension Will Be Harmful To The Patients' Treatment

          The removal of the Providers' patients from their treatment facilities will cause emotional

trauma to the patients and will likely cause therapeutic regression, particularly for those patients



3228940v I /08992-00 15
11/3/14                                              20
        Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 21 of 217




residing at the Providers' inpatient facility. (Exh. D    at~~   18, 25). Abruptly removing patients

suffering from severe emotional and behavioral problems from the therapeutic setting they have

grown accustomed to will destroy the bonding they have developed with their treatment

providers and will be disruptive to their treatment.        (Exh. D at    ~~   11, 24).     Furthermore,

removing the patients from Trinity will also remove them from their education providers causing

additional trauma and loss in educational progress. (Exh. D at ~16). These unnecessary changes

in their treatment modalities threaten to cause further psychiatric and emotional trauma. (Exh. D

at~~    11, 24). Simply put, forcing the closure of Plaintiffs' operations and removing the patients

from their established treatment providers runs directly contrary to the best interests on the

Medicaid program in Arkansas.

                    The Patients Will Likely Be Unable To Obtain Alterative Treatment

          The majority of the patients at issue in this action are residents of rural Arkansas where

there is a lack of alternative Medicaid eligible psychiatric facilities. (Exh. 8 at       ~11;   Exh. D at

~17).    As discussed above, Trinity and 12 of Maxus' 18 outpatient counseling clinics provide

necessary services to areas in Arkansas that have been officially designated as underserved by

the U.S. Department of Health and Human Services. (Exh. D at~ 8). As such, if the suspension

is permitted to take effect and the Providers forced to shut down, their 2,600 patients will likely

be unable to obtain alternative treatment thereby further jeopardizing their health, safety, and

well-being.

         Even DHS has recognized the devastating effects that closing the Providers will have on

Arkansas' Medicaid population and ordered that the suspension only be "in part" such that

initially, it only applies to new patients. (Exh. E). The full suspension is scheduled to take

effect on November 6, 2014. (Exh. E). When the full suspension is effectuated, the Providers



3228940v I/08992-0015
11/3/14                                        21
        Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 22 of 217




will be immediately and permanently forced out of business. The current psychiatric system will

likely be unable to absorb the 2,600 patients and the closure of Plaintiffs' facilities will further

stress the already overburdened system, likely resulting in a decreased level of care throughout

the state. In the absence of any allegations that the patients' safety is at issue, dismantling an

organization employing over 500 healthcare professionals and service providers, and serving

over 2,600 patients is not in the best interests of the state's Medicaid program.

    Suspension Will Increase The State's Shortage of Medicaid-Accredited Inpatient Facilities

          If the suspension takes effect and Trinity is forced to close its doors, the state's inpatient

bed shortage will immediately increase by 15%. 92 additional juvenile patients in need of

residential treatment will be forced to go without. Such a dramatic and abrupt reduction in

available beds when the state's needs are already being underserved would further burden the

state's already overtaxed and underserved psychiatric care system and would not be in the best

interest of the state's Medicaid program as a whole. Accordingly, the good cause exception

compels that the Providers' payments not be suspended.

                        iii.   Allegations Don't Involve Threats to Medicaid Funds.

          Even if the suspension was based on credible allegations of fraud (which it wasn't) and

the good faith exceptions did not apply (which they do), the suspension is nonetheless unjustified

because the allegations do not relate to any conduct that threatens the Medicaid payment system.

The purpose of the Medicaid suspension of payments provision is to "combat and prevent fraud

and abuse" but to do so in a manner that will "ensure that the department and its outside

contractors treat providers with fairness and due process." A.C.A. 20-77-1302(a); A.C.A. 20-77-

1701 (b). Further, the intent of the suspension provision is to ensure that state agencies suspend

payments to providers who are submitting fraudulent claims such that Medicaid funds are not



3228940v I/08992-0015
11/3/14                                            22
         Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 23 of 217




wrongly dissipated. See 76 F.R. 5966, p. 5934. Defendants' suspension of Medicaid payments

is in contravention of the federal regulations in that it was issued in response to allegations that

do not relate to misuse of Medicaid funds and the suspension is not intended to protect and

preserve such funds. See Exh. E. There are no allegations that the Providers are engaging in

improper Medicaid billing or that Medicaid funds are being misappropriated in any manner

whatsoever. Rather, the sole allegation that gave rise to the suspension states that the owner of

Trinity and Maxus, provided "cash and other things of value to an official of DHS in return for

that official's acts, including the provision of internal DHS information that benefitted" the

owner and the Providers.

          Continuation of Medicaid payments to the Providers in this case presents zero threat to

Medicaid funds, but the suspension of such payments will severely threaten the well-being of

those Arkansas citizens intended to benefit from the Medicaid program and will destroy

Providers before a full and fair hearing can occur. As such, the Defendants' suspension of

Plaintiffs' Medicaid payments is in direct contravention of the intent and purpose of 42 C.F.R.

§455.23 and should be stayed pending resolution ofthe administrative review procedure.

                         iv.   Suspension is Not Warranted Because There Are No Allegations that the
                               Alleged Conduct Was Intended To Or Actually Benefitted Trinity or Maxus

          The suspension statute has been misapplied in this case for the additional reason that

DHS has treated Trinity, Maxus, and their owner as one entity.                Trinity and Maxus are

independent corporate entities and each provides its own separate Medicaid eligible services.

Here, DHS has adopted allegations that the owner of the Providers obtained "information" from

a DHS official in exchange for cash and other things of value. However, DHS does not set forth

how the alleged conduct of Provider benefitted either Trinity or Maxus. The alleged illegal

conduct is not attributable to these separate entities absent evidence that the alleged wrongdoing


3228940v I/08992-00 15
11/3/14                                           23
        Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 24 of 217




was taken on the Providers' behalf or for their benefit. Without a plausible connection between

alleged actions and a benefit to Trinity or Maxus, it is improper for DHS to suspend Medicaid

payments to either organization, let alone both.

          Furthermore, the violations of law alleged to have been committed thus triggering the

suspension-conspiracy to commit an offense against the United States and theft or bribery

concerning programs receiving Federal funds, both require intent. See 18 U.S.C. §§ 371 and

666. DHS, however, has not asserted how any alleged action was intended to benefit Trinity or

Maxus, let alone how either organization did in fact benefit. See Exh. E. DHS simply states in a

conclusory fashion that "[t]he allegation is of an exchange of cash and other things of value for

the acts and information provided to you and [the Providers] that was unauthorized and illegal

and was beneficial to Maxus." (Exh. E). In the absence of any factual allegations that the

alleged conduct was intended to or did in fact benefit Trinity or Maxus, suspension was not

warranted.

          Because the Defendants' suspension of Medicaid funds was issued in the absence of

credible allegations of fraud, in the absence of any threat to Medicaid funds, when good cause

exists to not suspend payments and when there are no allegations that the alleged conduct

threatens Medicaid funds, or that the alleged conduct was intended to or actually benefitted

either Trinity or Maxus, let along both, the suspension violates 42 C.F.R. §455.23 and should be

set aside pending a full and fair review on the merits by DHS via administrative hearing process.

               C. The Suspension Violates Plaintiffs' Due Process Rights

          In general, procedural due process requires that a hearing before an impartial decision

maker be provided at a meaningful time and in a meaningful manner prior to a government

decision which deprives one of its a liberty or property interest. U.S. Const. amend. XIV § 1;



3228940v I/08992-00 15
11/3/14                                     24
         Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 25 of 217




Ingram v. City of Pine Bluff, 355 Ark. 129, 136 (2003) quoting Matthews v. Eldridge, 424 U.S.

319 ( 197 6). A person's liberty interest is implicated if the government levels a charge against

him that "impairs his reputation for honesty or morality." Erickson v. U.S. ex rei. Dep 't. of

Health & Human Services, 67 F.3d 858,862 (9th Cir. 1995). The extent to which procedural due

process must be afforded the recipient is influenced by the extent to which he may be condemned

to suffer great loss. Parker v. BancorpSouth Bank, 369 Ark. 300, 307 (2007). Additionally, "[a]

state agency's failure to follow its own ordinances or regulations may constitute a deprivation of

property without due process." Derrickson v. Board of Educ. of City of St. Louis, 703 F.2d 309,

315 (8th Cir. 1983), citing Wilson v. Robinson, 668 F.2d 380, 382-383 (8th Cir. 1981) (overruled

on other grounds).

          Plaintiffs have a likelihood of success on their due process claims on numerous grounds.

First, because Plaintiffs have a liberty interest in their well-established reputation for honestly

and morally serving the Arkansas community, they are entitled to procedural due process before

any deprivation of that right.       By enacting the suspension without giving Providers the

opportunity for an immediate review, DHS' actions threaten to infringe upon these rights without

constitutionally afforded due process.      Once the suspension takes place, patients will be

discharged and Providers' employees and service providers will leave to seek employment

elsewhere.        Trinity and Maxus will be unable to operate and will be forced to shut down

permanently. Even if the Providers are vindicated after the administrative review process has

been completed, they will already have been forced out of business, will be unable to reopen, and

their reputation forever and unjustifiably tarnished. Stated differently, the administrative process

that DHS employs is akin to affording a criminal defendant on death row a full and fair hearing

after he is executed. By the time the "appeal" process is completed, it will be too late. The



3228940v I/08992-00 15
11/3/14                                      25
        Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 26 of 217




criminal defendant will be dead and the Providers will no longer exist.

          Second, the suspension constitutes a deprivation of due process because DHS' failure to

provide Plaintiffs a meaningful opportunity to present a defense constitutes a violation of 42

C.F.R. §455.23(a)(2) which requires both that Plaintiffs are granted an administrative review of

their suspension and that any suspension issued pursuant to section 455.23(a)(2) be temporary.

While Plaintiffs have initiated the administrative review process and are in the process of

challenging the wrongful and unauthorized suspension, any post-suspension hearing will be

wholly insufficient to protect Plaintiffs' due process rights. Medicaid payments make up 99% of

Providers' revenue and the Providers cannot operate, even temporarily, with 99% of their

revenue abruptly withheld. (Exh. B       at~   9; Exh. C at   ~10).   The effect of the "temporary"

suspension will be the permanent closure of two of Arkansas' largest psychiatric treatment

providers solely on the bases of unsubstantiated allegations. Plaintiffs will have no opportunity

for review of the agency's decision to suspend their Medicaid payments, in violation of the

statutory and regulatory requirements and Plaintiffs' procedural due process rights.

          Lastly, because there have been no allegations that the patients' safety is at risk and no

Medicaid funds are at risk of wrongful dissipation, the suspension was issued arbitrarily,

capriciously, and without rational basis. To permit the suspension to take effect under these

circumstances and force Providers permanently out of business before they are afforded any

opportunity for a full and fair hearing on the merits of the allegations against them shocks the

conscience and offends judicial notions of fairness such that Defendants are in violation of

Plaintiffs' substantive due process rights.

              D. The Suspension Violates Patients' Due Process Rights




3228940v 1/08992-0015
11/3/14                                        26
            ----------------------------------------------------------------------------,
         Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 27 of 217




          The patients at issue in this action have a protected interest in continuing to receive

Medicaid sponsored treatment and to have equal access to such treatment as provided for by

Section 1396a(a)(30)(A) of the Social Security Act. Additionally, the patients are entitled to a

state Medicaid system administered in their best interests as provided for by Section

1396a(a)(l9) of the Act. Denial of these statutorily protected rights amounts to a denial of due

process of law. See Kapable Kids Learning Center Inc. v. Arkansas Dep 't of Human Services,

420 F. Supp. 2d 956, 961 (E.D. Ark. 2005). Further, courts have determined that implementing

changes in Medicaid payments without first conducting a study into the effects the change would

have is both a violation of the Medicaid Equal Access Provision and a violation of the Fourteenth

Amendment's procedural due process clause. See Pediatric Specialty Care, Inc. v. Arkansas

DHS, 364 F.3d 925 (2004); Arkansas Medical Soc., Inc. v. Reynolds, 6 F.3d 519 (1993) (holding

that because DHS failed to consider the reduction in reimbursement's impact on equality of

access, efficiency, economy and quality of care, DHS's decision violated the requirements of

§1396(a)(30)(A). See also Spivey v. Barry, 665 F.2d 1222, 1228 (C.A.D.C. 1981) (noting that

"transfer of patients to a facility with inferior services ... would invoke constitutional procedural

protections."). When changes in the Medicaid system threaten to deprive a state's Medicaid

beneficiaries their rights under the Medicaid program, the medical providers may properly assert

the due process claims of the patients. See Kapable Kids Learnings Center, Inc. v. Arkansas

DHS, 420 F. Supp. 2d (W.O. Ark. 2005) (noting that medical providers have standing to assert

the rights of their patients).

          If implemented, the purported suspension will result in the closing down of Providers'

operations entirely thus grossly limiting Arkansas' Medicaid patients' access to Medicaid

sponsored treatment. As discussed above, Providers' patients will likely be forced to travel long



3228940v I/08992-00 15
11/3114                                      27
         Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 28 of 217




distances or to forgo treatment entirely if the suspension is permitted to take effect. Additionally,

issuing the suspension and forcing 2,600 patients to abruptly move from their current treatment

providers when there has been no finding of wrongdoing will trigger anxiety and emotional

trauma and will unnecessarily jeopardize these patients' treatment progress. Defendants' actions

here thus threaten to deprive these patients of equal access to treatment and access to a state

Medicaid system administered in their best interests in violation of their statutory and

constitutional rights.

          Lastly, because there have been no allegations that the patients' safety is at risk, DHS'

suspension of the Providers' Medicaid payments was issued arbitrarily, capriciously, and without

rational basis. DHS levied the suspension of Plaintiffs' Medicaid payments without conducting

any investigation into the risks and consequences to the patients. Defendants should be enjoined

on this basis alone. See Pediatric Specialty Care, Inc. v. Arkansas DHS, 364 F.3d 925, 929

(2004) where the district court enjoined a state agency from implementing changes relating to

Medicaid payments to providers because the agency "had done nothing to determine the effect"

that the payment changes would have on the "economy, efficiency, quality of care and equal

access." Permitting the suspension to take effect under these circumstances and forcing the

patients to move from their treatment providers before any hearing on the merits is conducted

shocks the conscience and offends judicial notions of fairness in violation of the Fourteenth

Amendment Due Process Clause.

          Because Defendants' actions and procedures in suspending Providers' Medicaid

payments, which in tum requires that the patients be abruptly removed from Providers' facilities,

violate the due process clause of the United States Constitution, the suspension must be set aside

until a review of the merits is completed. See Kapable Kids Learning Center Inc. v. Arkansas



3228940v I/08992-00 15
11/3/14                                      28
         Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 29 of 217




Dep't of Human Services, 420 F. Supp. 2d 956, 961 (E.D. Ark. 2005) (stating the court's

issuance of an injunction suspending certain Medicaid payment changes comported with due

process requirements and allowed the state to remain in compliance with the equal access

provision pending further review of the proposed change).

  II.      PLAINTIFFS AND PATIENTS WILL SUFFER IRREPARABLE HARM IF
           INJUNCTIVE RELIEF IS NOT GRANTED

           Harm is considered irreparable when "it cannot be adequately compensated by money

damages or redressed in a court of law." Delancy v. State, 356 Ark. 259, 305 (Ark. 2004).

Unless this Court exercises its equitable power in this case to temporarily enjoin DHS'

suspension of Plaintiffs' Medicaid payments, Plaintiffs will lack the funding necessary to remain

operational pending the resolution of any forthcoming administrative review.               Plaintiffs'

facilities will be forced to close permanently, without any possibility of re-opening even if

Plaintiffs are ultimately absolved of any wrongdoing. Most importantly, unless this Court grants

temporary injunctive relief, Plaintiffs' patients will be forced to endure an abrupt removal from

their current treatment facilities, the disruptive effect of which threatens their medical treatment

in a way that cannot be undone. (Exh. D at      ~14).   The irreparable harm that both Plaintiffs and

their patients will experience if the suspension is permitted to take effect justifies the issuance of

an injunction in this case.

                A. Irreparable Harm To Providers' Patients

           Courts have recognized that abruptly transferring inpatient residents from their treatment

facilities and separating them from their caregivers can have harmful effects referred to as

"transfer trauma." See e.g., In re L.P., 2010 WL 2651632, No. XX/10, at *7 (N.Y. Fam. Ct.,

June 16, 2010) (noting that minimizing placement change will minimize child pain and trauma;

lessen child attachment, behavior and mental health disorders .... "). In fact, courts have


3228940v I /08992-00 I 5
I 1/3/14                                       29
         Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 30 of 217




specifically found that prematurely moving Medicaid residents pending exhaustion of a

provider's appeal constitutes "irreparable harm" such that an injunction is proper.               See

Pathfinder Healthcare, Inc. v. Thompson, 177 F. Supp. 2d 895, 897 (E.D. Ark. 2001)

("Particularly compelling in this case, however, is the certain irreparable harm to [provider's]

residents if they are forced to move unnecessarily."); Oak Park Health Care Center, LLC v.

Johnson, 2009 WL 331563, *3 (W.D. La., Feb. 10, 2009) (stating that "the threat of irreparable

injury likely to be suffered by the residents [if forced to move abruptly] alone was sufficient to

obtain preliminary injunction."). This is true even when the movant seeking the injunction is

the provider, not the patient. !d. See also Peak Medical Oklahoma No. 5, Inc. v. Sebelius, 2010

WL 4809319, *3 (N.D. Okl. 2010) (stating that "[a]lthough the residents [were] not formally

before the Court, their interests are still relevant in evaluating irreparable harm for the equitable

determination whether or not to grant [an injunction pending appeal.") (internal citations

omitted); Frontier Health v. Shalala, 113 F. Supp. 2d 1192, 1193 (E.D. Tenn. 2000) (granting an

injunction in favor of plaintiff provider because "having to move mentally ill people to distant

facilities would not only be disturbing to the patients but would take them away from current

therapists and family support").

          The courts in the above-cited cases all recognized the great harm that can result if at-risk

patients are removed from their treatment facilities unnecessarily. In Pathfinder, for example,

the U.S. Department of Health and Human Services sought to terminate the plaintiffs

participation in the Medicaid program. While the plaintiff sought an administrative appeal of the

department's actions, it also sought and the court granted, injunctive relief to suspend the

termination pending resolution of plaintiff's administrative appeal.         Critical to the court's

decision to stay enforcement of the termination was the trauma the patients would likely endure



3228940v 1/08992-00 15
11/3/14                                       30
         Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 31 of 217




by an abrupt move from their treatment facilities and providers. See Pathfinder Healthcare, Inc.

v. Thompson, 177 F. Supp. 2d at 897 ("Particularly compelling in this case, however, is the

certain irreparable harm to [provider's] residents if they are forced to move unnecessarily.")

(emphasis added).

          Similarly, the thousands of patients at issue in this case who are receiving treatment at

Plaintiffs' facilities face certain and irreparable harm if they are forced to abruptly leave their

treatment centers unnecessarily. (Exh. D     at~~   14, 24). For all the reasons set forth above, the

harm that is certain to result from allowing patients suffering from mental and behavioral

disorders to go untreated will be irreparable and supports the issuance of an injunction in this

action. (See supra p. 11-13). Accordingly, this Court should exercise its equitable powers to

stay enforcement of the suspension such that the patients will not be put risk. See Pathfinder

Healthcare, Inc. v. Thompson, 177 F. Supp. 2d 895, 897 (E.D. Ark. 2001) (granting plaintiffs

motion for an injunction when "[n]one of the violations for which [the agency] purport[ed] to

terminate [the provider] involve immediate jeopardy to [the patients]."

               B. Irreparable Harm to Providers

          Courts have held that when a facility obtains 90% of their revenue from Medicaid

payments, it can be "reasonably inferred that wrongful suspension from the Medicaid program,

for any length of time" would constitute irreparable harm warranting injunctive relief. Bio-

Medical Laboratories, Inc. v. Trainor, 68 111.2d 540, 549 (Ill. 1977). See also Atwood Turnkey

Drilling, Inc. v. Petroleo Brasiliero, S.A., 875 F.2d 1174 (5th Cir. 1989) (finding that potential

economic harm that is so severe that it threatens the existence of plaintiffs business constitutes

irreparable harm). Further, the irreparable harm element is satisfied when in the absence of an

injunction, there is a substantial risk that plaintiff will be forced to forego certain administrative



3228940v I /08992-0015
11/3/14                                      31
        Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 32 of 217




appeal rights as a result of being forced out of business prior to resolution of the administrative

appeal. See Pathfinder Healthcare, Inc. v. Thompson, 177 F. Supp. 2d 895, 896           (E.D. Ark.

2001) (granting injunctive relief when requiring plaintiff to wait for the administrative review

process would be the "practical equivalent of a total denial of judicial review."); International

Long Term Care, Inc. v. Shalala, 947 F. Supp. 15 (D.C. Cir. 1996) (granting a preliminary

injunction enjoining the suspension of Medicaid and Medicare payments for a short period of

time to allow for an administrative hearing and for a final administrative decision to be issued);

Frontier Health, Inc. v. Shalala, 113 F. Supp. 2d 1192 (E.D. Tenn. 2000) (enjoining the

Secretary of Health and Human Services from terminating a hospital's participation in Medicaid

and Medicare programs until the administrative appeal has been completed).

          Pathfinder, International, and Frontier Health are all on point and support the grant of

temporary injunctive relief until Plaintiffs receive a full and fair hearing on the merits of the

suspension. In each of these cases, the plaintiff Medicaid or Medicare providers were cited by

certain state agencies and sanctions assessed for alleged violations of the Medicaid or Medicare

regulations. In each case, the provider was, in theory, provided a process by which it could

challenge the sanction and if successful, continue participating in the Medicaid or Medicare

program. That process, as is the case here, was the administrative appeal. The courts in each of

those cases, however, recognized that because the Medicaid or Medicare program accounted for

a substantial percentage of the providers' revenue, the providers faced a substantial risk of going

out of business before the administrative process could be undertaken. Accordingly, the courts

granted temporary injunctive relief and suspended the termination of the providers' Medicaid

payments because doing so and maintaining the status quo was the only way to ensure that the

administrative process was not "rendered hollow."        International Long Term Care, Inc. v.



3228940v I /08992-0015
11/3/14                                      32
        Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 33 of 217




Shalala, 94 7 F. Supp. at 20.

          Like the plaintiffs in the above referenced cases, it is indisputable that Plaintiffs here will

suffer irreparable harm if their Medicaid payments are suspended prior to the resolution of the

administrative appeal. As discussed in detail above, if and when the suspension is reversed on

administrative review, the Providers will have already been wrecked. There will be no business

to resume, no patients to treat, no service providers to employ. (Exh. Cat          ~10;   Exh. 8 at   ~9).


This type of threatened devastation is precisely the type of imminent and irreversible harm the

injunction was meant to guard against. See Atwood Turnkey Drilling, Inc. v. Petroleo Brasiliero,

S.A., 875 F.2d 1174 (5th Cir. 1989).           Accordingly, this Court should grant Plaintiffs the

requested injunctive relief.

III.      THE INJURY PLAINTIFFS AND THEIR PATIENTS WILL SUFFER GREATLY
          OUTWEIGHS ANY HARM AN INJUNCTION WOULD IMPOSE ON
          DEFENDANTS.

          As discussed at length in the preceding sections of this memorandum, the failure to issue

an injunction in this case is certain to result in devastating harm to the Providers, their patients,

and the state's entire Medicaid system. (See supra p. 10-14). On the other hand, the only

potential harm to Defendants, should this Court grant the requested relief, is a temporary delay in

the administrative process. There are no allegations that the Plaintiffs are providing inadequate

treatment here or that Medicaid funds are being misappropriated. As such, there is no reason not

to stay the suspension pending a full and fair hearing on the merits of the allegations put forth

against Plaintiffs. The temporary delay of the suspension is trivial when balanced against the

serious irreparable harm that will result if the suspension is permitted to take effect on November

6, 2014. As such, the balance of the respective harms favors the grant of an injunction in this

case.



3228940v I/08992-00 15
11/3/14                                        33
        Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 34 of 217




IV.       THE PUBLIC INTEREST FAVORS AN INJUNCTION

          Unless this Court grants Plaintiffs' requested relief, the public interest will be

significantly harmed by the impending suspension and subsequent closure of Plaintiffs' facilities.

Indeed, the Medicaid program is intended to protect the indigent people of Arkansas, yet it is

these Arkansas citizens and the state's Medicaid system as a whole that will suffer immensely

for all the reasons stated herein if an injunction is not issued. (See supra p. 11-14).

                                             Conclusion

          This case involves a unique set of facts and important issues the resolution of which will

undoubtedly have far-reaching consequences for a large number of the most vulnerable Arkansas

citizens. Accordingly, this Court should exercise its equitable power to maintain the status quo

and stay the suspension of Plaintiffs' Medicaid payments pending the outcome of their

administrative appeal.     To allow the suspension to take effect before Plaintiffs are able to

challenge the wrongful suspension and to subject Plaintiffs' patients to a potentially unnecessary

and devastating disruption in their medical treatment, contravenes the purpose and intent of the

Medicaid statute. This is particularly true in this case because the grounds upon which the

suspension is purportedly based have nothing to do with the quality of care the patients are

receiving or the waste of Medicaid funds.          Staying the suspension will ensure hundreds of

Arkansas' Medicaid recipients can continue receiving the uninterrupted medical treatment they

require until such time as an administrative law judge can rule upon the merits of Plaintiffs'

defenses.      For these reasons, the Court should grant Plaintiffs' Motion for a Preliminary

Injunction pending resolution of their administrative appeal.

                                               Respectfully submitted,

                                               TRINITY BEHAVIORAL HEALTH CARE
                                               SYSTEM, INC. and MAXUS, INC.


3228940v 1/08992-0015
11/3/14                                       34
        Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 35 of 217




                                    By:~,~B®:~
                                          Banks Law Firm
                                          100 Morgan Keegan Drive, Ste. 100
                                          Little Rock, AR 72225-1310
                                          (501) 280-0100
                                          Attorneys fl   laintiffs
                                          Date: Nov m er 5, 2014

                                          and



                                          Ronal A. o e, AR Bar # 81 092
                                          Hope, rice, O'Dwyer & Wilson, P.A.
                                          211 Spring Street
                                          Little Rock, Arkansas 72201
                                          (501) 372-4144
                                          Attorneys for Plaintiffs
                                          Date: November 5, 20147




3228940v 1/08992-00 15
11/3/14                            35
Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 36 of 217




  EXHIBIT A
Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 37 of 217




                                  AFFIDA VlT OF KRIST! KIRK

       1, K.risti Kirk, being duly sworn and under oath, hereby state the following based upon

personal knowledge:
        \.        I am over 18 years of age and have personal knowledge of the facts set forth in

this affidavit and would testifY to the same if called upon to do so.
        2.        I am currently the Compliance Director at Maxus, Inc. and Trinity Behavioral

Health, Inc. ("Max us" and "Trinity" respectively, and cumulatively, "Provider'').

        3.        In my capacity as the CompHance Director at Provider, I have personal

 knowledge regarding the locations, operations, and patient populations at Maxus' \8 outpatient

 counseling clinics and Trinity's in-patient psychiatric treatment facility.
         4.        I also have general knowledge of the Medicaid-eligible outpatient psychiatric

 counseling clinics and psychiatric residential treatment facilities that exist throughout the state of

 Arkansas.
         5.        Max us operates 18 outpatient counseling clinics in Arkansas and is a qualified

  provider of Medicaid services:
         6.        Trinity was established in 1987 and has operated as a licensed psychiatric

   residential treatment facility since 1999. It provides psychiattic services to children in Arkansas

   ranging from age six to seventeen.
             7.     Medicaid beneficiaries make up over 99% of Providers' patients.

             8.     Trinity's psychiatric residential treatment facility and 12 of the 18 Maxus'

  outpatient counseling clinics are in HRSA-designated Medically Underserved Areas. These

   areas include all or portions of the following counties: Baxter, Chicot, Crittenden, Desha,

   Faulkner, Greene, Jackson, Jefferson, Mississippi, Pulaski, Randolph, Sebastian. (See list of
Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 38 of 217




Provider facilities and corresponding HSRA Medically Underserved Area database search results

incorporated and attached hereto at Tab 1 and found at htto:/lmuatind.hrsa.gov/lndex.aspx.).

       9.             As of the date of this affidavit, 60 patients remain at Trinity's inpatient facility

and over 2,600 patients are continuing to receive treatment at one ofMaxus' outpatient facilities.



FURTHER AFFIANT SAYETH NAUGHT.

Date: November 3, 2014




 STATE OF ARKANSAS

 COUNTY OF                ~u lets\c.;               -·-
 1, Go ro.(c{ Q(;!>(.h~                      ,J?
                                a Notary PubiJc for the above county and state, hereby certifY that
                           7 me on this :7fillt..day ofNovem ber ..2-of4, nd bein.g duly sworn to
 Kristi Kirk appeared bef6re
 oath, and attested to the execution of this Aftidavit.
                        :-.••I;IIIIIIIJ;,.,,,l,
                ,.,,'' ....\..0 J, Of!{O,''h,i!.
                                                                 -
                                                                     I
                                                                      7
                                                                      •
                                                                          .
                                                                             '--
                                                                                 ),
                                                                                        ----~
                                                                                           ..--·- '\
          _ :S"5v~P.....
            .§'0 •••• ~ 0r -4<9J:·J<'!~
                                 .ft ••• o~~                                   ...            ~----
                                                                                      tary-·P\1 ~
         - 0.:           pUBLJc *            ·-".':SJ~~
        ~:::,   :      #1236..                 :· §                                   ___..--/
        =       !                r426        .. •   =
        \ ..;·. EXP!R~;s                     :·~.-~.,;;~'----
  My Cotff{'~~{t~~j~ , /
         :r?Z~1 couf.n'l 'r.,,-.'"
                         11f!1fl!t\1\\\\
Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 39 of 217




                   TAB 1
            Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 40 of 217




                              Medicaid
   OFFICE          NPI#                             ADDRESS                COUNTY         PHONE             FAX
                              Provider#
                                               2425 COUNTRY CLUB RD.
ARKADELPHIA      1134243579   162952526                                      CLARK      870-245-3888 870-245-3887
                                           ARKADELPHIA, AR 71923-2903
                                               I 09 WEST SOUTH STREET
   BENTON       1194840371    162293526                                     SALINE      501-776-1191 501-776-1194
                                                BENTON, AR 72015-3776
                                                         829E MAIN
BLYTHEVILLE     1316062391    158655526                                   MISSISSIPPI   870-780-6986 870-780-6987
                                            BLYTHEVILLE, AR 72315-2521
                                               1100 BOB COURTWAY DR.
  CONWAY        1215052485    162291526                   SUITE9           FAULKNER     501-328-5525 501-328-5342
                                               CONWAY, AR 72032·4766
                                                    105 CARLTON DR.
   DUMAS        1881719060    162292526                                      DESHA      870-382-1680 870-382-1681
                                                DUMAS AR 71639·2836
                                                    I 00 TOWSON AVE.
 FORT SMITH     1780709881    158653526                                   SEBASTIAN     479-784-9801 4 79· 784-9805
                                             FORT SMITH, AR 72901-2632
                                                     1408 HWY 62 65 N
  HARRISON      1366567364    158658526                                     BOONE       870-741-2960 870·741-2965
                                              HARRISON, AR 72601-2914
                                                    3009 TURMAN DR,
 JONESBORO      1376668541    162296526                   SUITE A         CRAIGHEAD 870-268-8875 870-268-8695
                                             JONESBORO, AR 72404-8998
                                                    316 MAIN STREET
LAKE VILLAGE    1972892206    185746526                                     CHI COT     870-265-2186 870-265-2305
                                           LAKE VILLAGE, AR 71653-1942
                                          4001 COMMERICAL CENTER DR.
   MARION       1194840363    162295526                   SUITE 2         CRITTENDEN 870-735-4441 870-735-5441
                                                   MARION, AR 72364
 MOUNTAIN                                            3348 HWY. 62 W.
                1740305747    158654526                                     BAXTER      870-424-9060 870-424-9061
   HOME                                     MOUNTAIN HOME, AR 72653
                                                       2000MCLAIN
  NEWPORT       1952558264    167003526                   SUITE B          JACKSON      870-523-2938 870-523-2994
                                              NEWPORT, AR 72112-3661
NORTH LITI'LE                                      632 W BROADWAY
                1881719052    162954526                                     PULASKI     501-955-2674 50 1·955-2754
   ROCK                                    N LITTLE ROCK, AR 72114-5526
                                              100 N. ROCKINGCHAIR RD.
PARAGOULD       1225153497    162294526                   SUITE I           GREENE      870-335-9617 870-335-9618
                                            PARAGOULD, AR 72450-2413
                                                       1878 HWY. 62
POCAHONTAS      1417075912    158656526                                   RANDOLPH      870-248-0660 870-248-0321
                                           POCAHONTAS, AR 72455-3639
                                                  1310 W MAIN STREET
RUSSELLVILLE    1306961495    158652526                  SUITE 100           POPE       479-4 98-44 23 479-498-4425
                                           RUSSELLVILLE, AR 72801-2803
                                                       106 S SPRING
  SEARCY        1477723161    166873526
                                               SEARCY, AR 72143-7717
                                                                            WHITE       so 1-268-2812   501-268-2824
                                                   204 FRANKIE LANE
WHimJJALL       1104078997    170244526                                   JEFFERSON     870-247-2305 870-247-2330
                                            WHITE HALL, AR 71612-2699
                                                 1033 OLD BURR ROAD
  TRNITY        1831216514    157516125                                   RANDOLPH      870-64 7-1400 870-647-1451
                                          WARM SPRINGS, AR 72478-9077
           Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 41 of 217


 HRSA- Find Shortl,\ge Areas: HPSA & MUNP by Address- Version 2.0                                                                                 Page I of 1




                                             . U. S. vep~~n1116nt ril Hea/1/i and HUI'tla/1 Services
                                              Health Resources and Services Administration
       Powered by the HRSA llala Warehouse




                                       Find Shortage Areas: HPSA & MUA/P by Address



 Reported location: 2425 Country Club Rd, Arkadelphia, AR, 71923
 (---Input location: 2425 country club, arkadelphia, Arkansas 71923)




   In a Primary Care Health Professional Shortage Area: No
   In a Mental Health Professional Shortage Area: Yes
                                                                      Mental Health HPSA Name: Hot Springs Catchment Area
                                                                            Mental Health HPSA ID: 7059990513
                                                                     Mental Health HPSA Status: Designated
                                                                      Mental Health HPSA Score: 14
                                                      Mental Health HPSA Designation Date: 19g7/03114
                                   Mental Health HPSA Designation Last Update Date: 2012/09111
   In a Dental Care Health Professional Shortage Area: Yes
                                                                       Dental Health HPSA Name: Low Income- Clark County
                                                                            Dental Health HPSA ID: 605999050K
                                                                      Dental Health HPSA Status: Designated
                                                                      Dental Health HPSA Score: 16
                                                      Dental Health HPSA Designation Date: 2013/11/13
                                    Dental Health HPSA Designation Last Update Date: - • •
   In a Medically   U~derserve~     Area/Population: N()             [Add~ional r~sult    a_nalysis]


                                                                                            State Name: Arkansas
                                                                                         County Name: Clark
                                                                       County Subdivision Name: Caddo
                                                                             Census Tract Number: 953601           [Additional result analYsis]
                                                                                               ZIP Code: 71923
                                                                                   Post Office Name: Arkadelphia
                                                                   Congressional District Name: Arkansas District 04
                                             Congressional District Representative Name: Tom Cotton



Nota: The address you entered is geocoded and then compared against the HPSA and MUA data (as of 1012512014) in the HRSA Data
Warehouse. Due to geoprocassing limitations, the designation result provided may be inaccurate and does not constitute an official
detennination. If you feel the result is in error, please refer to http://answers.hrsa.qoy.




Date of query: 10/28/2014




http://datawarehouse.hrsa.gov/GeoAdvisor/Print.aspx?advisortype=Generic                                                                           10/28/2014
         Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 42 of 217


 HRSA - Find Shortage Areas: HPSA & MUA/P by Address - Version 2.0                                                                                  Page 1 of 1




                                           '   .~. $.   .                           SeMCeS
                                               Health Resources and Services Admlnlstratiori
      Powemd by the HRSA Data Warehouse




                                     Find Shortage Areas: HPSA & MUA/P by Address



Reported location: 109 W South St, Benton, AR, 72015
(-·· Input location: 109 west south, benton, Arkansas 72015)




   In a Primary Care Health Professional Shortage Area: No
   In a Mental Health Professional Shortage Area: No                                                                                                    I

  In a Dental Care Health Professional Shortage Area: No
  In a Medically Underservad Area/Population: No                [Addl_~onal   result analysis)
                             .            .                                                                                                 -

                                                                                      State Name: Arkansas
                                                                                   County Name: Saline
                                                                 County Subdivision Nama: Bauxite
                                                                      Census Tract Number: 010101            [Additional result analysis)
                                                                                         ZIP Code: 72015
                                                                              Post Office Nama: Benton
                                                              Congressional District Nama: Arkansas District 02
                                           Congressional District Representative Name: TimGrlffm

                                          ·-··                                          ....     ..                ..   ...........             -
Nota: The address you entered is geocodad and then compared against the HPSA and MUA data (as of 1012512014) in the HRSA Data
Warehouse. Due to geoprocassing limitations, the designation result provided may be inaccurate and does not constitute an official
determination. If you feel the result is in error. please refer to httollanswars. hrsa.aov.




Date of query: 1012812014




http://datawarehouse.hrsa.gov/GeoAdvisor/Print.aspx?advisortype=Generic                                                                             10/28/2014
         Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 43 of 217


 HRSA- Find Shortage Areas: HPSA & MUAIP by Address- Version 2.0                                                                  Page 1 of2




                                                u. s. depsttmetll of Health a11d Human Sel'lii:as
                                                Health Resources and SeNlees Administration
      Powered by lhe HRSA Data Wl18house




                                             Find Shortage Areas: HPSA & MUA/P by Address



Reported location: 829 E Main St, Blytheville, AR, 72315
(-Input location: 829 east main, blytheville, Arkansas 72315)




   In a Primary Care Health Professional Sho.rtage Area: No
   In a Mental Health Professional Shortage Area: Yes
                                                                       Mental Health HPSA Name: Jonesboro Calchment Area
                                                                           Mental Health HPSA ID: 7059990507
                                                                       Mental Health HPSA Status: Designated
                                                                       Mental Health HPSA Score: 16
                                                             Mental Health HPSA Designation Date: 1981107/14
                                       Mental Health HPSA Designation Last Update Date: 2012/08/23
   In a Dental Care Health Professional Shortage Area: Yes
                                                                       Dental Health HPSA Name: Low Income - Mississippi County
                                                                           Dental Health HPSA ID: 605999050R
                                                                       Dental Health HPSA Status: Designated
                                                                       Dental Health HPSA Score: 11
                                                             Dental Health HPSA Designation Date: 2013/11/13
                                       Dental Health HPSA Designation Last Update Date:              ---
  In a Medically Underserved Area/Population: Yes
                                                                                                    I
                                                                       MUA/P Service Area Name: Mississippi County
                                                                                            MUAJPID: 00180
                                   ... .              . ..                  •..        --

                                                                                         State Name: Arkansas
                                                                                      County Name: Mississippi
                                                                        County Subdivision Name: Chlckasawba
                                                                            Census Tract Number: 010200
                                                                                            ZIP Code: 72315
                                                                                  Post Office Name: Blytheville
                                                                     Congressional District Name: Arkansas District 01
                                              Congressional District Representative Name: Rick Crawford

                        ·---   ···--··· ..    . ...


Note: The address you enterod is geocoded and then compared against the HPSA and MUA data (as of 1012512014) in the HRSA Data
Warehouse. Due to geoprocessing limitations, the designation rosult provided may be inaccurate and does not constitute an official
detennination. If you feel the result is In error, please refer to http://answers.hrsa.gov.




http://datawarehouse.hrsa.gov/GeoAdvisor/Print.aspx?advisortype=Generic                                                           10/28/2014
         Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 44 of 217

HRSA- Find Shortage Areas: HPSA & MUAIP by Address- Version 2.0           Page 2 of2


Date of query: 10/2812014




http://datawarehouse.hrsa.gov/GeoAdvisor/Print.aspx?advisortype=Generic   10/28/2014
          Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 45 of 217

 HRSA- Find Shortage Areas: HPSA & MUA/P by Address- Version 2.0                                                                      Page 1 of 1




                                         ··U. S.                                  ·.
                                                             . . ~rtd ~umatt s,;rvi~~
                                          Health Resources and Services Administration
      PowMd by th~ HRSA Deta Watehouse




                                    Find Shortage Areas: HPSA & MUA/P by Address



Reported location: 1100 Bob Courtway Dr, Conway, AR, 72032
(··-Input location: 1100 bob courtway, conway, Arkansas 72032)




   In a Primary Care Health Professional Shortage Area: No
   In a Mental Health Professional Shortage Area: No
   In a Dental Care Health Professional Shortage Area: No
   In a Medically Underserved Area/Population: Yes
                                                           MUA/P Service Area Name: Faulkner County

                                    ..                                        MUAIP ID: 00160


                                                                             State Name: Arkansas
                                                                           County Name: Faulkner
                                                            County Subdivision Name: Cadron
                                                                 Census Tract Number: 030403
                                                                               ZIP Code: 72032
                                                                        Post Office Name: Conway
                                                         Congressional District Name: Arkansas District 02
                                         Congressional District Representative Name: Tim Griffin

                                            ....   ~
                                                               ... ·-                              ..   -·   ----   ·-·   ----   --
Note: The address you entered is geocoded and then compared against the HPSA and MUA data (as of 10/2512014) In the HRSA Data
Warehouse. Due to geoprocessing limitations, the designation result provided may be Inaccurate and does not constitute an official
determination. If you feel the result is in error, please refer to htiD:IIanswers.hrsa.gov.




Date of query: 10/28/2014




http://datawarehouse.hrsa.gov/GeoAdvisor/Print.aspx?advisortype=Generic                                                               10/28/2014
          Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 46 of 217

 HRSA- Find Shortage Areas: HPSA & MUAIP by Address- Version 2.0                                                       Page 1 of2




                                           ·. ·U: ~. ~pat1mel;t;,fH~Hh 8/ld H~~,; S&tvices
                                             HeaHh Resources and Services Administration
      Poweted by the HRSA Dsts warehouse




                                     Find Shortage Areas: HPSA & MUA/P by Address



Reported location: 105 Carlton Dr, Dumas, AR, 71639
(---Input location: 105 carlton drive, dumas, Arkansas 71639)




  In a Primary Care Health Professional Shortage Area: Yes
                                                                  Primary Care HPSA Name: Low Income - Desha County
                                                                      Primary Care HPSA ID: 105999050G
                                                                  Primary Care HPSA Status: Designated
                                                                  Primary Care HPSA Score: 15
                                                        Primary Care HPSA Designation Date: 2013/11/13
                                  Primary Care HPSA Designation Last Update Date:               ---
  In a Mental Health Professional Shortage Area: Yes
                                                                  Mental Health HPSA Name: Monticello Catchment Area
                                                                     Mental Health HPSA ID: 7059990504
                         I                                       Mental Health HPSA Status: Designated
                                                                 Mental Health HPSA Score: 19
                                                    Mental Health HPSA Designation Date: 1978/07/19
                                 Mental Health HPSA Designation Last Update Date: 2012105103
  In a Dental Care Health Professional Shortage Area: Yes
                                                                  Dental Health HPSA Nama: Low Income - Desha County
                                                                      Dental Health HPSA ID: 6059990535
                                                                 Dental Health HPSA Status: Designated
                                                                  Dental Health HPSA Score: 17
                                                    Dental Health HPSA Designation Date: 2010/03/02
                                 Dental Health HPSA Designation Last Update Date: 2013/11113
  In a Medically Underserved Area/Population: Yes
                                                                 MUA/P Service Area Name: Desha County
                                                                                     MUAIP 10: 00158
                 ···-·                           ··-·                                    _....... --··
                                                                                                  ····-··-


                                                                                   State Name: Arkansas
                                                                                County Name: Desha
                                                                  County Subdivision Name: Randolph
                                                                       Census Tract Number: 950200
                                                                                     ZIP Code: 71639
                                                                            Post Office Name: Dumas
                                                               Congressional District Nama: Arkansas District 01
                                           Congressional District Representative Nama: Rick Crawford

            -.




http://datawarehouse.hrsa.gov/GeoAdvisor/Print.aspx?advisortype=Generic                                                10/28/2014
         Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 47 of 217

HRSA- Find Shortage Areas: HPSA & MUA/P by Address- Version 2.0                                                     Page 2 of2



Note: The address you entered is geocoded and then compared against the HPSA and MUA data (as of 1012512014) in the HRSA Data
Warehouse. Due to geoprocesslng limitations, the designation result provided may be inaccurate and does not constitute an official
determination. If you feel the result is in error, please refer to http://answers.hrsa. gov.




Date of query: 10/26/2014




http://datawarehouse.hrsa.gov/GeoAdvisor/Print.aspx?advisortype=Generic                                              10/28/2014
          Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 48 of 217


 HRSA- Find Shortage Areas: HPSA & MUA/P by Address- Version 2.0                                                       Page 1 of 1




                                        · .u. S. Depaliirwitit orHeitllh ai1d Hurrian
                                            ·. · HeaHh Resources and Services Administration
      Powtired by /he HRSA Data warehouse




                                       Find Shortage Areas: HPSA & MUA/P by Address



Reported location: 100 Towson Ave, Fort Smith, AR, 72901
(---Input location: 100 lowson, fort smith, Arkansas)




   In a Primary Care Health Professional Shortage Area: No
   In a Mental Health Professional Shortage Area: Yes
                                                                  Mental Health HPSA Name: Fort Smith Catchment Area
                                                                       Mental Health HPSA ID: 7059990514
                                                                 Mental Health HPSA Status: Designated
                                                                  Mental Health HPSA Score: 17
                                                   Mental Health HPSA Designation Date: 1997/03/14
                                  Mental Health HPSA Designation Last Update Date: 2012/09/11
  In a Dental Care Health Professional Shortage Area: No
  In a Medically Underserved Area/Population: Yes
                                                                  MUA/P Service Area Name: Fort Smith
                                                                                         MUAIP ID: 06216


                                                                                        State Name: Arkansas
                                                                                    County Name: Sebastian
                                                                   County Subdivision Name: Upper
                                                                         Census Tract Number: 000300
                                                                                         ZIP Code: 72901
                                                                               Post Office Name: Fort Smith
                                                               Congressional District Name: Arkansas District 03
                                            Congressional District Representative Name: Steve Womack



Note: The address you entered is geocoded and then compared against the HPSA and MUA data (as of 10125/2014) In the HRSA Data
Warehouse. Due to geoprocessing limitations, the designation result provided may be inaccurate and does not constitute an official
determination. If you fee/the result is in error, please refer to hflp://answers.hrsa.gov,




Date of query: 10/28/2014




http://datawarehouse.hrsa.gov/GeoAdvisor/Print.aspx?advisortype=Generic                                                10/28/2014
         Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 49 of 217

 HRSA- Find Shortage Areas: HPSA & MUA/P by Address- Version 2.0                                                                                                      Page 1 of2




                                           · u. S. ~panine/11 ofHeattl1and Human ·~Illites       ·
                                            Health Resources and Services Administration
     Poweted by lire HRSA Deta Warehouse




                                     Find Shortage Areas: HPSA & MUA/P by Address



Reported location: 1408 Highway 62 65 N, Harrison, AR, 72601
(--Input location: 1408 hwy 62 65 n, harrison, Arkansas 72601)




  In a Primary Care Health Professional Shortage Area: Yes
                                                                  Primary Care HPSA Name: Low Income • Boone County
                                                                           Primary Care HPSA ID: 105999050D
                                                                 Primary Care HPSA Status: Designated
                                                                 Primary Care HPSA Score: 9
                                                    Primary Care HPSA Designation Date: 2013/10123
                                  Primary Care HPSA Designation Last Update Date:                            ...
  In a Mental Health Professional Shortage Area: Yes
                                                                 Mental Health HPSA Name: Mountain Home Catchment Area
                                                                      Mental Health HPSA ID: 7059990509
                                                                Mental Health HPSA Status: Designated
                                                                 Mental Health HPSA Score: 18
                                                   Mental Health HPSA Designation Date: 1986/06/16
                                 Mental Health HPSA Designation Last Update Date: 2012/05/03
  In a Dental Care Health Professional Shortage Area: Yes
                                                                 Dental Health HPSA Name: Low Income - Boone County
                                                                       Dental Health HPSA ID: 605999050X
                                                                Dental Health HPSA Status: Designated
                                                                 Dental Health HPSA Score: 13
                                                   Dental Health HPSA Designation Date: 2013111/13
                                 Dental Health HPSA Designation Last Update Date:                            . --
 In a MedlcaUy Underserved Arei!(Populatlon: No


                                                                                     State Name: Arkansas
                                                                                  County Name: Boone
                                                                 County Subdivision Name: North Harrison
                                                                           Census Tract Number: 790501                  (Additional result analysis)
                                                                                         ZIP Code: 72601
                                                                               Post Office Name: Harrison
                                                              Congressional District Name: Arkansas District 03
                                           Congressional District Representative Name: Steve Womack

                                            ..        ..            ··-·            ·-   ·········--   ...   - ···-··          ... ······· -······ -·-· .... ·- ...      .. "-·-




http://datawarehouse.hrsa.gov/GeoAdvisor/Print.aspx?advisortype=Generic                                                                                               10/28/2014
         Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 50 of 217

HRSA- Find Shortage Areas: HPSA & MUA/P by Address- Version 2.0                                                     Page 2 of2


Note: The address you entered is geocoded and then compared against the HPSA end MUA data (as of 1012512014) in the HRSA Data
Warehouse. Due to geoprocessing limitations, the designation result provided may be inaccurate end does not constitute an official
detennlnetion. If you feel the result is in error, please refer to http://enswers.hrse.aov.




Date of query: 10/2812014




http://datawarehouse.hrsa.gov/GeoAdvisor/Print.aspx?advisortype=Generic                                              10/28/2014
          Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 51 of 217


 HRSA- Find Shortage Areas: HPSA & MUA/P by Address- Version 2.0                                                                  Page 1 of 1




                                           .u.s oi§~n.~~tcirH~m;s,~H~;~anSeMces.
                                            HeaHh Resources and Services Administration
      P<Mered by /he HRSA Dele werehoua•




                                      Find Shortage Areas: HPSA & MUA/P by Address



Reported location: 3009 Turman Dr, Jonesboro, AR, 72404
(·-·Input location: 3009 turman, jonesboro, Arkansas)




   In a Primary Care Health Professional Shortage Area: No
   In a Mental Health Professional Shortage Area: Yes
                                                             Mental Health HPSA Name: Jonesboro Catchment Area
                                                                 Mental Health HPSA ID: 7059990507
                                                            Mental Health HPSA Status: Designated
                                                             Mental Health HPSA Score: 16
                                                 Mental Health HPSA Designation Date: 1981/07/14
                                 Mental Health HPSA Designation Last Update Date: 2012/08123
  In a Dental Care Health Professional Shortage Area: No
  In a Medically Underservad Area/Population: No


                                                                            State Name: Arkansas
                                                                          County Name: Craighead
                                                             County Subdivision Name: Netlleton
                                                                  Census Tract Number: 000401      (Additional result analysis]
                                                                               ZIP Code: 72404
                                                                      Post Office Name: Jonesboro
                                                           Congressional District Name: Arkansas District 01
                                           Congressional District Representative Nama: Rick Crawford



Note: The address you entered is geocoded and then compared against the HPSA and MUA data (as of 1012512014) in the HRSA Data
Warehouse. Due to geoprocessing limitations, the designation result provided may be inaccurate and does not constitute an official
determination. If you feel the result is in error, please refer to http://answers.hrsa.gov.




Date of query: 10/28/2014




http://datawarehouse.hrsa.gov/GeoAdvisor/Print.aspx?advisortype=Generic                                                           10/28/2014
         Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 52 of 217


 HRSA- Find Shortage Areas: HPSA & MUA/P by Address- Version 2.0                                                                Page 1 of2 ·




                                              Dllllliitt1nei1·1 or H&allh ima Human &~i'Aees
                                       HeaHh Resources and Services Administration




                                   Find Shortage Areas: HPSA & MUA/P by Address



Reported location: 316 Main St, Lake Village, AR, 71653
{----Input location: 316 main, lake village, Arkansas)




   In a Primary Care Health Professional Shortage Area: No
   In a Mental Health Professional Shortage Area: Yes
                                                                         Mental Health HPSA Name: Monticello Catchment Area
                                                                             Mental Health HPSA ID: 7059990504
                                                                         Mental Health HPSA Status: Designated
                                                                         Mental Health HPSA Score: 19
                                                Mental Health HPSA Deslgnat!on Date: 1978107119
                             Mental Health HPSA Designation Last Update Date: 2012105103
  In a Dental Care Health Professional Shortage Area: Yes
                                                                         Dental Health HPSA Name: Chlcot County
                                                                             Dental Health HPSA ID: 605017
                                                                         Dental Health HPSA Status: Designated
                                                                         Dental Health HPSA Score: 13
                                                 Dental Health HPSA Designation Date: 1978107119
                                 Dental Health HPSA Designation Last Update Date: 2012105121
  In a Medically Underserved Area/Population: Yes
                                                                                                       I
                                                                         MUAIP Service Area Name: Chlcot County
                                                                                              MUAIP ID: 00148              ..
                                         ······· .   ····~   ...            .   -


                                                                                            State Name: Arkansas
                                                                                           County Name: Chico!
                                                                         County Subdivision Name: Carlton
                                                                                Census Tract Number: 080300
                                                                                              ZIP Code: 71653
                                                                                     Post Office Name: Lake Village
                                                                   Congressional District Name: Arkansas District 01
                                      Congressional District Representative Name: Rick Crawford

                 ..        ·-.        ·-···                        -··              ....                              ·-

Note: The address you entered is geocoded and then compared against the HPSA and MUA data (as of 1012512014) in the HRSA Data
Warehouse. Due to geoprocessing limitations, the designation result provided may be Inaccurate and does not constitute an official
determination. If you feel the result is in error, please refer to htto:l/answers.hrsa.gov.




http://datawarehouse.hrsa.gov/GeoAdvisor/Print.aspx?advisortype=Generic                                                         10/28/2014
         Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 53 of 217


HRSA- Find Shortage Areas: HPSA & MUNP by Address- Version 2.0            Page 2 of2


Date of query: 10/28/2014




http://datawarehouse.hrsa.gov/GeoAdvisor/Print.aspx?advisortype=Generic    10/28/2014
          Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 54 of 217


 HRSA- Find Shortage Areas: HPSA & MUA/P by Address- Version 2.0                                                                          Page I of 1




                                        . . U. S. ·{)epattinenl ofH9llltll snci Human Saivices
                                            Health Resources and SeiVIces Administration
      Poweted by IM HRSA Oela Wllt~~house




                                      Find Shortage Areas: HPSA & MUA/P by Address



Reported location: 4001 Commercial Center Dr, Marlon, AR, 72364
(·····Input location: 4001 commercial center, marion, Arkansas)




   In a Primary Care Health Professional Shortage Area: No
   In a Mentai Health Professional Shortage Area: No
   In a Dental Care Health Professional Shortage Area: No
   In a Medically Underserved Area/Population: Yes
                                                                  MUAIP Service Area Name: Crittenden County
                                                                                         MUAIP ID: 00155


                                                                                      State Name: Arkansas
                                                                                   County Name: Crittenden
                                                                  County Subdivision Name: Jasper
                                                                        Census Tract Number: 030703
                                                                                         ZIP Code: 72364   [Additional result analysis]
                                                                              Post Office Name: Marion
                                                               Congressional District Name: ArKansas District 01
                                            Congressional District Representative Name: Rick Crawford



Note: The address you entered is geocoded and then compared against the HPSA and MUA data (as of 1012512014) in the HRSA Data
Warehouse. Due to geoprocessing limitations, the designation result provided may be inaccurate and does not constitute an official
determination. If you fee/the result is in error, please refer to http://answers.hrsa.gov.




Date of query: Hi/28/2014




http://datawarehouse.hrsa.gov/GeoAdvisor/Print.aspx?advisortype=Generic                                                                   10/28/2014
          Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 55 of 217


 HRSA- Find Shortage Areas: HPSA & MUA/P by Address- Version 2.0                                                                                                                             Page 1 of2




                                           u. Do~rlflle~ ~·~llh a~ct Hu~~ Set'A~s
                                                 s.
                                           Health Resources and Services Administration
      Poweted by the HRSA Data Wamhouse




                                         Find Shortage Areas: HPSA & MUA/P by Address



 Reported location: 3348 Highway 62 W, Mountain Home, AR, 72653
 (-- Input location: 3348 hwy 62, mountain home, Arkansas)




   In a Primary Care Health Professional Shortage Area: No
   In a Mental Health Professional Shortage Area: Yes
                                                                        Mental Health HPSA Name: Mountain Home Catchment Area
                                                                             Mental Health HPSA ID: 7059990509
                                                                       Mental Health HPSA Status: Designated
                                                                        Mental Health HPSA score: 18
                                                       Mental Health HPSA Designation Date: 1986/06/16
                                 Mental Health HPSA Designation Last Update Date: 2012/05/03
   In a Dental Care Health Professional Shortage Area: Yes
                                                                        Dental Health HPSA Name: Low Income - Baxter County
                                                                             Dental Health HPSA ID: 605999051M
                                                                       Dental Health HPSA Status: Designated
                                                                        Dental Health HPSA Score: 17
                                                        Dental Health HPSA Designation Date: 2014/03106
                                 Dental Health HPSA Designation Last Update Date:                                            ---
  In a Medically Underserved Area/Population: Yes
                                                                        MUAIP Service Area Name: Baxter County
                                                                                                          MUA/PID: 00144
                                     -    •··                                                                                                              ..

                                                                                                       State Name: Arkansas
                                                                                                   C!)unty Name: Baxter
                                                                        County Subdivision Name: Mountain Home                                             [Additional result analysis]
                                                                                 Census Tract Number: 950100                                (Additional result analysis]
                                                                                                          ZIP Code: 72653
                                                                                             · Post Office Name: Mountain Home
                                                                      Congressional District Name: Arkansas District 01
                                          Congressional District Representative Name: Rick Crawford

                           ..   -·              ·-·······.   .   ..        ··-   ~   -   ~
                                                                                              ··--·· -· --- . --.   -- - .   - ..........    ----·   ······--·--- ..   . .      ..........


Note: The address you entered is geocoded and then compared against the HPSA and MUA data (as of 10/2512014) in the HRSA Data
Warehouse. Due to geoprocesslng limitations, the designation result provided may be inaccurate and does not constitute an official
determination. If you feel the result is in error, please refer to http://answers.hrsa.gov.




http://datawarehouse.hrsa.gov/GeoAdvisor/Print.aspx?advisortype=Generic                                                                                                                      10/2812014
         Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 56 of 217


HRSA ·Find Shortage Areas: HPSA & MUA/P by Address- Version 2.0           Page 2 of2


Date of query: 10/2812014




http://datawarehouse.hrsa.gov/GeoAdvisor/Print.aspx?advisortype=Generic   10/28/2014
          Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 57 of 217


 HRSA- Find Shortage Areas: HPSA & MUA/P by Address- Version 2.0                                                                                    Page 1 of2 ·




                                           .· u. ~- ~p~~~~. or Health and Human Sel'lices
                                            Heafth Resources and Services Administration
      Powered by the HRSA Data Watehouse




                                     Find Shortage Areas: HPSA & MUA/P by Address



 Reported location: 2000 Mclain St, Newport, AR, 72112
 (···· Input location: 2000 mclain, newport, Arkansas}




   In a Primary Care Health Professional Shortage Area: No
   In a Mental Health Professional Shortage Area: Yes
                                                                          Mental Health HPSA Name: Batesville Catchment Area
                                                                                Mental Health HPSA ID: 7059990505
                                                                      Mental Health HPSA Status: Designated
                                                                          Mental Health HPSA Score: 14
                                                  Mental Health HPSA Designation Date: 1979/09/17
                                 Mental Health HPSA Designation Last Update Date: 2012/08/20
   In a Dental Care Health Professional Shortage Area: Yes
                                                                          Dental Health HPSA Name: Low Income • Jackson County
                                                                                Dental Health HPSA 10: 605999050C
                                                                          Dental Health HPSA Status: Designated
                                                                          Dental Health HPSA Score: 10
                                                  Dental Health HPSA Designation Date: 2013/10/29
                                 Dental Health HPSA Designation Last Update Date:                             ...
  In a Medically Underserved Area/Population: Yes
                                                                          MUA/P Service Area Name: Jackson County
                                                                                                     MUAIPID: 00169
                                                                                              ....               ..                       -   -··
                                                                                                   State Name: Arkansas
                                                                                             County Name: Jackson
                                                                          County Subdivision Name: Union
                                                                                Census Tract Number: 480300
                                                                                                     ZIP Code: 72112
                                                                                     Post Office Name: Newport
                                                                   Congressional District Name: Arkansas District 01
                                           Congressional District Representative Name: Rick Crawford

                    .   -    ·····   ---            ·····- ........ -··     -      ···-·   .....                 . - -··-··   ...   ...

Note: The address you entered is geocoded and then compared against the HPSA and MUA data (as of 1012512014) in the HRSA Data
Warehouse. Due to geoprocessing limitations, the designation result provided may be inaccurate and does not constitute an official
determination. If you feel the result is In error, please refer to http://answers.hrsa.gov.




http://datawarehouse.hrsa.gov/GeoAdvisor/Print.aspx?advisortype=Generic                                                                             10/28/2014
         Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 58 of 217


HRSA- Find Shortage Areas: HPSA & MUA/P by Address- Version 2.0           Page 2 of2


Date of query: 10/2812014




http://datawarehouse.hrsa.gov/GeoAdvisor/Print.aspx?advisortype=Generic   10/28/2014
          Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 59 of 217


 HRSA- Find Shortage Areas: HPSA & MUA/P by Address- Version 2.0                                                     Page 1 of 1




                                            ~: S.               . arW H~~n ·Sa;.,'c&.~ '
                                            Health Resources and Services Administration
      Poweted by tho HRSA Data Wa~ehouse




                                     Find Shortage Areas: HPSA & MUA/P by Address



Reported location: 632 W Broadway Ave, North Little Rock, AR. 72114
(·-· Input location: 632 w broadway, north little rock, Arkansas)




   In a Primal)' Care Health Professional Shortage Area: No
   In a Mental Health Professional Shortage Area: No
   In a Dental Care Health Professional Shortage Area: No
   In a Medically Underserved Area/Population: Yes
                                                             MUA/P Service Area Name: Pulaski Service Area
                                                                               MUA/P ID: 00213


                                                                             state Name: Arkansas
                                                                           County Name: Pulaski
                                                              County Subdivision Name: Hill
                                                                  Census Tract Number: 002500
                                                                               ZIP Code: 72114
                                                                       Post Office Name: North Little Rock
                                                           Congressional District Name: Arkansas District 02
                                           Congressional District Representative Name: Tim Griffin



Note: The address you entered is geocoded and then compared against the HPSA and MUA data (as of 10/2512014) In the HRSA Data
Warehouse. Due to geoprocessing limitations, the designation result provided may be Inaccurate and does not constitute an official
determination. If you feel the result is in error, please refer to http://answers. hrsa. qov.




Date of query: 10/28/2014




http://datawarehouse.hrsa.gov/GeoAdvisor/Print.aspx?advisortype=Generic                                             10/28/2014
          Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 60 of 217


 HRSA- Find Shortage Areas: HPSA & MUA/P by Address- Version 2.0                                                                       Page 1 of2




                                             u. s. (Jep8rtmenl of Heallh a11d Human S&tllices
                                             HeaHh Resources and Services Administration
       Powered by the HRSA Data Warehouse




                                       Find Shortage Areas: HPSA & MUA/P by Address



 Reported location: 1 00 N Rocking chair Rd. Paragould, AR, 72450
 (····Input location: 100 rockingchair rd. paragould, Arkansas 72540)




   In a Primary Care Health Professional Shortage Area: No
   In a Mental Health Professional Shortage Area: Yes
                                                                Mental Health HPSA Name: Jonesboro Catchment Area
                                                                    Mental Health HPSA 10: 7059990507
                                                               Mental Health HPSA Status: Designated
                                                                Mental Health HPSA Score: 16
                                                   Mental Health HPSA Designation Data: 1981/07/14
                                   Mental Health HPSA Designation Last Update Date: 2012/08123
   In a Dental Care Health Professional Shortage Area: Yes
                                                                Dental Health HPSA Name: Low Income • Greene County
                                                                    Dental Health HPSA ID: 605999050P
                                                               Dental Health HPSA Status: Designaled
                                                                Dental Health HPSA Score: 9
                                                   Dental Health HPSA Designation Date: 2013/11/13
                                   Dental Health HPSA Designation Last Update Date: ---
   In a Medically Underserved Area/Population: Yes
                                                                MUAIP Service Area Name: Greene County
                                                                                   MUA/P ID: 00163


                                                                                 State Name: Arkansas
                                                                               County Name: Greene
                                                                County Subdivision Name: Spring Grove
                                                                     Census Tract Number: 480400        (Additional result analysis]
                                                                                    ZIP Code: 12450
                                                                          Post Office Name: Paragould
                                                             Congressional District Name: Arkansas District 01
                                            Congressional District Representative Name: Rick Crawford



Note: The address you entered is geocoded and then compared against the HPSA and MUA data (as of 1012512014) in the HRSA Data
Warehouse. Due to geoprocesslng limitations. the designation result provided may be inaccurate and does not constitute an official
determination. If you feel the result is in error, please refer to http://answers.hrsa.gov.




http://datawarehouse.hrsa.gov/GeoAdvisor/Print.aspx?advisortype=Generic                                                                10/28/2014
          Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 61 of 217

HRSA- Find Shortage Areas: HPSA & MUA/P by Address- Version 2.0           Page 2 of2


Date of query: 10/28/2014




http://datawarehouse.hrsa.gov/GeoAdvisor/Print.aspx?advisortype=Generic   10/28/2014
         Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 62 of 217


 HRSA- Find Shortage Areas: HPSA & MUA/P by Address- Version 2.0                                                                            Page 1 of2




                                           1/ S. De~rlmiml ol Heallli tlttel Human SetVices
                                           Health Resources and Services Administration
     Poweted by lhe HRSA Data Warehouse




                                    Find Shortage Areas: HPSA & MUA/P by Address



Reported location: 1878 Highway 62 W, Pocahontas, AR, 72455
{--Input location: 1878 hWy 62, pocahontas, Arkansas)




  In a Primary Care Health Professional Shortage Area: Yes
                                                                  Primary Care HPSA Name: Low Income - Randolph County
                                                                      Primary Care HPSA ID: 1059990574
                                                                 Primary Care HPSA Status: Designated
                                                                 Primary Care HPSA Score: 13
                                                   Primary Care HPSA Designation Date: 2012/12/11
                                 Primary Care HPSA Designation Last Update Date:                  ---
  In a Mental Health Professional Shortage Area: Yes
                                                                 Mental Health HPSA Name: Jonesboro Catchment Area
                                                                     Mental Health HPSA ID: 7059990507
                                                                Mental Health HPSA Status: Designated
                                                                 Mental Health HPSA Score: 16
                                                 Mental Health HPSA Designation Date: 1981/07/14
                                Mental Health HPSA Designation Last Update Date: 2012/08/23
  In a Dental Care Health Professional Shortage Area: Yes
                                                                 Dental Health HPSA Name: Low Income - Randolph               County
                                                                     Dental Health HPSA ID: 605999050N
                                                                Dental Health HPSA Status: Designated
                                                                 Dental Health HPSA Score: 14
                                                  Dental Health HPSA Designation Data: 2013/11/13
                                Dental Health HPSA Designation Last Update Data:                  ---
  In a Medically Underserved Area/Population: Yes
                                                                 MUAIP Service Area Name: Randolph County

                                                  O. . Moofi
                                                                                      MUA/P ID:
                                                                                              -..
                                                                                                  00192 ..                     ..



                                                                                   State Name: Arkansas
                                                                                 County Name: Randolph
                                                                 County Subdivision Name: Demun
                                                                      Census Tract Number: 960301            [Additional result analysis)
                                                                                      ZIP Code: 72455
                                                                            Post Office Name: Pocahontas
                                                               Congressional District Nama: Arkansas District 01
                                          Congressional District Representative Name: Rick Crawford




http://datawarehouse.hrsa.gov/GeoAdvisor/Print.aspx?advisortype==Generic                                                                    10/28/2014
          Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 63 of 217

HRSA- Find Shortage Areas: HPSA & MUNP by Address- Version 2.0                                                      Page 2 of2



Note: The address you entered is geocoded and then compared against the HPSA and MUA data (as of 1012512014) in the HRSA Data
Warehouse. Due to geoprocessing limitations, the designation result provided may be inaccurate and does not constitute an official
determination. If you feel the result is in error. please refer to http://answers.hrsa.goy.




Date of query: 10/28/2014




http://datawarehouse.hrsa.gov/GeoAdvisor/Print.aspx?advisortype=Generic                                              10/28/2014
           Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 64 of 217

 HRSA- Find Shortage Areas: HPSA & MUA/P by Address- Version 2.0                                                                            Page 1 of1




                                              U. S. D&parlme11t of Hflllllh 1.11i~t H~m.1ri Setvices
                                              HeaKh Resources and Services Administration
      Poweted by the. HRSA Data WlltBhouse




                                       Find Shortage Areas: HPSA & MUA/P by Address



Reported location: 1310 W Main St, Russellville, AR. 72801
(--Input location: 1310 w main, russellville, Arkansas)




   In a Primary Care Health Professional Shortage Area: No
   In a Mental Health Professional Shortage Area: Yes
                                                                    Mental Health HPSA Name: Russellville Catchment Area
                                                                        Mental Heaith HPSA 10: 7059990610
                                                                   Mental Health HPSA Status: Designated
                                                                   Mental Health HPSA score: 16
                                                     Mantal Health HPSA Designation Date: 1986/06/16
                                   Mental Health HPSA Designation Last Update Date: 2012/08/20
   In a Dental Care Health Professional Shortage Area: Yes
                                                                    Dental Health HPSA Name: Low Income - Pope County
                                                                        Dental Health HPSA 10: 605999051L
                                                                   Dental Health HPSA Status: Designated
                                                                   Dental Health HPSA Score: 17
                                                     Dental Health HPSA Designation Date: 2014/03/05
                                   Dental Health HPSA Designation Last Update Date: -- -
  In a ~edlcal.l~ ~llderserv~d Area/Population: Nl) .


                                                                                      State Name: Arkansas
                                                                                    County Name: Pope
                                                                    County Subdivision Name: Illinois
                                                                         Census Tract Number: 961400         [Additional result analysis)
                                                                                         ZIP Code: 72801
                                                                               Post Office Name: Russellville
                                                                Congressional District Name: Arkansas District 03
                                             Congressional District Representative Name: Steve Womack



Note: The address you entered is geocoded and then compared against the HPSA and MUA data (as of 1012512014) in the HRSA Data
Warehouse. Due to geoprocessing limitations, the designation result provided may be inaccurate and does not constitute an official
determination. If you feel the result is in error, please refer to http://answers.hrsa.qov.




Date of query: 10/28/2014




http://datawarehouse.hrsa.gov/GeoAdvisor/Print.aspx?advisortype=Generic                                                                     10/28/2014
          Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 65 of 217


 HRSA- Find Shortage Areas: HPSA & MUNP by Address- Version 2.0                                                       Page 1 of 1




                                             .US. ~ps~tOOnl of ~eaitil :lid Huma'1 ~Ni~s .
                                              Health Resources and Services Admlnistratlon

      PoWIIted by the HRSA Data W.tehou51t




                                       Find Shortage Areas: HPSA & MUA/P by Address



Reported location: 106 S Spring St, Searcy, AR, 72143
(---- Input location: 106 s spring, searcy, Arkansas)




   In a Primary Care Health Professional Shortage Area: No
   In a Mental Health Professional Shortage Area: Yes
                                                                 Mental Health HPSA Name: Batesville Catchment Area
                                                                     Mental Health HPSA ID: 7059990505
                                                                Mental Health HPSA Status: Designated
                                                                Mental Health HPSA Score: 14
                                                    Mental Health HPSA Designation Date: 1979/09117
                                   Mental Health HPSA Designation Last Update Date: 2012/08/20
   In a Dental Care Health Professional Shortage Area: No
  In a Medically Underaerved Area/Population: No


                                                                                  State Name: Arkansas
                                                                               County Name: White
                                                                 County Subdivision Name: Gray
                                                                      Census Tract Number: 070402
                                                                                    ZIP Code: 72143
                                                                           Post Office Name: Searcy
                                                              Congressional District Name: Arkansas District 02
                                             Congressional District Representative Name: Tim Griffin



Note: The address you entered is geocoded and then compared against the HPSA and MUA data (as of 1012512014) In the HRSA Data
Warehouse. Due to geoprocessing limitations, the designation resu/1 provided may be inaccurate and does not constitute an official
determination. If you feel the result is in error, please refer to http://answers.hrsa.qov.




Date of query: 10/28/2014




http://datawarehouse.hrsa.gov/GeoAdvisor/Print.aspx?advisortype=Generic                                               10/28/2014
          Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 66 of 217

 HRSA- Find Shortage Areas: HPSA & MUA/P by Address- Version 2.0                                                                                            Page 1 of2




                                             . U.. S. bepadmfiill of H&llllil   and Human &inio&s
                                              HeaHh Resources and Services Administration
      Powered by the HRSA Dsls Wsmhouse




                                           Find Shortage Areas: HPSA & MUA/P by Address



Reported location: 204 Frankie Ln. While Hall, AR, 71602
{--Input location: 204 frankie, white hall, Arkansas)




   In a Primary Care Health Professional Shortage Area: No
   In a Mental Health Professional Shortage Area: Yes
                                                                       Mental Health HPSA Name: Pine Bluff Calchment Area
                                                                                Mental Health HPSA ID: 7059990503
                                                                      Mental Health HPSA Status: Designated
                                                                       Mental Health HPSA Score: 15
                                                         Mental Health HPSA Designation Date: 1978107119
                                        Mental Health HPSA Designation Last Update Date: 2012108/20
  In a Dental Care Health Professional Shortage Area: Yes
                                                                       Dental Health HPSA Name: Low Income - Jefferson County
                                                                                Dental Health HPSA ID: 605999051G
                                                                      Dental Health HPSA Status: Designated
                                                                       Dental Health HPSA Score: 15
                                                         Dental Health HPSA Designation Date: 2013111/20
                                        Dental Health HPSA Designation Last Update Date:                  ---
  In a Medically Underserved Area/Population: Yes
                                                                       MUAIP Service Area Name: Jefferson Service Area
                                                                                                MUAIP ID: j00216
                                                                                    ''"   RO




                                                                                               State Name: Arkansas
                                                                                           County Name: Jefferson
                                                                        County Subdivision Name: Washington
                                                                                Census Tract Number: 000302
                                                                                                 ZIP Code: 71602
                                                                                     Post Office Name: White Hall
                                                                    congressional District Name: Arkansas District 04
                                             Congressional District Representative Name: Tom Cotton

                   ·-·· ·-··-····-···          .   ··-      ....                                                        .... . ---- -·· -···---   ..   ·-    .   -- -------
Note: The address you entered is geocoded and th6n compared against the HPSA and MUA data (as of 101251'2014) In the HRSA Data
Warehouse. Due to geoprocessing limitations, the designation result provided may be Inaccurate and does not constitute an official
determination. If you feel the result is in error, please refer to http://answers.hrsa.gov.




http://datawarehouse.hrsa.gov/GeoAdvisor/Print.aspx?advisortype=Generic                                                                                     10/28/2014
         Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 67 of 217

HRSA- Find Shortage Areas: HPSA & MUNP by Address- Version 2.0            Page2 of2


Date of query: 10i2812014




http://datawarehouse.hrsa.gov/GeoAdvisor/Print.aspx?advisortype=Generic   10/28/2014
         Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 68 of 217


 HRSA- Find Shortage Areas: HPSA & MUA/P by Address- Version 2.0                                                         Page 1 of2




                                                  s:
                                                   Deparl~tll OfHeal/llallfl H~n SeiVi~s ·
                                               HeaHh Resources and Services AdministratiOn
      Poweted by the HRSA O.ta W...house




                                           Find Shortage Areas: HPSA & MUA/P by Address



Reported location: 1033 Old Burr Rd. Warm Springs, AR, 72478
(-Input location: 1033 old burr, warm springs, Arkansas)




  In a Primary Care Health Professional Shortage Area: Yes
                                                                  Primary Care HPSA Name: Low Income- Randolph County
                                                                      Primary Care HPSA 10: 1059990574
                                                                 Primary Care HPSA Status: Designated
                                                                  Primary Care HPSA Score: 13
                                                       Primary Care HPSA Designation Date: 2012112/11
                                       Primary Care HPSA Designation Last Update Date:       ---
  In a Mental Health Professional Shortage Area: Yea
                                                                 Mental Health HPSA Name: Jonesboro Catchment Area
                                                                     Mental Health HPSA ID: 7059990507
                                                                 Mental Health HPSA Status: Designated
                                                                 Mental Health HPSA Score: 16
                                                       Mental Health HPSA Designation Date: 1981/07/14
                                     Mental Health HPSA Designation Last Update Date: 2012/08123
  In a Dental Care Health Professional Shortage Area: Yes
                                                                 Dental Health HPSA Name: Low Income - Randolph County
                                                                     Dental Health HPSA ID: 605999050N
                                                                 Dental Health HPSA Status: Designated
                                                                 Dental Health HPSA Score: 14
                                                       Dental Health HPSA Designation Date: 2013/11/13
                                     Dental Health HPSA Designation Last Update Date:        ---
  In a Medically Underserved Area/Population: Yes
                                                                 MUAIP Service Area Name: Randolph County
                                                                                  MUAIPID: 00192
               ·-        -     ..   ··-·    -·-·-·-

                                                                                State Name: Arkansas
                                                                              County Name: Randolph
                                                                 County Subdivision Name: Warm Springs
                                                                     Census Tract Number: 960200
                                                                                  ZIP Code: 72478
                                                                          Post Office Name: Warm Springs
                                                               Congressional District Name: Arkansas District 01
                                            Congressional District Representative Name: Rick Crawford




http://datawarehouse.hrsa.gov/GeoAdvisor/Print.aspx?advisortype=Generic                                                  10/28/2014
          Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 69 of 217

HRSA- Find Shortage Areas: HPSA & MUAIP by Address- Version 2.0                                                     Page 2 of2 .



Note: The address you entered is geocoded and then compared against the HPSA and MUA data (as of 1012512014) in the HRSA Data
Warehouse. Due to geoprocessing limitations, the designation result provided may be Inaccurate and does not constitute an official
determination. If you feel the result is in en-or, please refer to http://answers.hrsa.aov.




Date of query: 10/28/2014




http://datawarehouse. hrsa.gov/GeoAd visor/Print.aspx?advisortype=Generic                                            10/28/2014
Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 70 of 217




  EXHIBITB
    Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 71 of 217




             THIRD AFFIDAVIT OF THOMAS CHRISTIAN STINNETT, M.D .. P.A.

        I, Thomas Christian Stinnett, M.D., being duly sworn and under oath, hereby state the

following based upon personal knowledge:

        I.        I am over 18 years of age and have personal knowledge of the facts set forth in

this affidavit and would testify to the same if called upon to do so.

        2.       I am a board-certified physician and psychiatrist licensed to practice medicine in

the State of Arkansas. (A copy of my Arkansas State Medical Board information is attached

hereto at Tab 1.)

       3.        I am currently a physician and psychiatrist at Maxus, Inc. ("Maxus").

       4.        In my capacity as a physician at Maxus, I have personal knowledge regarding the

patient populations at Max us' 18 outpatient counseling clinics.

       5.        I also have general knowledge ofthe Medicaid-eligible outpatient psychiatric

couns~ling    clinics that exist throughout the state of Arkansas.

       6.        Maxus is based in Warm Springs, Arkansas. It is a certified provider of mental

health counseling to juvenile and adult patients within the state of Arkansas. Maxus operates 18

outpatient counseling clinics in Arkansas and is a qualified provider of Medicaid services.

Patients are treated for psychiatric diagnoses and severe emotional/behavioral problems

including impulse control, abuse recovery, oppositional behavior, depression, grief, post-

adoption, chemical dependency and sexual issues.

       7.        The suspension levied by DHS will be the direct cause of the permanent

destruction of Maxus. Providing daily services to outpatient individuals is not a business that

can be "suspended."        The patients Max us serves must seek immediate services at another

counseling clinic and will not return once they do so.
     Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 72 of 217




         8.     · Maxus has 350 employees and service providers, many of whom are highly

 skilled in the field of psychiatric care and include physicians, master's level therapists and

 registered nurses. Maxus has vested a great deal of time and cost in the education, training and

 certification of these employees and service providers, all of whom will seek employment

 elsewhere. The efforts to replicate staffing fevels upon termination of the suspension would be

 highly cost prohibitive and is likely not even possible given the limited pool of available

 qualified personnel.

        9.      Medicaid payments make up over 99% of Maxus' income; a suspension of those

 payments pending an undetermined time for investigation will leave the companies with no

 source of income, no patients and no employees/service providers to serve them.

        10.     It is not in the best interest of the state Medicaid system to dismantle an

 organization employing numerous healthcare professionals and serving over 2,500 patients

 when it has not been shown or even alleged that there are any problems with the quality of care

 it provides.

        11.     Sixteen of 18 Maxus outpatient counseling clinics are in HRSA-designated

medically underserved areas and health provider shortage areas. These areas include all or

portions of the following counties: Boone, Baxter, Chicot, Clark, Craighead, Crittenden, Desha,

Greene, Jackson, Jefferson, Mississippi, Pope, Ptil.aski, Randolph, Sebastian, and White. (See 79

Fed Reg 36075 and incorporated list for Arkansas attached hereto at Tab 2 and found at

http://hpasfind.hrsa.gov/HPSASearch.aspx.)

        12.     The uprooting and disruption caused to the patients of Maxus will have a

profound effect on the treatment of Maxus •. patients.   A large portion of outpatient psychiatric
patients will be unable to find nearby substitute Medicaid counseling clinics and will be forced to

either go without treatment or travel far distances for treatment if the DHS suspension is

implemented and Maxus closes its doors.
       Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 73 of 217




          13.        Psychiatric care statewide will be impacted with the closing of Maxus's 18

facilities.     Wait times at outpatient facilities across the state will dramatically increase, the

already-stretched state-wide psychiatric system will be stretched farther and system-wide quality

of care may be adversely impacted.
          14.        The reduction in outpatient counseling clinics will negatively impact patients'

ability to obtain counseling and would not be in the best interest of the Medicaid program or

Medicaid recipients' best interests.



FURTHER AFFIANT SAYETH NAUGHT.

Date: October          J2, 2014


STATE OF ARKANSAS                                     )
                                                      )
 COUNTY OF _\)_e'-f{
                  _ __                                )

 I, frmtt~ ~ ~ri~-e' , a Notary Public for the above county and state, hereby certify
 that Thomas Christian Stin.nt( appeared before me on this _ day of October, 2014, and being
 duly sworn to oath, and attested to the execution of this Affidavit.

                                  ......-
                                  POPEQQUNTY
                              NOTARYPUIUO·ARKANIM
                                                             ()nuL ~~1
                                                                   Notary Public
                            MyCammlllfanl!llplr.. ~l1,1011
                                Commllllan   No.,• .,..


 a:.H99il!oh l/Q899a 9915
Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 74 of 217




                 TAB 1


                                     ...    ..
                                      1'    /'
               Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 75 of 217


870 647 2145      Trlnty Behavioral                                                    05:38:23   p.m.   10-09-2014     6122



                  ARKANSAS STATE MEDICAL BOARD
                   1401 West Capitol, Suite 340, Little Rock, Arkansas 72201 (501) 296-1802 FAX: (501) 603-3555
                                                      www .armedicalboard.org

                                             License Verification

                                Queried on: Wednesday, February 05, 2014 at: 1:13PM


General Information
                                                         Name: Thomas Christian Stinnett, M.D.
                                            Primary Specialty: Psychiatry




Address Information
                                             Mailing Address: 5 St. VIncent Clrcl~
                                                  Address 2: Suite 302
                                               City/State/Zip: Little Rock, AR 72205
                                                      Phone: (501) 666-5242
                                                         Fax: (501)666-2430


License Information
                                              License Number: C-7152
                                           Original Issue Date: 818/1986
                                               Expiration Date: 2/28/2015
                                                         Basis: Exam
                                                License Status: Active
                                             License Category: Unlimited




 Page 1 of 1                          License Verification                  (C-7152)- Thomas Christian Stinnett, M.D.
              Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 76 of 217


8706472145                                                                                     05:38:39   p.m.   10-09-2014          7/22
                   Trlnty Behavioral



                                       ARKANSAS STATE MEDICAL BOARD
                               STATE OF ARKANSAS CENTRALIZED CREDENTIALS VERIFICATION SERVICE
                                               1401 West Capitol, Suite 340 Little Rock, AR 72201 (501) 296·1802
                                                      www.armedicalboard.org ccvs@annediealboard.org

                                        Initial Credentlaling Information
                                       Queried By: TED SUHL I MAXUS WARM SPRINGS AR
                                       Queried on: Wednesday, November 20,2013 at: 4:30PM
    General Information
                                                                    Name: Thomas Christian Stinnett, M.D.
                                                                      SSN: 43·1·33·4917
                                                                      Sex: Male
                                                                     DOB: 2/14/1959
                                                                     UPIN: 690203
                                                                      NPI: 1164566598
                                            Medicare Provider Number: 51755
                                          •. Accept Medicare Patients?: Yes
                                            Medicaid Provider Number: 114196001
                                            Accept Medicaid Patients?: Yes
                                                International Graduate?: No
                                             Country of Medical School: USA




   Address Information
                                                        Mailing Address: 5 St. VIncent Circle
                                                               Address 2: Suite 302
                                                           City/State/Zip: Little Rock, AR 72205
                                                                  Phone: (501)666-5242
                                                                     Fax: (501) 666·2430

   License Information
                                                          License Number:     C·7152
                                                       Original Issue Date:   8/811986
                                                           Expiration Date:   2128/2014
                                                                     Basis:   Exam
                                                            License Status:   Active
                                                         License Category: Unlimited



  No Information Found tor: License Board History. •




   Page 1 of 16                        Initial Credentlallng                           (C· 7152) - Thomas Christian Stinnett, M.D.
                 Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 77 of 217


870 647 2145          Trlnty Behavioral                                                 05:39:00 p.m.   10-09-2014         8/22


        ' Certifications (ABMS Boards)

                                           Specialty: Psychiatry
                              Certification Type:      Certified
                            Certification Status:      Active/Lifetime - MOC Not Required
                             Certification Soard:      ABMS • Amer Bd of Psychiatry & Neurology
                             Certificate Number:
                              Certification Date:      04/30/1992
                            Recertification Date:
                                Expiration Date:
                              Verification Date:       11/18/2013
                            Verification Source:       Certlfacts
                                        Remarks:       None



       No Information Found tor: Certifications (Non-ABMS Boards).

       No Information Found for: Certifications (ECFMG).

       No Information Found tor: certifications (Fifth Pathway).



               DEA Information (Federal)

                                          DEA Number: 680966981 (
                                      DEA Address: #5 St. Vlncent'Circle Suite 302 Uttle Rock, AR 72205
                                            Schedules: 2, 2N, 3, 3N, 4, 5
                                           Issue Date:
                                    Expiration Date: 02/28/2015
                                  Verification Date: 11/15/2013
                               Verification Source: NTIS IDEA
                                             Remarks: None


      No Information Found for: DEA (State}.

      No Information Found for: Education (Undergraduate).




      Page 2 of 16                          Initial Credentiallng                  (C·7152) ·Thomas Christian Stinnett, M.D.
                 Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 78 of 217
                                                                                                                          9/22__
                                                                                       05:39:18   p.m.   10-09-2014
8706472145           Trlnty Behavioral

       ·Education (Medical)

                                                Education: Medical
                                             Schooi/GME: University of Arkansas College of Medicine
                                                 Location: Little Rock, AR USA
                                                   Degree: M.D.
                                               Start Date: 08/01/1981
                                              Leave Date: 05/17/1986
                                  Program Completed: Yes
                                         Verification Date: 07/11/2006
                                · Verification Source: Verbal Direct
                                            Board Waiver: No
                         Transcript Verification Date:
                                 Official Transcript?: No
                                                       Remarks: LOA - see Mise Activity entry




             Education (Internship)

                                           Education: Internship
                                         SchooVGME: University of Arkansas for Medical Sciences
                                                      Program
                                            Location: Little Rock, AR
                                            Specialty: Transitional
                                           Start Date: 07/01/1986
                                          Leave Date: 06/30/1987
                             Program Completed: Yes
                                 Verification Date: 01/04/2001
                              Verification Source: Direct
                                     Board Waiver: No
                                                   Remarks: None




                                           initial Credentlallng                  (C-7152) ·Thomas Christian Stinnett, M.D.
      Page 3 of 16
               Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 79 of 217


870 647 2145         Trlnty Behavioral                                                  05:39:32 p.m.   10-09-2014


         · Education (Residency)

                                                     Education: Residency
                                                  Schooi/GME: University of Arkansas for Medical Sciences
                                                               Program
                                                     Location: Little Rock, AR USA
                                                      Specialty: Psychiatry
                                                     Start Date: 07/01/1987
                                                   Leave Date: 06/30/1990
                            Anticipated Completion Date:
                                         Program Completed: Yes
                                             Verification Date: 01/04/2001
                                          Verification Source: Direct
                                                Board Waiver: No
                                                                 Remarks: None


    No Information Found for: Education (Fellowship).

    No Information Found for: Education (Assistantship).

    No Information Found for: Education (Clerkship).

    No Information Found for; Education (Extemshlp).

    No Information Found for: Education (Observershlp).

    No Information Found for: Education (Other Graduate). .

    No Information Found for: Education (Postgraduate).



       Insurance Information




    Page 4 of 16                         Initial Credentialing                   (C·7152) ·Thomas Christian Stinnett, M.D.
                Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 80 of 217

                                                                                       05:39:48 p.m.   10-09-2014        11122-
870 647 2145         Trlnty Behavioral


                                                    Type: Current
                                                 Carrier: State Volunteer Mutual Insurance Company
                                              Address 1: 101 Westpark Dr., Suite 300
                                              Address 2: PO Box 1065
                                         City, State, Zip: Brentwood, TN 37024
                                         Policy Number: 89-1151
                                  Coverage Amount: $1,000,000-$3,000,000
                                    Retroactive Date: 07/01/1990
                                             Issue Date: 05/01/2004
                                     Expiration Date: 05/01/2014
                                    Denied/Dropped:
                         Documentation Received: Yes
                                    Verification Date: 03/13/2013
                                 Verification Source: Certificate Copy



                                                   Type: Previous
                                                 Carrier: State Volunteer Mutual Insurance Company
                                             Address 1: 101 WestparkDr., Suite 300
                                             Address 2: PO Box 1065
                                         City, State, Zip: Brentwood, TN 37024
                                         Policy Number: 89-1151
                                 Coverage Amount: $3,000,000-$5,000,000
                                   Retroactive .Date: 07/01/1990
                                            Issue Date: 07/01/1995
                                     Expiration Date: 07/01/1996
                                   Denied/Dropped:
                         Documentation Received: Yes
                                   Verification Date: 05/27/1995
                                Verification Source: Certificate Copy




                                           Initial Credentlallng                  (C-7152) ·Thomas Christian Stinnett, M.D.
      Page 5 of 16
               Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 81 of 217

                                                                                      05:40:03   p.m.   10-09-2014      12122_..
870647214S         Trlnty Behavioral

                                                  Type: Previous
                                                Carrier: State Volunteer Mutual Insurance Company
                                            Address 1: 101 Westpark Dr., Suite 300
                                            Address 2: PO Box 1065
                                       City, State, Zip: Brentwood, TN 37024
                                       Polley Number: 90·1151
                                Coverage Amount: $1,000,000-$3,000,000
                                  Retroactive Date: 07/01/1990
                                           Issue Date: 05/01/2003
                                   Expiration Date: 05/01/2004
                                  Denied/Dropped:
                       Documentation Received: Yes
                                 Verification Date: 03/27/2003
                              Verification Source: Certificate Copy


                                                 Type: Previous
                                               Carrfer: State Volunteer Mutual Insurance Company
                                           Address 1: 101 Westpark Dr.• Suite 300
                                           Address 2: PO Box 1065
                                   City, State, Zip: Brentwood, TN 37024
                                   Polley Number: 89·1151
                               Coverage Amount: $1,000,00D-$3,000,000
                                Retroactive Date: 07/01./1990
                                          Issue Date: 05/01/2002
                                  Expiration Date: 05/01/2003
                                 Denied/Dropped:
                      Documentation Received: Yes
                                 Verification Date: 04/04/2002
                              Verification Source: Certificate Copy




    Page 6 of 16                        Initial Credentlaling                   (C·7152) ·Thomas Christian Stinnett, M.D.
                Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 82 of 217


                                                                                       05:40:19   p.m.   10-09-2014           13/22
870 647 2145         Trlnty Behavioral

                                                   Type: Previous
                                                 Carrier: State Volunteer Mutual Insurance Company
                                             Addross ~: 101 Westpark Dr., Suite 300
                                             Address 2: PO Box 1065
                                     City, State, Zip: Brentwood, TN 37024
                                         Polley Number: 89·1151
                                 Coverage Amount: $3,000,000·$5,000,000
                                   Retroactive Date: 07/0~/1990
                                            Issue Date: 05/01/2001
                                    Expiration Date: 05/01/2002
                                   Denied/Dropped:
                        Documentation Received: Yes
                                  Verification Date: 03/23/2001
                                Verification Source: Certificate Copy



                                                  Type: Previous
                                                Carrier: State Volunteer Mutual Insurance Company
                                            Address 1: 101 Westpark Dr., Suite 300
                                            Address 2: PO Bc:>x 1065
                                    City, State, Zip: Brentwood, TN 37024
                                    Polley Number: 89-1151
                                Coverage Amount: $1,000,000-$3,000,000
                                  Retroactive Date: 07/01/1990
                                           Issue Date: 05/01/1999
                                   Expiration Date: 05/01/2002
                                  Denied/Dropped:
                       Documentation Received: Yes
                                  Verification Date: 06/20/2001
                               Verification Source: Certificate Copy


    No Information Found for: License (Out-ot-stata)

    No Information Found for: Mise (AMNAOA).

    No Information Found for: Mise (Criminal Conviction),

    No Information Found for: Mise (Rehab/Health).

    No Information Found for: Mise (Exemptions).




    Page 7 of 16                         Initial Credentlallng                  (C· 7152) - Thomas Christian Stinnett, M.O.
                 Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 83 of 217


870647 2145          Trlnty Behavioral                                                 05:40:37 p.m.   10-09-2014          14/22

              Mise (Federation Verifications)

                                Verification Date: 11/15/2013
                              Verification Source: FSMB
                                                        Remarks: None


    -No-Information Found for: Mise (MUitary).


         Mise (Mise Activities)

                                   Activity Type: Time Gap
                                              Dates: From Thru
                       Letter of Explanation? : No
                                          Remarks: No time gaps



                                   Activity Type: Miscellaneous Activity
                                              Dates: From 08/0111984 Thru 07/21/1985
                       Letter of Explanation? : Yes
                                          Remarks: LOA



                                   Activity Type: Time Gap
                                             Dates: From 05/18/1986 Thru 06/30/1986
                       Letter of Explanation?: Yes
                                         Remarks: Vacation



   No Information Found for: Mise (Physician's Health Committee).

   No Information Found tor: Practice (Partner In Practice).


         Practice (Previous Practice)




   Page 8 of 16                          Initial Credentlaling                 (C-7152) ·Thomas Christian Stinnett, M.D.
               Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 84 of 217

                                                                                         05:40:51   p.m.   10-09-2014'   15/22
870 6472145          Trlnty Behavioral


                                              Name: Arkansas Psychiatric Clinic, P.A.
                                           Location: Little Rock ARUSA
                                            Position: Partner
                                              Status: Inactive
                                         Date From: 11/01/1992
                                         Date Thru: 12/31/2000
                                         Restrl.ctl.on: Psychiatry
                                          Category: Unknown
                              In Good Standing?: Yes
                             Verification Method: Phone
                              Verification Source: Verbal Direct
                                 Verification Date: 02/22/2005
                                   Board Waiver?: No
                                           Remarks: None


                                              Name: Little Rock Psychiatric Clinic, PA
                                                  . Little Rock ARUSA
                                           Location:             .
                                            Position: Owner/Medical Director
                                              Status: Inactive
                                         Date From: 02/01/1996
                                         Date Thru: 01/31/2001
                                         Restriction: Psychiatry
                                           Category: Unknown
                              In Good Standing?: Yes
                             Verification Method: Phone
                              Verification Source: Verbal Direct
                                 Verification Date: 02128/2011
                                   Board Waiver?: No
                                           Remarks: None




                                          Initial Credentlallng                    (C-7152) ·Thomas Christian Stinnett, M.D.
      Page 9 of 16
                  Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 85 of 217


                                                                                              05:41:05 p.m.   10-09-2014            16122_
870 647 2145          Trlnty Behavioral


               Practice (Primary Practice)

                                                 Name: Thomas      C.   Stinnett, M.D., PA
                                              Location: Little Rock ARUSA
                                              Position: Private Practice
                                                Status: Current
                                           Date From: 01/02/2001
                                            Date Thru:
                                           Restriction: Psychiatry
                                            Category: Unknown
                              In Good Standing?: Yes
                              Verification Method: Phone
                              Verification Source: Verbal Direct
                                 Verification Date: 11/18/2013
                                   Board Waiver?: No
                                            Remarks: None


    No Information Found for: Practice (Secondary Practice).

    No Information Found for: Specialty (Practice).


           Specialty (Primary)

                                            Specialty: Psychiatry
                                            Remarks: None


    No Information Found tor: Specialty (Secondary).

    No Information Found tor: Specialty {Self-Designated).

    No Information Found for: Work History (Clinic).


          Work History (Employment)

                                Institution Name: George          W. Jackson Mental Health Center
                                            Location: Jonesboro, AR
                                lnstltuiton Dates: 01/01/1988 Thru 12/31/1989
                                Verification Date:
                             Verification Source: Unknown
                                  Board Waiver?: No
                                           Remarks: Cannot verify, no contact info; physician info only




    Page 10 of 1-6                        Initial Credentlallng                        (C-7152) ·Thomas Christian Stlnne.tt, M.~.
                 Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 86 of 217

                                                                                         05:41:23 p.m.     10-09-2014      17 122.....
870 647 2145           Trlnty Behavioral

                                   Institution Name: Community Counseling Services, Inc.
                                            Location: Hot Springs, AR
                                    lnstitulton Dates: 01/01/1989 Thru 12/31/1990
                                   Verification Date: 07/11/2006
                                Verification Source: Verbal Direct
                                     Board Waiver?: No
                                          Remarks: Cannot verify, tiles archived, physician Information
                                                    only


                                   Institution Name: Counseling Associates, Inc.
                                            Location: Conway, AR
                                   lnstitulton Dates: 07/01/1990 Thru 11/3011992
                                   Verification Date: 07/11/2006
                                Verification Source: Verbal Direct
                                     Board Waiver?: No
                                          Remarks: Cannot verify, flies archived, physician information
                                                    only


                                   Institution Name: Birch Tree Communities, Inc.
                                            Location: Benton, AR
                                   lnstitulton Dates: 07/01/1999 Thru 12/31/1999
                                   Verification Date: 04/08/2003
                                Verification Source: Verbal Direct
                                     Board Waiver?: No
                                          Remarks: Contracted Psychiatrist


                                   Institution Name: Outlook Geriatric Partial Hospitalization (Facility
                                                       Closed)
                                             Location: Russellville, AR
                                    tnstitulton Dates: 12/01/1999 Thru 07/01/2001
                                   Verification Date: 04/16/2004
                                Verification Source: Verbal Direct
                                     Board Waiver?: No
                                          Remarks: Medical Director




                                           lnltlal Credenttal!ng                    (C-7152) ·Thomas Christian Stinnett, M.D.
       Page 11 of 16
                Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 87 of 217

                                                                                          05:41:39 p.m.   10-09-2014
870 647 2145         Trlnty Behavioral

                                  Institution Name; Arkansas Counseling Associates/MAXUS
                                            Location: Warm Springs, AR
                                  lnstitulton Oates: 01/25/2005
                                 Verification Date: 11/18/2013
                              Verification Source: Verbal Direct
                                   Board Waiver?: No
                                           Remarks: Staff Psychiatrist/Medical Director


                                 Institution Name: Boone Park And Lynch Drive Elemantaries
                                            Location: North Little Rock, AR
                                 lnstitulton Dates: 02/01/2005 Thru 12/31/2006
                                 Verification Date: 06/17/2010
                              Verification Source: Verbal Direct
                                   Board Waiver?: No
                                        Remarks: Contract physician


                                 Institution Name: Rlvendell Behavioral Health Services
                                           Location: Benton, AR
                                 lnstitiJiton Dates: 07/01/2005 Thru 03/31/2006
                                Verification Date: 01/31/2007
                             Verification Source: Verbal Direct
                                  Board Waiver?: No
                                          Remarks: Medical Director




           Work History (Staff Appointments)

                                Institution Name: The Bridgeway
                                           Location: North Little Rock, AR
                                 Institution Oates: 08/19/1987 Thru 05/24/2007
                                             Status: Inactive
                                   Staff Privilege: Courtesy
                                   Clinical Scope: Psychiatry
                             In Good Standing?: Yes
                                Verification Date: 05/08/2008
                             Verification Source: Verbal Direct
                                  Board Waiver?: No
                                          Remarks: None




     Page 12 of 16                       initial Credentlallng                    (C-7152)- Thomas Christian Stinnett, M.D.
                                                                                                                       0   •
                 Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 88 of 217

                                                                                        05:41:57 p.m.   10-09-2014        19/22____   ;
870 647 2145          Trfnty Behavioral

                                   Institution Name: Saint Mary's Regional Medical Center
                                            Location: Russellville, AR
                                   Institution Dates: 10/29/1991 Thru 02/23/2006
                                              Status: Inactive
                                     Staff Privilege: Consulting
                                     Clinical Scope: Psychiatry
                               In Good Standing?: Yes
                                  Verification bate: 06/10/2008 ·
                               Verification Source: Verbal Direct
                                    Board Waiver?: No
                                           Remarks: None


                                  Institution Name: St. Vincent Infirmary Medical Center (St. Vincent
                                                      Health System)
                                            Location: Little Rock, ARUSA
                                  Institution Dates: 09/04/1996 Thru 03/17/2000
                                              Status: Inactive
                                     Staff Privilege: Courtesy
                                    Clinical Scope: Psychiatry
                               In Good Standing?: Yes
                                  Verification Date: 04/06/2003
                               Verification Source: Direct
                                    Board Waiver?: No
                                           Remarks: None


                                  Institution Name: Baptist Health Medical Center • Little Rock
                                           Location: Little Rock, AR
                                  Institution Dates: 11/21/1996 Thru 02/01/2011
                                              Status: Inactive
                                     Staff Privilege: Consulting
                                    Clinical Scope: Psychiatry
                               In Good Standing?: Yes
                                  Verification Date: 07/26/2011
                               Verification Source: Direct
                                    Board Waiver?: No
                                           Remarks: None




                                          Initial Credentlallng                    (C-7152)- Thomas Christian Stinnett, M.D.
      Page 13 of 16
              Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 89 of 217

                                                                                    05:42:13   p.m.   10-09-2014        20122_..
870647 2145       Trlnty Behavioral

                            Institution Name: Charter Behavioral Health System of Little Rock
                                      Location: Maumelle, ARUSA
                             Institution Dates:· 02/01/1999 Thru 10/31/1999
                                         Status: Inactive
                               Staff Privilege: Active Staff
                               Clinical Scope: Psychiatry
                         In Good Standing?: Yes
                            Verification Date:
                         Verification Source: Unknown
                              Board Waiver?: No
                                   Remarks: Cannot verify, facility closed; physician Info only



                             Institution Name: Pinnacle Pointe Hospital
                                      Location: Little Rock, AR
                             Institution Dates: 12109/1999 Thru 01/13/2012
                                         Status: Inactive
                               Staff Privilege: Active Staff
                               Clinical Scope: Psychiatry
                          In Good Standing?: Yes
                            Verification Date: 10/19/2012
                         Verification Source: Verbal Direct
                              Board Waiver?: No
                                      Remarks: None


                             Institution Name: Arkansas Heart Hospital
                                       Location: Little Rock, AR
                             Institution Dates: 03/17/2005 Thru 07/01/2013
                                         Status: Inactive
                                Staff Privilege: Associate
                               Clinical Scope: Psychiatry
                          In Good Standing?: Yes
                             Verification Date: 08/23/2013
                          Verification Source: Roster Direct
                               Board Waiver?: No
                                       Remarks: None




                                      Initial Credentiatlng
                                                                              (C-7152) ·Thomas Christian Stinnett,   M.D.
     Page14of16
               Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 90 of 217

                                                                                     05:42:29 p.m.   10-09-2014        21/22
8706472145            Trlnty Behavioral
                               Institution Name: Rlvendell Behavioral Health Services
                                          Location: Benton, AR
                               Institution Oates: 07/01/2005 Thru 03/31/2006
                                            Status: Inactive
                                  Staff Privilege: Active Staff
                                  Clinical Scope: Psychiatry
                            In Good Standing?: Yes
                               Verification Date: 01/31/2007
                            Verification Source: Verbal Direct
                                 Board Waiver?: No
                                          RemarkS: None


                                Institution Name: River Valley Medical Center (formerly Dardanelle
                                                    Hospital)
                                          Location: Dardanelle, ARUSA
                                lnstltutlon·Dates: 08120/2007 Thru 10/01/2008
                                            Status: Inactive
                                   Staff Privilege: Courtesy
                                   Clinical Scope: Psychiatry
                             In Good Standing?: Yes
                                Verification Date: 12103/2008
                             Verification Source: Verbal Direct
                                  Board Waiver?: No
                                          Remarks: None



                                 Institution Name: The Brldgeway
                                           Location: North Little Rock, AR
                                 Institution Dates: 07/21/2008 Thru 07/21/2011
                                             Status: Inactive
                                    Staff Privilege: Courtesy
                                    Clinical Scope: Psychiatry
                               In Good Standing?: Yes
                                 Verification Date: 01/30/2012
                               Verification Source: Verbal Direct
                                    Board Waiver?: No
                                           Remarks: None




                                                                                 (C-7152) ·Thomas Christian Stinnett, M.D.
                                           Initial Credentiallng
      Page 15 of 16
                Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 91 of 217

                                                                                    05:42:45 p.m.      10-09-2014                 22122_...
8706472145          Trlnty Behavioral

                               Institution Name: Saint Mary's Regional Medical Center
                                         Location: Russellville, AR
                               Institution Dates: 10/21/2011
                                            Status: Current
                                 Staff Privilege: Active Staff
                                Clinical Scope: Psychiatry
                           In Good Standing?: Yes
                              Verification Date: ·11/15/2013
                           Verification Source: Roster Direct
                                Board Waiver?: No
                                         Remarks: None


   No Information Found for: Work History (Teaching).

                                                                                               Report Version: 1.0.1 Rev. 03/11

                                                                                                          PHIDNO: ASMB525B

                                                                                                        Sarlal Number: 381643

                                                                                                Snapsllol VersiOn: 1.0.0.10588

                                                                             Report ID: e2al3c77·2c:b1·43ec-811+94d451c8816b




                                        Initial Credentlallng               (0·7152) ·Thomas Christian Stinnett, M.D.
    Page 16 of 16
- - - - -         ~~--




  Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 92 of 217




                    TAB2


                                              .·.
              Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 93 of 217


Find Shortage Areas: HPSA by State & County                                                                                                                    Page 1 of4

  b
,q,r.   U S DqJur~llcnl oHicnlth & lfumon Servicoa




~LIJRSA.                                                     U.S. Deparlr>ltllllo/Hea/111 andH!IIIltln Setrvices   .     Enter Keyword&
                                                                                                                                             .......................... . . .
 ~·                                                          Health Resources and Services Administration                ·li•   HRSA Data Warahouae ') HRSA.gov

         Powoi'Od by lhf HRSA O.lt Wlrolloust




                                           ;1011o11o
                           0119 • loone County
                                                                                                                                                 .. il

                           ot1 • lradlev- Gountv                                                                                                         ·..

                                        :alhoun Countv


                          01            :arroll County

                          017 • ~hicot County
                                                       1.1\<_00

                                                                                                                       R""'l
                          01 l. ·Clark County
                               Iori!
                         102   1   •   Clay Countv


                          02:1. Cleburne CountY

                          02: i • Cl veland C_Q\Jn,ty

                         1027. :olumbla Co1,1n_ty_

                          o::e          :onwav Countv
                                                                                                                                                                 l$




                         !03i.                         Countv

                         ~~~CountY

                         O~Dallas            County

                         o~            Desha Countv
                                                   '"

                           Orow
                                   ·
                         1~5 Faulkner County




                                                                                                                                                           10/13/2014
      Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 94 of 217


Find Shortage Areas: HPSA by State & County                         Page 2 of4




                                                                   1M1'H?fl 14
       Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 95 of 217


 Find Shortage Areas: HPSA by State & County                                                                                                    Page 3 of 4




              J!IQe 25 2014 Federal Register No!lce
              NOTE: Today a list ot designated HPSAa Ia being posted below lo renectthe pubUcatlon ot tho Federal Register noUce on June 25, 2014.
              Thlt Federal Register notice rellecls lhe elatua of HPSAs aa ot May 23, 2014. The main Impact ot thla Federal Register publication Will be to
              officially withdraw these HPSAs thai have been In "propoaed tor Withdrawal' ataJus since the last Federal Reglaler nollce waa published on
              Juno 27,2013. HPSAa thai have been placed In 'proposed lorwllhdrawar alatus since May 23.2014 wUI remain In lhatstatut until tho
              pubiiQallon of the next Federal Register no.tlce. If there are any queaUona about the at!IIUa of a particular HPSA or area, we recommend that
              you contact the alate primary cere office in your alate; e listing can be obtained et
              hiiQ://bhpr hrsa goy/shortage{hosas/pdmaJYcarooUjcoa.htm!.




htto://hosafind.hrsa.IZov/HPSASearch.asox                                                                                                     10/13/2014
       Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 96 of 217


Find Shortage Areas: HPSA by State & County                                                                                          Page 4 of4


                 • Coynty and Countv Eqytvalent Listing- Pr!marv Care       (app<ox. 368 K8)
                 • Qounty and County Egy!yalent Listing- Dental Qare      (opprox. ~87 K8)
                   Coyntv and Coyoty Eqy!valonl Llatlng- Mental Core      (opprox. 355 Kll)



             Online Processing of Shortage Designation Applications Suspended
             Online procoaslng or shortage deslgnaUon app!lcaUona has been suspended and wHI resuma In December 2014. Please direct any queatlona
             to your Sfa!e:Prlmarv Care Office and/or the appropriate Shortage Designation Officer.                                              ·



               &•kQUta!IQQII   Vltwtfl   & P!ny11e 1~I   QWUlQJill 1~I ftudpm Qf lnCmmoUqn As! I~ I Wb!ttHoylt AOYI ~ 1




                                                                                                                                      10/13/2014
htto://hosafind.hrsa.!Zov/HPSASearch.asox
             Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 97 of 217




                                        Federal Register I Vol. 79, No. 122/ Wednesday, June 25, 2014/ Notices                                                      36075

                                                                    TOTAL ESTIMATED ANNUALIZED BURDEN-HOURS

                                                                                                                   Number of                      Average         Total
                                    Form name                                                     Numbor of     responses per      Total        burden per       burden
                                                                                                 respondents      respondent    responsos        response         hours
                                                                                                                                                (In hours)
 Rural Health Information Technology (HIT) Workforce Pro·
  gram Performance Measures .......................................... .                                   15                             15             3.6              54
                                                                                                1----
     Total .......................................... :................ :.............: ... .              15               1            15              3.6              54


   Dated: june 19, 2014.                          Public or private nonprofit entities are                                        notified of each request submitted for
 Jackie Painter,                               eligible to apply for assignment of                                                their comments and recommendations.
 Acting Director, Division of Polley and       Nntional Health Service Corps (NHSC)                                                  Annually, Hsts of designated HPSAs
 Information Coordination.                     personnel to provide primary care,                                                are made available to a11 PCOs, state
  IPR Doc, 2014-14804 Filed 6-24-14; 8:45am)   mental, or dental health services in or                                           medical and dental societies, and
  BILLINO CODE 4188-1&-P                      to these HPSAs. NHSC health                                                         others, with a request to review and
                                               professionals with a service obligation                                            update the data on which the
                                               may enter into service agreements to                                              designations are based. Emphasis is
  DEPARTMENT OF HEALTH AND                    serve only in federally designated                                                 placed on updating those designations
  HUMAN SERVICES                              HPSAs. Entities with clinical training                                             that are more than 3-years old or where
                                              sites located In HPSAs are eligible to                                             significant changes relevant to the
  Health Resources and Services               receive priority for certain residency                                             designation criteria have occurred.
 Administration                               training program grants administered by                                               Recommendations for possible
                                              the BHW. Many other federal progrnms                                               additions, continuations, revisions, or
 Lists of Designated Primary Medical                                                                                             withdrawals from a HPSA Ust are
 Care, Mental Health, and Dental Health       also  utilize HPSA designations. Fo1·
                                              example, under authorities. . .                                                    re.viewed by BHW, al)d the review.
 Prbfesslonal Shortage Areas                                                                                                     findings are provided by letter to the
                                              administered by the Centers for
 AGENCY: Health Resources and Services        Medicare and Medicaid Services,                                                    agency or individual requesting action
 Administration, HHS.                         ce1·tain qualified providers In                                                    or providing data, with copies to other
 ACTION: Notice.                              geographic area HPSAs are eligible for·                                            interested organizations and
                                              increased levels of Medicare                                                       individuals. These letters constitute the
 SUMMARY: This notice advises the public reimbursement. ·                                                                       official notice of designation as a HPSA,
 of the published lists of all geographic        Development ofthB Designation and                                              rejection of recommendations for HPSA
 areas, population groups, nnd fncilltles     Withdrawal Lists: Critet·ia for                                                   designation, revision of a HPSA
 designated as primary medical care,          designating HPSAs were published as                                               designation, and/or advance notice of
 mental health, and dental health            final regulations (42 CFR part 5) in                                               pending withdrawals from the HPSA
 professional shortage areas (HPSAs) as                                                                                          list. Designations (or revision!! of
 of May 23, 2014, available on the Health 1980. Criteria then were defined for                                                  designations) are effective as of the date
 Resources and Services Administration       each of seven health professional types                                            on the notification letter from BHW.
 (HRSA) Web site at http://www.hrsa.         (primary medical cnre, dental,                                                     Proposed withdrawals become effective
govlshortagel.                               psychiatric,   vision care, podiatric,                                             only after interested parties in the aren
    HPSAs are designated or withdrawn        pharmacy, and veterinary care). The                                                affected have been afforded the
by the Secretary of Health and Human         criteria for correctional facility HPSAs                                           opportunity to submit additional
Services (HHS) under the authority of        were revised and published on March 2,                                             information to BHW in support of its
section 332 of the Public Health Service 1989 (54 FR 8735). The criteria for                                                    continued or revised designation. If no
(PHS) Act and 42 CFR part 5,                 p!!ychiatric HPSAs were expanded to                                                new data are submitted, or lf BHW
                                             mental health HPSAs on January 22,                                                 review confirms the proposed
SUPPLEMENTARY INFORMATION:                   1992 (57 FR 2473). Currently funded
    Background: Section 332 of the PHS                                                                                          withdrawal, the withdrawal becomes
Act, 42 U.S.C. 254e, provides that the       PHS Act programs use only the primary                                              effective upon publication of the lists of
Secretary of HHS shall designate HPSAs medical care, mental health, or dental                                                   designated HPSAs in the Federal
based on criteria established by             HPSA designations                                                                  Register. ln addition, lists of HPSAs are
regulation. HPSAs are defined In section         Individual requests for designation or                                         updated daily on the HRSA We\:1 site,
332 to Include (1) urban and rural           withdrawal of a particular geographic                                              http://www.hrsa.gov/shortage/, so that
geographic areas with shortages of           area, population group, or a facility as                                           Interested parties can access the most
health professionals, (2) population         a HPSA are received and reviewed                                                   accurate and timely information.
groups with such shortages, and (3)          continuously by BHW. The majority of                                                   Publication and Format of Lists: Due
facilities with such shortages. Section      the requests come from the Primary Care                                            to the large volume of designations, a
332 further requires that the Secretary      Offices (PCO) in the State Health                                                  printed version of the list Is no longer
annually publish a list of the designated Departments, who have access to the on·                                               distributed. This notice serves to inform
geographic areas, population groups,         line application and review system.                                                the public of the availability of the
and facilities. The lists of HPSAs are to    Requests that come from other sources                                              complete listings of designated HPSAs
be reviewed at least annually and            are referred to the PCOs for their review                                          on the HRSA Web site. The three lists
revised as necessary. HRSA's Bureau of and concurrence. In addition, Interested                                                 (primary medical care, mental health,
Health Workforce (BHW) has the               parties, Including the Governor, the                                               and dental) of designated HPSAs are
responsibility for designating and           State Primary Care Association, and                                                available at a link on the HRSA Web site
updating HPSAs.                              state professions I associations are                                               at http://www.hrsa.gov/shortage/, and
          Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 98 of 217




 36076 Federal Register/Yo!. 79, No. 122/Wednesday, June 25, 2014/Notices
 ~~~=~~
  Include a snapshot of all geographic                                  Health Care Improvement Act. Many,                                     HPSA designations listed on the HRSA
  areas, population groups, and facilities                              but not all, of these entitles are Included                            Web site below and requests for
  that were designated HPSAs as of May                                 on this !fstlng. Exclusion from this list                               additional designations, withdrawals, or
  23, 2014. This notice incorporates the                                does not exclude them from HPSA                                        reapplication for designation should bo
  most recent annual reviews of                                         designation; any facilities eligible for                               submitted to Melissa Ryan, Operations
  designated HPSAs and supersedes the                                  automatic designation will be Included                                  Director, Division of Polley and
  HPSA lists published In the Federal                                  In the database as they are identified.                                 Shortage Designation, Bureau of Health
  Register on June 27, 2013 (77 FR 38838).                                Future UpdatfJB of Usts of Designated                                Workforce, Health Resources and
  The. lists alsQ Include automatic facility                           HPSAs: The lists of HPSAs on the HRSA                                   Services Administration, Room 9A-55,
  HPSAs, designated as a result of the                                 Website belowconslstofall those tha.t                                   PaJ:I<rawn Builillng, 5lHJOFishers Lane~
  Health Care Safety Net Amendments of                                 were designated as of May 23, 2014. It                                  Rockville, Maryland 20857, (301) 594-
  2002 (Pub. L. 107-251), not subject to                               should be noted that HPSAs are                                          0816, http://www.hrsa.gov/shortag81.
 update requirements. Each list of                                     currently updated on an ongoing basis                                     Dated: Juno 18, 2014.
 designated HPSAs.(prlmary medical                                     based on the identification of new areas,                               Mary K. Wakefield,
 care, mental health, and dental) Is                                  population groups, facilities, and sites
                                                                       that meet the eliglblllty criteria or that                              AdmlniBtrator.
 arranged by state.. Within each state, the
 list Ia presented bY county. If only a                               no longer meet eligibility criteria and/or                               (FR Doc. 2014-14806 l'lled 8-24-14; 8:45am(
 portion (or portions) of a county is (are)                           are being replaced by another type of                                    BILLING COPI 4185-1&-P

 designated, or If the county Is part of a                            designation. As such, additional HPSAs
 larger designated service area, or If a                              may have been designated by letter
 population group residing In the county                              since that date. The appropriate                                         DEPARTMENT OF HEALTH AND
 or a facility located In the county has                              agencies and Individuals have been or                                    HUMAN SERVICES
 been designated, the name of the service                             will be notified of these actions by                                    Health Resources and Services
 area, population group, or facility                                  letter. These newly designated HPSAs                                    Administration
 Involved Is listed under the county                                  will be Included ln the next publication
 name, Counties that have a whole                                     of the HPSA list and are currently                                      Health Careers Opportunity Program
 county geographic HPSA are Indicated                                 Included in the daily updates posted on
 by the "Entire county HPSA" notation                                 the HRSA Web site at http://www.hrsa.                                   AGENCY: Health Resources and Services
following the county name. Further                                  ·govlshorta~e/f{nd.html.                                                  Admh'llstration (HRSA), HHS.
 details on the snapshot of H'PSAs listed                               Any des1gnated HPSA listed on the                                     ACTION: .Notice of class .deviation from
can be found on the HRSA Web site:                                   HRSA Web site be.low Is subject to                                       competition requirements for the Health
http:/lwww.hrsa.gov/shortagel.                                       withdrawal from designation if new                                       Careers Opportunity Program (HCOP).
   In addition to the specific listings                              Information received and confirmed by
included In this notice, all Indian Tribes                           HRSA indicates that the relevant data                                    SUMMARY: The Health Resources.and
that meet the deflnltiQn of such Tribes                              for the area involved have significantly                                 Services Administration (HRSA) will be
in the Indian Health Care Improvement                                changed since Its designation. The                                       [ssulng non-competitive awards for the
Act of 1976, 25 U.S.C. 1603(d), are                                  effective date of such a withdrawal will                                 HCOP program. Approximately $9.8
automatically designated as fopulation                               be the next publication of a notice                                      million will be made available in the
groups with primary medica care and                                  regarding this list in the Federal                                       form of grants to the awardees listed In
dental health professional shortages.                                Register. All requests for new                                           the chart below for the budget period
The Health Care Safety Net                                           designations, updates, or withdrawals                                    beginning September 1, 2014. We have
Amendments of 2002 also made the                                     should be based on the relevant criteria                                 determined the need for significant
following entitles eligible for automatic                            In regulations published at 42 CFR pa1·t                                 program changes prior to launching a
facility HPSA designations: all federally                            5.                                                                       new competition to the field. This will
qualified health centers (FQHCs) and                                    Electronic Access Address: The                                        enable the Bureau of Health Workforce
rural health clinics that offer services                             complete list of HPSAs designated as of                                  to thoughtfully redesign the current
l'egardless of ability to pay. These                                 May 23, 2014, are available on the                                       program to ensure that it meets the
entities Include: FQHCs funded under                                 HRSA Web site at http://www.hrsa.gov/                                    needs of both the government and the
section 330 of the PHS Act, FQHC Look-                               shortagB/. Frequently updated                                            field, and conduct a single competition
Alikes, and Tribal and urban Indian                                  information on HPSAs Is also available                                   in fiscal year (FY) 2015;
clinics operating under the Indian Self-                             at http://datawarehouse.hrsa.gov.                                        SUPPLEMENTARY INFORMATION: Grantees
Determination and Education Act of                                   FOR FURTHE!R INFORMATION CONTACT:                                        of record and intended award amounts
1975 (25 U.S.C. 450) or the Indian                                   Requests for further Information on the                                  are:
                                                                                                                                                                                       Anliclpaled
           Grant No.                                                                               lnslllullon name                                                            SIBle    FY 2014
                                                                                                                                                                                        funding
                                                                                                                                                                                        amount
D18HP23034   ...... ;.........................   University of Alabama Birmingham ............................................................................ .               AL         $624,823
D18HP23007   ...............................     University of Arizona ................................................................................................. ..    AZ          739,146
018HP10623   ...............................     University of California, San Diego ........................................................................... ..            CA          742,224
D18HP23028   ...............................     D'Youvllle College ..................................................................................................... ..   NY          679,854
D18HP10617   ...............................     Marquelle University ...................................................................................................      WI          719,155
D18HP05283   ...............................     Meharry Medical College .......................................................................................... ..         TN          750,000
D18HP23030   ...............................     Michigan State University .................................................................................·...... :...       Ml          667,125
018HP10625   ...............................     University of Michigan-Flint ....................................................................................... ..       Ml          592,581
018HP10627   ...............................     Mount Sinal School of Medicine ................................................................................ .             NY          686,377
D18HP23032   ...............................     Unlverslly of Texas Medical Branch ......................................................................... ..               TX          750,000
018HP23014   ...............................     Research Foundallon of the State University of New York ...................................... ..                             NY          712,447
Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 99 of 217




  EXHIBIT C
    Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 100 of 217




        SECOND AFFIDAVIT OF THOMAS CHRISTIAN STINNETT, M.D., P. A.

        I, being duly sworn and under oath, hereby state the following based upon personal

knowledge:
      · · 1.   -I   am over 18 years of age and have personal knowledge of the facts set forth in
this affidavit and would testify to the same if called upon to do so.
        2.      I am a board-certified physician and psychiatrist licensed to practice medicine in

the State of Arkansas. (A copy of my Arkansas State Medical Board information is attached

hereto at Tab 1.)
         3.     I am currently a physician and psychiatrist at Trinity Behavioral HealthCare

Systems, Inc. ("Trinity").
         4.     In my capacity as a physician and psychiatrist, I have personal knowledge

regarding the patient populations at Trinity's inpatient juvenile psychiatric treatment facility.

         5.     I also have general knowledge of the Medicaid-eligible inpatient psychiatric

facilities that exist throughout the state of Arkansas.
          6.    Trinity operates a licensed inpatient facility that treats children ranging from six

years of age to seventeen years of age.             Patients live on Trinity's residential campus,

Northeastern Arkansas.          Therapeutic services are provided by a multi-disciplinary team,

including Physicians, Master's Level Therapists, Registered Nurses and Licensed Educational

 Personnel.
          7.        Patients' stay at Trinity range from six to eight months. Patients are treated for

 psychiatric diagnoses and severe emotionaVbehavioral problems including impulse control,

 abuse recovery, oppositional behavior, depression, grief, post-adoption, chemical dependency

 and sexual issues.
   Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 101 of 217




       8.     The suspension levied by DHS will be the direct cause of the permanent

destruction of Trinity. Providing 24-hour in-patient care is not a business that can be

"suspended." The patients Trinity serves must seek immediate services at another facility and

will not return once they do so.

       9.     Trinity has 172 employees and service providers, many of whom are highly

skilled in the field of psychiatric care and include physicians, master's level therapists,

registered nurses and licensed educational personnel. Trinity has invested a great deal of time

and cost in the education, training and certification of these employees and service providers, all

of whom will seek employment elsewhere.           The efforts to replicate staffing levels upon

termination of the suspension would be highly cost prohibitive and is likely not even possible

given the limited pool of available qualified personnel.

       10.     Medicaid payments make up over 99% of Trinity's income; a suspension of those

payments pending an undetermined time for investigation will leave Trinity with no source of

income, no patients and no employees to serve them.

       11.     Trinity has inpatient capacity of 158 which includes 92 state-approved beds for

Medicaid inpatients. Nine-nine percent of the inpatients at Trinity are Medicaid recipients.

       12.     The Arkansas Health Services Permit Agency ("HSPA") prepares an annual

survey to determine capacity for Psychiatric Residential Treatment Facility ("PRTF") need.

(See Health Care Facilities Services Need SFY 201, incorporated herein and attached hereto at

Tab 2.)
         Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 102 of 217




                        13.    HSPA released its report for PRTF bed utilization in October of2014. The

      report calculates that there are 628 in-state beds for PRTF in the state. ld. Ninety-two of those

      beds are Trinity's.

                        14;    Based on HSPA's most recent calculations, statewide bed --need· for

      inpatient psychiatric patients is 634, and the total number of existing beds is 628. ld Thus,

      HSPA shows a current bed need as being six fewer than there actually are at present. Id

                        15.    DHS' suspension of funding to Trinity would take 92 PRFT beds out of

      the state's system, reducing the total PRFT beds available in the state by 15%.

                ~       16.    The additional reduction of bed count, . which would occur from the
                (   :


      suspension of funding to Trinity, would significantly add to the shortage of beds HSPA has

      already identified while Trinity's 92 beds were operational.

'-·                     17.    Reducing PRFT beds by 15%, as a result of the suspension of funding to

      Trinity, would cause an extreme shortage of PRFT beds in Arkansas, would negatively impact

      patients' ability to obtain inpatient psychiatric treatment and wo~d not be in the best interest of

      the Medicaid program or Medicaid recipients' best interests.

              18.       It is not in the best interest of the state Medicaid system to dismantle an

       organization employing numerous healthcare professionals and serving emotionally fragile

       patients when it has not been shown or even alleged that there are any problems with the quality

       of care it provides.

      FURTHER AFFIANT SAYETH NAUGHT.
      Date: October 2014 -/J
      STATE OF ARKANSAS                       )
                                              )
       COUNTYOF          ¥                    )
   Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 103 of 217




[, ~ Sb.-,~~,                  a Notary Public for the above county and state, hereby certi!Y that
Thomas Christian Stinll ~ppeared before me on this /3 day of October, 2014, and being duly
sworn to oath, and attested to the execution of this Affidavit.
                                    Na.I1'NilMIGI' •


                            -=I«JJ'NI'I'....,·-
                              ~
                                ..............
                                     POPIOOUNI't

                                  ODAMI. . .Uioi ,..,_
Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 104 of 217




                   TAB 1
                   Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 105 of 217



870 647 2145            Trlnty Behavioral                                                      05:38:23   p.rn.   10-09-2014    6/22



                         ARKANSAS STATE MEDICAL BOARD
                         1401 West Capitol, Suite 340, Little Rock, Arkansas 72201 (501) 296-1802 FAX: (501) 603-3555
                                                              www.armedicaiboard.org


                                                     License Verification

                                      Queried   on: Wednesday, February 05, 2014 at: 1:13PM

General Information
                                                                 Name: Thomas Christian Stinnett, M.D.
                                                    Primary Specialty: Psychiatry




Address Information
                                                     Mailing Address: 5 St. VIncent Circle
                                                          Address 2: Suite 302
                                                       City/State/Zip: Little Rock, AR 72205
      .. ·.   ')


                                                              Phone: (501)666-5242
                                                                 Fax: (501) 666·2430


License Information
                                                      License Number: C-7152
                                                   Original Issue Date: 8/8/1986
                                                       Expiration Date: 2/28/2015
                                                                 Basis: Exam
                                                        License Status: Active
                                                     License Category: Unlimited




Page 1 of 1                                 License Verification                    (C·7152) ·Thomas Christian Stinnett, M.D.
               Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 106 of 217



                                                                                              05:38:39 p.m.   10-09-2014            7/22
870 647 2145        Trlnty Behavioral


                                        .ARKANSAS STATE MEDICAL BOARD
                                STATE OF ARKANSAS CENTRALIZED CREDENTIALS VERIFICATION SERVICE
                                                1401 West Capitol, Suite 340 Little Rock, AR 72201 (501) Z96·1802
                                                       www .anneclicalboard.org ccva@ annedlcalboard.org

                                         Initial Credentialing Information
                                        Queried By: TED SUHL I MAXUS WARM SPRINGS AR
                                        Queried on: Wednesday, November 20, 2013 at: 4:30PM

     General Information
                                                                     Name: Thomas Christian Stinnett, M.D.
                                                                       SSN: XXX-XX-XXXX
                                                                       Sex: Male
                                                                      008: 2114/1959
                                                                      UPIN: 690203
                                                                       NPI: 1164568598
                                             Medicare Provider Number: 51755
                                             Accept Medicare Patients?: Yes
                                           · ·Medicaid Provider Number: 114196001
                                             Accept Medicaid Patients?: Yes
                                                 International Graduate?: No
                                             Country of Medical School: USA




    Address Information
                                                         Mailing Address: 5 St. VIncent Circle
                                                                Address 2: Suite 302
                                                            City/State/Zip: Little Rock, AR 72205
                                                                   Phone: (501)666·5242
                                                                      Fax:   (501)6~2430


    License Information
                                                           License Number: C-7152
                                                        Original Issue Date: 8/8/1986
                                                            Expiration Date: 2/28/2014
                                                                      Basis: Exam
                                                             License Status: Active
                                                          License Category: Unlimited




   No Information Found for: License Board History.




    Page 1 of 16                        Initial Credentlallng                          (C· 7152) ·Thomas Christian Stinnett, M.D.
               Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 107 of 217




870 647 2145          Trlnty Behavioral                                                05:39:00 p.m.   10-09-2014         8122


           Certifications (ABMS Boards)

                                        Specialty: Psychiatry
                              Certification Type: Certified
                             Certification Status: Active/Lifetime • MOC Not Required
                             Certification Board: ABMS • Amer Bd of Psychiatry & Neurology
                             Certificate Number:
                              Certification Date: 04/30/1992
                            Aeoertiflcatlon Date:
                                Expiration Date:
                              Verification Date: 11/18/2013
                            Verification Source: Certifacts
                                        Remarks: None



       No Information Found tor: Certifications (Non·ABMS Boards).

       No Information Found for: Cartltrcatlons (ECFMG).

       No Information Found for: Certifications (Fifth Pathway).


               DEA Information {Federal)

                                          DEA Number; BSOS66981      r
                                      DEA Address: #5 St Vlncent'Circle Suite 302 Little Rock, AA 72205
                                            Schedules: 2, 2N, 3, 3N, 4, 5
                                           Issue Date:
                                    Expiration Date: 02/28/2015
                                  Verification Date: 11/1512013
                               Verification Source: NTIS I DEA
                                             Remarks: None



      No Information Found for: DEA (State).

      No Information Found for: Education (Undergraduate).




      Page 2 of 16                         Initial Credentlallng                  (C-7152) ·Thomas Christian Stinnett, M.D.
             Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 108 of 217



                                                                                        05:39:18 p.m.   10-09-2014         9/22 ......-
8706472145          Trlnty Behavioral

       ·Education (Medical)

                                              Education: Medical
                                            SchooVGME: University of Arkansas College of Medicine
                                                Location: Little Rock, AR USA
                                                 Degree: M.D.
                                              Start Date: 08/01/1981
                                             Leave Date: 05/17/1986
                                 Program Completed: Yes
                                        Verification Date: 07/11/2006
                                  Verification Source: Verbal Direct
                                          Board Waiver: No
                        Transcript Verification Date:
                                  Official Transcript?: No
                                                           Remarks: LOA - see Mise Activity entry




        . Education. (Internship)

                                          Education: Internship
                                    Schooi/GME: University of Arkansas for Medical Sciences
                                                 Program
                                       Location: Little Rock, AR
                                          Specialty: Transitional
                                         Start Date: 07/01/1986
                                        Leave Date: 06/30/1967
                           Program Completed: Yes
                                Verification Date: 01/04/2001
                             Verification Source: Direct
                                   Board Waiver: No
                                                      Remarks: None




     Page 3 of 16                        Initial Credentlallng                     (C·7152) ·Thomas Christian Stinnett, M.D.
              Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 109 of 217



                                                                                          05:39:32 p.m.   10-09-2014           10122_
8706472145           Trlnty Behavioral


             Education (Residency)

                                                     Education: Residency
                                                  SchooVGME: University of Arkansas for Medical Sciences
                                                             Program
                                                       Location: Little Rock, AR USA
                                                   ... $p«;~cl~lty: Psy_chlatry.
                                                     Start Date: 07/01/1987
                                                   Leave Date: 06/30/1990
                            Anticipated Completion Date:
                                         Program Completed: Yes
                                             Verification Date: 01/04/2001
                                          Verification Source: Direct
                                                Board Waiver: No
                                                                  Remarks: None


    No Information Found for: Education (Fellowship).

    No Information Found for: Education (Assistantship).

   No Information Found for: Education (Clerkship).

   No Information Found tor: Education (Extemshlp).

   No Information Found for: Education (Observershlp).

   No Information Found for: Education (Other Graduate).

   No Information Found for: Education (Postgraduate).


     Insurance Information




   Page 4 of 16                          Initial Credentlallng                     (C·7152) ·Thomas Christian Stinnett, M.D.
              Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 110 of 217



                                                                                      05:39:48 p.m.   10-09-2014        11122-
870647 2145         Trlnty Behavioral


                                                   Type: Current
                                                Carrier: State Volunteer Mutual Insurance Company
                                             Address 1: 101 Westpark Or., Suite 300
                                             Address 2: PO Box 1065
                                        City, State, Zip: Brentwood, TN 37024
                                        Policy Number: 89·1151
                                 Coverage Amount: $1 ,000,000-$3,00o,ooo ·
                                   Retroactive Date: 07/01/1990
                                            Issue Date: 05/01/2004
                                    Expiration Date: 05/01/2014
                                   Denied/Dropped:
                        Documentation Received: Yes
                                   Verification Date: 03/13/2013
                                Verification Source: Certificate Copy


                                                  Type: Previous
                                                Carrier: State Volunteer Mutual Insurance Company
                                            Address 1: 101 Westpark Dr., Suite 300
                                            Address 2: PO Box 1065
                                        City, State, Zip: Brentwood, TN 37024
                                        Policy Number: 89~1151
                                Coverage Amount: $3,000,000·$5,000,000
                                  Retroactive Date: 07/01/1990
                                           Issue Date: 07/01/1995
                                    Expiration Date: 07/01/1996
                                   Denied/Dropped:
                        Documentation Received: Yes
                                  Verification Date: 05/27/1995
                                Verification Source: Certificate Copy




     Page 5 of 16                         Initial Credentialing                  (G·7152) ·Thomas Christian Stinnett, M.D.
               Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 111 of 217


                                                                                      05:40:03   p.m.   10-09-2014
870 647 2145         Trlnty Behavioral

                                                   Type: Previous
                                                 Carrier: State Volunteer Mutual Insurance Company
                                             Address 1: 101 Westpark Dr., Suite 300
                                             Address 2: PO Box 1065
                                         City, State, Zip: Brentwood, TN 37024
                                         Polley Number: 90·1151
                                 .. Coverage Amount:. $1,000,000·$3,000,000
                                    Retroactive Date: 07/01/1990
                                             Issue Date: 05/01/2003
                                     Expiration Date: 05/01/2004
                                    Denied/Dropped:
                         Documentation Received: Yes
                               Verification Date: 03/27/2003
                                 Verification Source: Certificate Copy


                                                   Type: Previous
                                                Carrier: State Volunteer Mutual Insurance Company
                                             Address 1: 101 Westpatk Dr., Suite 300
                                             Address 2: PO Box 1065
                                     City, State, Zip: Brentwood, TN 37024
                                         Polley Number: 89·1151
                                 Coverage Amount: $1 ,000,000·$3,000,000
                                   Retroactive Date: 07/01/1990
                                            Issue Date: 05/01/2002
                                     Expiration Date: 05/01/2003
                                   Denied/Dropped:
                        Documentation Received: Yes
                                   Verification Date: 04/0412002
                                Verification Source: Certificate Copy




      Page 6 of 16                        Initial Credentlaling                  (C·7152) ·Thomas Christian Stinnett, M.D.
               Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 112 of 217



870 647 2145         Trlnty Behavioral                                                  05:40:19   p.m.   10-09-2014         13122


                                                    Type: Previous
                                                  Carrier: State Volunteer Mutual Insurance Company
                                              Address 1: 101 Westpark Dr., Suite 300
                                              Address 2: PO Box 1065
                                     City, State, Zip: Brentwood, TN 37024
                                         Policy Number: 89·1151
                                ··Coverage Amount: $3,000,000-$5,000,000
                                   Retroactive Date: 07/0111990
                                            Issue Date: 05/01/2001
                                    Expiration Date: 05/01/2002
                                   Denied/Dropped:
                        Documentation Received: Yes
                                   Verification Date: 03/23/2001
                                Verification Source: Certificate Copy


                                                   Type: Previous
                                                 Carrier: State Volunteer Mutual Insurance Company
                                            Address 1: 101 Westpark Dr., Sulte300
                                            Address 2: PO Box 1065
                                    City, State, Zip: Brentwood, TN 37024
                                    Polley Number: 89-1151
                                Coverage Amount: $1 ,000,000·$3,000,000
                                  Retroactive Date: 07/01/1990
                                           Issue Date: 05/01/1999
                                   Expiration Date: 05/01/2002
                                  Denied/Dropped:
                       Documentation Received: Yes
                                  Verification Date: 06/20/2001
                              Verification Source: Certificate Copy


    No Information Found for: License (Out·of·State)

    No Information Found for: Mise (AMNAOA).

   No Information Found tor: Mise {Criminal Conviction),

   No Information Found for: Mise (Rehab/Health).

   No Information Found for: Mise (Exemptions).




    Page 7 of 16                         Initial Cr-edentlaling                  (C-7152) ·Thomas Christian Stinnett, M.D.
              Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 113 of 217



8706472145           Trlnty Behavioral                                                 05:40:37 p.m.   10-09-2014          14/22


             Mise (Federation Verifications)

                                 Verification Date: 11/15/2013
                             Verification Source: FSMB
                                                         Remarks: None


    No lnformatio~-Found for: Mise (Mliltary).


         Mise (Mise Activities)

                                   Activity Type; Time Gap
                                              Dates: From Thru
                       Letter of Explanation? : No
                                          Remarks: No time gaps


                                   Activity Type: Miscellaneous Activity
                                              Dates: From 08/01/1984 Thru 07/21/1985
                       Letter of Explanation? : Yes
                                          Remarks: LOA



                                  Activity Type: Time Gap
                                             Dates: From 05/18/1986 Thru 06/30/1986
                       Letter of Explanation?: Yes
                                          Remarks: vacation


   No Information Found for: Mise (Physician's Health Committee).

   No Information Found for: Practice (Partner in Practice).


        Practice (Previous Practice)




   Page B of 16                          Initial Credentlaling                 (C·7152) ·Thomas Christian Stinnett, M.D.
             Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 114 of 217


                                                                                        05:40:51 p.m.   10-09-2014·   15/22
8706472145          Trlnty Behavioral


                                             Name: Arkansas Psychiatric Clinic, P.A.
                                          Location: Little Rock ARUSA
                                           Position: Partner
                                            Status: Inactive
                                        Date From: 11/01/1992
                                        Date Thru: 12/31/2000
                                        RestrictiOn-: Psychiatry -
                                         Category: Unknown
                             In Good Standing?: Yes
                            Verification Method: Phone
                            Verification Source: Verbal Direct
                               Verification Date: 02/22/2005
                                 Board Waiver?: No
                                         Remarks: None


                                             Name: Little Rock Psychiatric Clinic, PA
                                          Location: Little Rock ARUSA
                                          Position: Owner/Medical Director
                                            Status: Inactive
                                        Date From: 02/01/1996
                                        Date Thru: 01/31/2001
                                        Restriction: Psychiatry
                                         Category: Unknown
                            In Good Standing?: Yes
                            Verification Method: Phone
                            Verification Source: Verbal Direct
                               Verification Date: 02/28/2011
                                 Board Waiver?: No
                                         Remarks: None




     Page 9 of 16                       Initial Credentlallng                    (C·7152) ·Thomas ChrlsUan SUnnett. M.D.
                           -    -~-------------------------------------,



               Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 115 of 217



                                                                                        05:41 :OS p.m.   10-09-2014
870647 2145          Trlnty Behavioral

              Practice (Primary Practice)

                                                Name: Thomas C. Stinnett, M.D., PA
                                             Location: Little Rock ARUSA
                                             Position: Private Practice
                                               Status: Current
                                           Date From: 0110212001
                                           Date Thru:
                                          Restriction: Psychiatry
                                            Category: Unknown
                               In Good Standing?: Yes
                               Verification Method: Phone
                               Verification Source: Verbal Direct
                                 Verification Date: 11/18/2013
                                  Board Waiver?: No
                                           Remarks: None


    No Information Found tor:   Pr~ctlce   (Secondary Practice).

    No Information Found for: Specialty (Practice).


          Specialty (Primary)

                                           Specialty: Psychiatry
                                           Remarks: None


    No Information Found for: Specialty (Secondary).

   No Information Found for: Specialty (Self-Designated).

   No Information Found for: Work History (Clinic).


         Work History (Employment)

                                Institution Name: George W. Jackson Mental Health Center
                                           Location: Jonesboro, AR
                                lnstltuiton Oates: 01/01/1988 Thru 12/31/1989
                                Verification Date:
                            Verification Source: Unknown
                                 Board Waiver?: No
                                          Remarks: Cannot verify, no contact info; physician Info only




   Page 10 of 16                         Initial Credentlaling                    (C·7152) ·Thomas Christian   Stinn~U, M.~.
             Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 116 of 217


                                                                                                                          17/22__ _
                                                                                       05:41:23 p.m.     10-09-2014
8706472145           Trlnty Behavioral

                                 Institution Name: Community Counseling Services, Inc.
                                          Location: Hot Springs, AR
                                  lnstltuiton Dates: 01/01/1989 Thru 12/31/1990
                                 Verification Date: 07/11/2006
                              Verification Source: Verbal Direct
                                   Board Waiver?: No
                                        Remarks: -Cannot verify, files archived, physician Information
                                                  only


                                 Institution Name: Counseling Associates, Inc.
                                          Location: Conway, AR
                                 lnstitulton Dates: 07/01/1990 Thru 11/30/1992
                                 Verification Date: 07/11/2006
                              Verification Source: Verbal Direct
                                   Board Waiver?: No
                                        Remarks: Cannot verify, files archived, physician information
                                                  only


                                 Institution Name: Birch Tree Communities, Inc.
                                          Location: Benton, AR
                                 lnstituiton Dates: 07/01/1999Thru 12/31/1999
                                 Vertflcatlon Date: 04/08/2003
                              Verification Source: Verbal Direct
                                   Board Waiver?: No
                                        Remarks: Contracted Psychiatrist


                                 Institution Name: Outlook Geriatric Partial Hospitalization (Facility
                                                     Closed)
                                           Location: Russellville, AR
                                  lnstltuiton Dates: 12/01/1999 Thru 07/01/2001
                                 Verification Date: 04/16/2004
                              Verification Source: Verbal Direct
                                   Board Waiver?: No
                                          Remarks: Medical Director




                                         Initial CredenUallng                      (C-7152) ·Thomas Christian Stinnett, M.D.
     Page 11 ot 16
             Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 117 of 217



                                                                                           05:41:39 p.m.   10-09-2014
8706472145          Trlnty Behavioral

                                 Institution Name: Arkansas Counseling Assoclates/MAXUS
                                           Location: Warm Springs, AR
                                 lnstltulton Dates: 01/25/2005
                                Verification Date: 11/18/2013
                             Verification Source: Verbal Direct
                                  Board Waiver?: No
                                           Remarks: Staff·Psychiatrlst/Medicai··Director


                                Institution Name: Boone Park And Lynch Drive Elementarles
                                           Location: North Little Rock, AA
                                lnstltuiton Dates: 02101/2005 Thru 12/31/2006
                                Verification Date: 06/17/2010
                             Verification Source: Verbal Direct
                                  Board Waiver?: No
                                          Remarks: Contract physician


                                Institution Name: Rivendell Behavioral Health Services
                                          Location: Benton, AR
                                lnstltuiton Dates: 07/01/2005 Thru 03/31/2006
                               Verification Date: 01/31/2007
                            Verification Source: Verbal Direct
                                 Board Waiver?: No
                                          Remarks: Medical Director




         Work History (Staff Appointments)

                               Institution Name: The Brldgeway
                                          Location: North Little Rock, AR
                               Institution Dates: 08/19/1987 Thru 05124/2007
                                            Status: Inactive
                                  Staff Privilege: Courtesy
                                  Clinical Scope: Psychiatry
                            In Good Standing?: Yes
                               Verification Date: 05/08/2008
                            Verification Source: Verbal Direct
                                 Board Waiver?: No
                                         Remarks: None




    Page 12 of 16                       Initial Credentlallng                     (C-7152) ·Thomas .Christian Stinnett, M.D.
              Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 118 of 217



                                                                                       05:41:57 p.m.   10-09-2014        19122_.••
870647 2145          Trlnty Behavioral

                                 Institution Name: Saint Mary's Regional Medical Center
                                           Location: Russellville, AR
                                  Institution Dates: 10/29/1991 Thru 02/23/2008
                                              Status: Inactive
                                    Staff Privilege: Consulting
                                    Clinical Scope: Psychiatry
                              In Goad Standing?: Yes
                                 Verification Data: 06/10/2008
                              Verification Source: Verbal Direct
                                   Board Waiver?: No
                                          Remarks: None


                                 Institution Name: St. Vincent Infirmary Medical Center (St. VIncent
                                                     Health System)
                                           Location: Little Rock, ARUSA
                                 Institution Dates: 09/04/1996 Thru 03/17/2000
                                             Status: Inactive
                                    Staff Privilege: Courtesy
                                   Clinical Scope: Psychiatry
                              In Good Standing?: Yes
                                Verification Date: 04/08/2003
                             Verification Source: Direct
                                   Board Waiver?: No
                                          Remarks: None


                                 Institution Name: Baptist Health Medical Center- Little Rock
                                          Location: Uttle Rock, AR
                                 Institution Oates: 11/21/1996 Thru 02/01/2011
                                             Status: Inactive
                                    Staff Privilege: Consulting
                                   Clinical Scope: Psychiatry
                              In Good Standing?: Yes
                                Verification Date: 07/26/2011
                             Verification Source: Direct
                                  Board Waiver?: No
                                          Remarks: None




     Page 13 of 16                       Initial Credentlallng                    (C·7152) ·Thomas Christian Stinnett, M.D.
             Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 119 of 217



                                                                                    05:42:13p.m.    10-09-2014        20122_,_
8706472145          Trlnty Behavioral

                              Institution Name: .Charter Behavioral Health System of Little Rock
                                         Location: Maumelle, ARUSA
                               institution Dates: 02/01/1999Thru 10/31/1999
                                            Status: Inactive
                                 Staff Privilege: Active Staff
                                 Clinical Scope: Psychiatry
                           In Good Standing?:. Yes
                              Verification Date:
                           Verification Source: Unknown
                                Board Waiver?: No
                                     Remarks: Cannot verify, facility closed; physician Info only


                              Institution Name: Pinnacle Pointe Hospital
                                         Location: Little Rock, AR
                              Institution Dates: 12/09/1999 Thru 01/13/2012
                                           Status: Inactive
                                 Staff Privilege: Active Staff
                                 Clinical Scope: Psychiatry
                           In Good Standing?: Yes
                              Verification Date: 10/19/2012
                           Verification Source: Verbal Direct
                                Board Waiver?: No
                                        Remarks: None


                              Institution Name: Arkansas Heart Hospital
                                         Location: Little Rock, AR
                              Institution Oates: 03/17/2005 Thru 07/01/2013
                                           Status: Inactive
                                 Staff Privilege: Associate
                                 Clinical Scope: Psychiatry
                           In Good Standing?: Yes
                              Verification Date: 08/23/2013
                           Verification Source: Roster Direct
                                Board Waiver?: No
                                         Remarks: None




                                        Initial Credentialing                 (C-7152) ·Thomas Christian Stinnett, M.D.
    Page 14 of 16
               Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 120 of 217



                      Trlnty Behavioral                                                 05:42:29 p.m.   10-09-2014      21 122
870 647 2145
                               Institution Name: Rivendell Behavioral Health Services
                                          Location: Benton, AR
                               Institution Oates: 07/01/2005 Thru 03/31/2006
                                            Status: Inactive
                                  Staif Privilege: Active Staff
                                  Clinical Scope: Psychiatry
                            In Good Standing?: Yes
                               \/erlflcatlon Date: ot/31/2007
                            Verification Source: Verbal Direct
                                 Board Waiver?: No
                                          Remarks: None


                                Institution Name: River Valley Medical Center (formerly Dardanelle
                                                    Hospital)
                                          Location: Dardanelle, ARUSA
                                Institution· Dates: 08/20/2007 Thru 10/01/2006
                                            Status: Inactive
                                   Start Privilege: Courtesy
                                   Clinical Scope: Psychiatry
                             In Good Standing?: Yes
                                Verification Date: 12/03/2008
                             Verification Source: Verbal Direct
                                  Board Waiver?: No
                                          Remarks: None


                                 Institution Name: The Brldgeway
                                           Location: North Little Rock, AR
                                 Institution Dates: 07/21/2008 Thru 07/21/2011
                                             Status: Inactive
                                    Staff Privilege: Courtesy
                                    Clinical Scope: Psychiatry
                              in Good Standing?: Yes
                                 Verification Date: 01/30/2012
                              Verification Source: Verbal Direct
                                   Board Waiver?: No
                                           Remarks: None




                                                                                 (C-7152) ·Thomas Christian Stinnett, M.D.
      Page 15 of 16                       Initial Credentiallng
               Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 121 of 217



                                                                                    05:42:45 p.m.      10-09-2014                 22122_
870 647 2145         Trlnty Behavioral

                               Institution Name: Saint Mary's Regional Medical Center
                                           Location: Russellville, AR
                                Institution Dates: 10/21/2011
                                              Status: Current
                                  Staff Privilege: Active Staff
                                  Clinical Scope: Psychiatry
                            lnGoo~_Standlng?: Ye~      _
                               Verification Date: 11/15/2013
                            Verification s·ource: Roster Direct
                                 Board Waiver?: No
                                          Remarks: None


    No Information Found for: Work History (Teaching),

                                                                                              Report Version: 1.0. 1 Rev. 03/11

                                                                                                         PHIDNO: ASMB5268
                                                                                                       Si!rlal Number: 381643

                                                                                               Snapshot Version: 1.0.0.10588

                                                                            Report 10: e2af3c77·2cb1·43ac-81f4·94d451c8e18b




    Page16 of 16                         Initial Cradentlallng              (C-7152) ·Thomas Christian Stinnett, M.D.
Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 122 of 217




                   TAB2
                     Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 123 of 217




                                                Section XII
                                                PRTF Need




October20'\4
Updated: 9/2512014                                   1                 Psychiatric Residential Treatment Facility Need
                         Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 124 of 217




                                                              Section XIII
                                                             List of PRTF'S
fAIJp_roved and/or Licensed Psychiatric Residential
Treatment Facilities as of April1, 2010
                                                                              POA            Ucensed        Approved (DYS)       T~l
Facility                                                 Location       Licensed In-State   Out of State        In-State       In-State           PRTF
                                                                              Beds             Beds              Beds            Beds             Region
                                                                                                                                   !

                                                                                                                                   '
Ozark. Guidance                                          SprinQdale            33                0                 0              33                1
Piney Ridge Center (#1171;POA Trans 9113/07)             Fayetteville          86                0                 11             97                1
Trinity Behavioral Healthcare                         Warm Springs             92                52                0               92               2       I

United Methodist Children's Home                            Bono               28                0                 0               Z8               2       '

Centers for Youth and Families                           Little Rock           49                0                 0               49               3
United Methodist Children's Home                         Little Rock           37                0                 0               S7               3
Youth Home                                               Little Rock           70                0                  0             70                3
 MiBcreek of Art<ansas                                    Fordyce              111               0                 15             126               4
 Centers for Youth and Families                          Monticello             23               0                  0             23                5
 Delta Family                                             Hamburg               23               0                  0              23               5
 Woodridge Behavioral                                    Forrest City          48                0                  0              48               6
 Woodridge Behavioral (1418)                          West Memphis              28               0                  0              ~                6
 TOTALS
                                                  ----                         628               52                26          _§54 ---:.......     -----




 October 2014
 Updated: 912512014                                                                                    List of Psychiatric Residential Treatment Fadlties
Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 125 of 217




   EXHIBITD
    Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 126 of 217



               AFFIDAVIT OF THOMAS CHRISTIAN STINNETT, M.D•• P.A.

        I, Thomas Christian Stinnett, M.D., being duly sworn and under oath, hereby state the

following based upon personal knowledge:

        1.     I am over 18 years of age and have personal _knowledge of the facts set forth in

this affidavit and would testifY to the same ifcalled upon to do so.

        2.     I am a board-certified physician and psychiatrist licensed to practice medicine in

the State of Arkansas. (A copy of my Arkansas State Medical Board infonnation is attached

hereto at Tab 1.}

       3.      I am a physician and psychiatrist at Trinity Behavioral HealthCare Systems, Inc.

("Trinity") and Maxus, Inc. ("Maxus")..

       4.     · In my capacity as a physician and psychiatrist at Trinity and Maxus, I have

personal knowledge regarding the patient populations at Trinity's inpatient juvenile psychiatric

treatment facility and Maxus' 18 outpatient counseling centers.

       5.      In my practice as a psychiatrist, I regularly treat inpatient juvenile psychiatric

patients and provided outpatient psychiatric counseling to juveniles and adults.

                               Trinity Behavioral HealthCare Systems, Inc.

       6.      Trinity operates a licensed inpatient facility that treats children ranging from six

years of age to seventeen years of age.         Patients live on Trinity's residential campus, in

Northeastern Arkansas.

       7.       Patients live in residential homes that are monitored full time by residential staff.

Therapeutic services are provided by a multi·disciplinary team, including physicians, master's

level therapists, registered nurses and licensed educational personnel.
    Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 127 of 217



          8.     Because patients at Trinity are children, developing a stable, comfortable, secure

 and trusting therapeutic setting is essential to the therapeutic process.


          9.    Achieving a level of trust is often more difficult with children than adult

psychiatric patients. When patients are admitted to Trinity, there is a period of several months in

which patients' transition into tlretherapeuticenvironmentbefore the benefits of treatment can be

realized.


          10.   The placement of a child in an inpatient facility, in itself, can cause stress, anxiety

and emotional trauma.


          11.   A period of "bonding" typically occurs between a psychiatric patient and the

treatment provider that is essential to the therapeutic process. Changes in providers can cause

regression in therapeutic progress·and detrimentally affect patients.


          12.   The specialized and delicate attention paid to each child is absolutely necessary to

his or her development and cannot withstand disruption. In many cases, a child coming to

Trinity will have failed to receive the treatment needed through foster homes, psychiatric

hospitals and non·resident treatment facilities. The first step to helping these children alter their

life course is building trust, which in turn requires consistent, qualified care.


          13.   Removing a child from a residential and therapeutic setting that they have become

accustomed to and changes in treatment modalities can cause further psychiatric and emotional

trauma.


          14.   Forcing the inpatient population at Trinity to endure a traumatic transfer from

their surroundings may break therapeutic trust, destroy progress made and cause an irreparable

regression in patients' mental growth.


          15.   In addition to psychiatric treatment, Trinity provides its patients with primary and

secondary education on campus. Patients are tested at entry for grade-level performance, and
       Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 128 of 217



    education plans are developed to address their needs. Curriculum is individualized to pennit

    each patient to reach his or her greatest educational potential, develop effective academic skills

    and earn a high school diploma or GED. Coordination with the home school district of each

   patient assures that graduation requirements will be met Class size is minimized to assure

...... in.~yid!l_~~e4-~~~~oJ1J~r e~hpatient. ..

            16.    Changes in educational circumstances can result in psychological trawna to

   patients and may also result in loss of educational progress.


           17.     Trinity is authorized by the Arkansas Health Services Pennit Agency ("HSPA") to

   operate 92 PRTF beds for Arkansas Medicaid patients. It services a large portion of rural

   Arkansas. I am not aware of another Medicaid-accredited facility similar to Trinity that could

   accommodate Trinity's current population of patients.


           18.     In my opinion as a physician and psychiatrist, the transfer or removal of inpatient

   juvenile patients from Trinity may cause emotional trauma and may result in negative therapeutic

  . regression and is not in the best interests of the patients.


                                                        Max us

           19.     Maxus operates 18 psychiatric counseling clinics in throughout Arkansas which

   provide outpatient psychiatric counseling to 2500 adults and juveniles.


           20.     I a physician at Maxus and have personal knowledge regarding the patient

   population, care and treatment provided at these counseling clinics. Maxus treats adult and

  juvenile patients suffering from           various psychiatric conditions that include severe

   emotional/behavioral problems including impulse control, abuse recovery, oppositional behavior,

   depression, grief, post-adoption, chemical dependency and sexual issues.


           21.     An important element of providing psychiatric care is developing a stable,

   comfortable, secure and trusting therapeutic setting.
                                                       3
     Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 129 of 217




         22.     Therapeutic "bonding" typically occurs between a psychiatric patient and the

 treatment provider over the course of treatment and is essential to the therapeutic process.


         23.     Children (particularly with Behavioral Disorders) and adult and juvenile patients

 with diagnoses such as Anxiety Disorders, Mood Disorders (Bipolar Disorder, Unipolar

- Depressiori}and Psychotic Disorders (Schizophrenia-and related disorders) have a·more difficult ····· ·------- -- - - ···

 time developing trust in their providers, and therefore therapeutic benefits are often delayed until

 after therapeutic bonding takes place. Patients with aforementioned diagnoses make up 90% of

 the current populations for Maxus and Trinity.


         24.     Changes in providers can destroy therapeutic bonding, cause regression in

 therapeutic progress and detrimentally affect patients' mental health.


         25.     In my opinion, as a physician and psychiatrist, the transfer ofjuvenile and adult

patients from Maxus' outpatient counseling clinics will cause emotional trauma to a significant .

 portion ofMaxus' outpatient population and may result in negative therapeutic regression.


         26.     It is further my opinion that the transfer of these patients to other psychiatric care

providers is not in their best interests.


FURTHER AFFIANT SAYETH NAUGHT.

Date: October     _J2, 2014

STATE OF ARKANSAS                               )

                                                )
COUNTY OF       f1ct              '            )
I, ftra« £~J(~ ~ary                    Public for the above county and state, hereby certify that
Thomas Christian Stinnett appeared before me on this_ day of October, 2014, and being duly
sworn to oath, and attested to the execution of this Affidavit.     .

                      . -- .    POPecouHrt
                         NOTARVPUBUO·~
                                                          iliYw- ~ ~     Notary Public
                       My Commlellon . . . .~Wflt,IOIII
                           ~nvnllllalfNo.1.,_
Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 130 of 217




                                5
Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 131 of 217




                                                            \




                   TAB 1
               Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 132 of 217




870 647 2145       Trtnty Behavioral                                                       05:38:23   p.m.   10-09-2014      6/22



                    ARKANSAS STATE MEDICAL BOARD
                    1401 West Capitol, Suite 340, Little Rock, Arkansas 72201 (501) 296-1802 FAX: (501) 603-3555
                                                       www .armedicalboard .org


                                           _ __LJcens~V~I"Iflc~tion

                                 Queried on: Wednesday, February 05, 2014 at: 1:13PM


General Information
                                                       Name: Thomas Christian Stinnett, M.D.
                                             Primary Specialty: Psychiatry




Address Information
                                              Mailing Address: 5 St. VIncent Circle
                                                    Address 2: Suite 302
                                                 City/StateiZip: L.lttle Rock, AR 72205
                                                        Phone: (501) 666-5242
                                                           Fax: (501) 666-2430


License Information
                                                License Number:      C-7152
                                             Original issue Date:    8/8/1986
                                                 Expiration Date:    2128/2015
                                                            Basis:   Exam
                                                  L.icense Status:   Active
                                              L.lcense Category:     Unlimited




 Page 1 of 1                           Ucense Verification                       (C-7152) ·Thomas Christian Stirmett, M.D.
               Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 133 of 217



                                                                                                05:38:39   p.m.   10-09-2014         7122
870 647 2145         Trlnty Behavioral


                                         ARKANSAS STATE MEDICAL BOARD
                                 STATE OF ARKANSAS CENTRALIZED CREDENTIALS VERIFICATION SERVICE
                                                1401 West Capitol, Suite 340 Little Rock, AR 72201 (501) 296·1802
                                                       www.armcdicalboard.org ccvs®armedlcalboal'(j,org

                                          Initial Credentlaling Information
                                         Queried By: TEO SUHL I MAXUS WARM SPRINGS AR
                                         Queried on: Wednesday, November 20, 2013 at: 4:30PM

      General Information
                                                                      Name: Thomas Christian Stinnett, M.D.
                                                                       SSN: 431·33·4917
                                                                        Sex: Male
                                                                       DOB: 211411959
                                                                       UPIN: B90203
                                                                        NPI: 1164566598
                                              Medicare Provider Number: 61756
                                              Accept Medicare Patients?: Yes
                                              Medicaid Provider Number: 114196001
                                              Accept Medicaid Patients?: Yes
                                                  International Graduate?: No
                                              Country of Medical School: USA




     Address Information
                                                          Mailing Address: 5 St. VIncent Circle
                                                                 Address 2: SUite 302
                                                             City/State/Zip: Little Rock, AR 72205
                                                                    Phone: (501) 666·5242
                                                                       Fax: (501) 666·2430

    License Information
                                                            License Number: C·7152.
                                                         Original Issue Date: 8/8/1986
                                                             Expiration Date: 2/28/2014
                                                                       Basis: Exam
                                                              License Status: Active
                                                           License Category: Unlimited




    No Information Found tor: Ucense Board History.




    Page 1 of 16                         Initial Credantlallng                           (C-7152) ·Thomas Christian Stinnett, M.D.
              Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 134 of 217




870647 2145          Trtnty Behavioral                                                     05:39:00 p.m.   10-09-2014           8/22


          Certifications (ABMS Boards)

                                            Specialty:   Psychiatry
                                 Certification Type:     Certified
                                Certification Status:    Active/Lifetime • MOC Not Required
                                Certification Board:     ABMS • Amer Bd of Psychiatry & Neurology
                      ..... ____Q~~Jflcate _NIJrn~~r:
                                  Certification Date:    04/30/1992
                               Recertification Date:
                                   Expiration Date:
                                  Verification Date:     11/18/2013
                               Verification Source:      Certlfacts
                                           Remarks:      None



      No Information Found tor: Certifications (Non-ABMS Boards).

      No. Information Found
                       .
                            for: Certifications (ECFMG).

      No Information Found for: Certifications (Fifth Pathway).


              DEA Information (Federal)

                                         DEA Number: BSOS66981         r
                                         DEA Address: #5 St. Vlncent'Circle Suite 302 Little Rock, AR 72205
                                           Schedules: 2, 2N, 3, 3N, 4, 5
                                           Issue Date:
                                   Expiration Date: 02128/2015
                                  Verification Date: 11/15/2013
                               Verification Source: NTIS IDEA
                                             Remarks: None


      No Information Found for: DEA (State).

      No Information Found for: Education (Undergraduate).




      Page 2 of 16                          Initial Credentlaling                     (C· 7152) • Thomas Christian Stinnett, M.D.
               Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 135 of 217


                                                                                                                          9/22__ _
                                                                                      05:39:18 p.m.   10-09-2014
8706472145           Trlnty Behavioral

       ·Education (Medical)

                                                Education: Medical
                                             Schooi/GME: University of Arkansas College of Medicine
                                                 Location: Uttle Rock, AR USA
                                                   Degree: M.D .
                                             . _.Start Date: .08/0J/t98J.
                                              Leave Date: 05/1711986
                                  Program Completed: Yes
                                         Verification Date: 07/11/2006
                                    Verification Source: Verbal Direct
                                           Board Waiver: No
                         Transcript Verification Date:
                                    Official Transcript?: No
                                                          Remarks: LOA • see Mise Activity entry




             Education {Internship)

                                           Education: Internship
                                         Schooi/GME: University of Arkansas for Medical Sciences
                                                      Program
                                            Location: Little Rock, AR
                                            Specialty: Transitional
                                           Start Date: 07/01/1986
                                          Leave Date: 06/30/1987
                             Program Completed: Yes
                                  Verification Date: 01/04/2001
                               Verification Source: Direct
                                     Board Waiver: No
                                                   Remarks: None




                                            Initial Credentiallng                 (C·7152) • Thomas Christian Stinnett, M.D.
      Page 3 of 16
              Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 136 of 217




                                                                                        05:39:32 p.m.   10-09-2014            10/22_
8706472145           Trlnty Behavioral


             Education (Residency)

                                                     Education: Residency
                                                 Schooi/GME: University of Arkansas for Medical Sciences
                                                             Program
                                                      Location: Little Rock, AR USA
                                                     $QeCi!!lty: .fl~Y~hl~try
                                                    Start Date: 07/01/1987
                                                  Leave Date: 06/30/1990
                            Anticipated Completion Date:
                                         Program Completed: Yes
                                            Verification Date: 01/04/2001
                                         Verification Source: Direct
                                                Board Waiver: No
                                                                 Remarks: None


    No Information Found for: Education (Fellowship).

    No Information Found for: Education (Assistantship).

    No Information Found for: Education (Clerkship).

    No Information Found for: Education (Externshlp).

    No Information Found for: Education (Observershlp).

   No Information Found for: Education (Other Graduate).

   No Information Found for: Education (Postgraduate).


      Insurance Information




   Page 4 of 16                          Initial Credentiallng                    (C·7152) ·Thomas Christian Stinnett, M.D.
             Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 137 of 217



                                                                                                05:39:48 p.m.   10-09-2014
8706472145          Trlnty Behavioral


                                                               Type: Current
                                                           Carrier: State Volunteer Mutual Insurance Company
                                                     Address 1: 101 Westpark Dr., Suite 300
                                                     Address 2: PO Box 1065
                                        City, State, Zip: Brentwood, TN 37024
                                        Polley Number: 89-1151
                                        ·-   ··-··   --·····-·-- ··---   ..   ..

                                 Coverage Amount: $1,000,000-$3,000,000
                                   Retroactive Date: 07/01/1990
                                                Issue Date: 05/01/2004
                                        Expiration Date: 05/01/2014
                                   Denied/Dropped:
                        Documentation Received: Yes
                              Verification Date: 03/13/2013
                                Verification Source: Certificate Copy


                                                              Type: Previous
                                                          Carrier: State Volunteer Mutual Insurance Company
                                                 Address 1: 101 Westpark Dr., Suite 300
                                                 Address 2: PO Box 1065
                                        City, State, Zip: Brentwood, TN 37024
                                        Polley Number. 89-1151
                                 Coverage Amount: $3,000,000·$5,000,000
                                  Retroactive Date: 07/01/1990
                                                Issue Date: 07/01/1995
                                    Expiration Date; 07/01/1996
                                   Denied/Dropped:
                        Documentation Received: Yes
                                   Verification Date: 05/27/1995
                                Verification Source: Certificate Copy




                                             Initial Credentlallng                          (C-7152) ·Thomas Christian Stinnett, M.D.
     Page 5 of 16
               Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 138 of 217



                                                                                       05:40:03   p.m.   10-09-2014
870 647 2145         Trlnty Behavioral

                                                    Type: Previous
                                                  Carrier: State Volunteer Mutual Insurance Company
                                              Address 1: 101 Westpark Dr., Suite 300
                                              Address 2: PO Box 1 065
                                         City, State, Zip: Brentwood, TN 37024
                                         Polley Number: 90·1151
                             - --· Coverage-Amount-:-$1 ;000;000-$3;000 1000
                                    Retroactive Date: 07/01/1990
                                             Issue Date: 05/01/2003
                                         Expiration Date: 05/01/2004
                                    Denied/Dropped:
                         Documentation Received: Yes
                                    Verification Date: 03/27/2003
                                 Verification Source: Certificate Copy


                                                   Type: Previous
                                                 Carrier: State Volunteer Mutuailnsurance Company
                                             Address 1: 101 Westpark Dr., Suite 300
                                             Address 2: PO Box 1 065
                                         City, State, Zip: Brentwood, TN 37024
                                         Policy Number: 89·1151
                                  Coverage Amount: $1,000,000·$3,000,000
                                   Retroactive Date: 07/01/1990
                                             Issue Date: 05/01/2002
                                     Expiration Date: 05/01/2003
                                    Denied/Dropped:
                         Documentation Received: Yes
                                    Verification Date: 04/04/2002
                                 Verification Source: Certificate Copy




      Page 6 of 16                         Initial Credentlaling                  (C·7152) • ThomasChr1stlan Stinnett, M.D.
               Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 139 of 217



                     Trlnty Behavioral                                                 05:40:19   p.m.   10-09-2014         13/22
870 647 2145

                                                   Type: Previous
                                                 Carrier: State Volunteer Mutual Insurance Company
                                             Address 1: 101 Westpark Dr., Suite 300
                                          Address 2: PO Box 1066
                                     City, State, Zip: Brentwood, TN 37024
                                     Policy Number: 89·1151
                                 Coverage Amount: $3,000,000~$5,000,000
                                  Retroactive Date: 07/01/1990
                                       Issue Date:        05/01/2001
                                Expiration Date:          05/01/2002
                               Denied/Dropped:
                        Documentation Received:           Yes
                               Verification Date:         0312312001
                             Verification Source:         Certificate Copy


                                                  Type: Previous
                                                Carrier: State Volunteer Mutual Insurance Company
                                            Address 1: 101 Westpark Or., Suite 300
                                            Address 2: PO Box 1 065
                                    City, State, Zip: Brentwood, TN 37024
                                   Polley Number: 89·1151
                                Coverage Amount: $1,000,000-$3,000,000
                                  Retroactive Date: 07/01/1990
                                       Issue Date: 05/01/1999
                                   Expiration Date: 05/01/2002
                                  Denied/Dropped:
                       Documentation Received: Yes
                                  Verification Date: 06/20/2001
                               verification Source: Certificate Copy


    No Information Found for: License (Out-of-State)

    No Information Found for: Mise (AMNAOA).

    No Information Found for: Mise (Criminal Conviction).

    No Information Found ror: Mise (Rehab/Health).

    No Information Found tor: Mise (Exemptions).




    Page 7 of 16                         Initial Credentlallng                  (C-7152) ·Thomas Christian Stinnett, M.D.
                 Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 140 of 217



                                                                                        05:40:37   p.m.   10-09-2014   14/22
870 647 2145           Trlnty Behavioral

               Mise (Federation Verifications)

                                   Verification Date: 11/15/2013
                                Verification Source: FSMB
                                                     Remarks: None



      No Information Found for: Mise (Military).


           Mise (Mise Activities)

                                       Activity Type: Time Gap
                                              Dates: From Thru
                           Letter of Explanation?: No
                                         Remarks: No time gaps



                                       Activity Type: Miscellaneous Activity
                                              Dates: From 08/01/1984 Thru 07/21/1985
                           Letter of Explanation?: Yes
                                           Remarks: LOA



                                       Activity Type: Time Gap
                                               Dates: From 05/18/1986 Thru 06/30/1986
                           Letter of Explanation? : Yes
                                           Remarks: Vacation



      No Information Found for: Mise (Physician's Health Committee).

       No Information Found for: Practice (Partner In Practice).



               Practice (Previous Practice)




                                                                                  (C·7152) ·Thomas Christian Stinnett, M.D.
        Page 8 of 16                        Initial Credentlaling
               Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 141 of 217


                                                                                           05:40:51 p.m.   10-09-2014'     15/22
870 647 2145           Trlnty Behavioral

                                               Name: Arkansas Psychiatric Clinic, P.A.
                                             Location: Little Rock ARUSA
                                             Position: Partner
                                               Status: Inactive
                                           Date From: 11/01/1992
                                           Date Thru: 12/31/2000
                                           Restriction: Psychiatry
                                            Category: Unknown
                                In Good Standing?: Yes
                               Verification Method: Phone
                                Verification Source: Verbal Direct
                                   Verification Date: 02/22/2005
                                     Board Waiver?: No
                                            Remarks: None


                                                Name: Little Rock Psychiatric Clinic, PA
                                             Location: Little Rock ARUSA
                                             Position: Owner/Medical Director
                                               Status: Inactive
                                           Date From: 02101/1996
                                           Date Thru: Oi/31/2001
                                           Restriction: Psychiatry
                                            Category: Unknown
                                In Good Standing?: Yes
                                Verification Method: Phone
                                Verification Source: Verbal Direct
                                   Verification Date: 02/28/2011
                                     Board Waiver?: No
                                             Remarks: None




                                            Initial Credentlallng                    (C-7152) ·Thomas Christian Stinnett, M.D.
        Page 9 of 16
              Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 142 of 217


                                                                                         05:41 :OS p.m.   10-09-2014          16/22_
8706472145           Trlnty Behavioral

             Practice (Primary Practice)

                                                Name: Thomas C. Stinnett, M.D., PA
                                             Location: Little Rock ARUSA
                                              Position: Private Practice
                                                Status: Current
                                         . -- Date-F.r.om: 0110212001
                                           Date Thru:
                                           Restriction: Psychiatry
                                            Category: Unknown
                              In Good Standing?: Yes
                             Verification Method: Phone
                             Verification Source: Verbal Direct
                                Verification Date: 11/18/2013
                                  Board Waiver?: No
                                            Remarks: None


    No Information Found for: Practice (Secondary Practice).

    No Information Found for: Specialty (Practice).



         Specialty (Primary)

                                            Specialty: Psychiatry
                                           Remarks: None


    No Information Found for: Specialty (Secondary). -

   No Information Found for: Specialty (Self-Designated).

   No Information Found for: Work History (Clinic).



         Work History (Employment)

                                Institution Name: George W. Jackson Mental Health Center
                                            Location: Jonesboro, AR
                                lnstltulton Dates: 01/01/1988 Thru 12/31/1989
                               Verification Date:
                            Verification Source: Unknown
                                 Board Waiver?: No
                                           Remarks: Cannot verify, no contact Info; physician info only




    Page 10 of 16                         Initial Credentiallng                   (C-7152) ·Thomas Christian Stlnn~tt, M.D.
               Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 143 of 217


                                                                                                                            17/22__ _
                                                                                         05:41:23   p.m.   10-09-2014
870 647 2145          Trlnty Behavioral

                                  Institution Name: Community Counseling Services, Inc.
                                            Location: Hot Springs, AR
                                   lnstitulton Dates: 01/01/1989 Thru 12/31/1990
                                  Verification Date: 07/11/2006
                               Verification Source: Verbal Direct
                                    Board Waiver?: No
                                           Remarks:· Cannot verity, tiles-archived; physician Information- --
                                                     only


                                  Institution Nama: Counseling Associates, Inc.
                                            Location: Conway, AR
                                  lnstltulton Dates: 07/01/1990 Thru 11/30/1992
                                  Verification Date: 07/11/2006
                               Verification Source: Verbal Direct
                                    Board WaiVer?: No
                                           Remarks: Cannot verify, files archived, physician information
                                                    only


                                  Institution Name: Birch Tree Communities, Inc.
                                           Location: Benton, AR
                                  lnstitulton Dates: 07/01/1999 Thru 12/31/1999
                                  Verification Date: 04/0B/2003
                               Verification Source: Verbal Direct
                                   Board Waiver?: No
                                           Remarks: Contracted Psychiatrist



                                  Institution Name: Outlook Geriatric Partial Hospitalization (Facility
                                                     Closed)
                                           Location: Russellville, AR
                                  instltulton Dates: 12/01/1999 Thru 07/01/2001
                                 Verification Date: 04/16/2004
                               Verification Source: Verbal Direct
                                   Board Waiver?: No
                                           Remarks: Medical Dl rector




      Page 11 of 16                       Initial Credentiallng                     (C-7152) ·Thomas Christian Stinnett, M.D.
             Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 144 of 217



                   Trlnty Behavioral                                                     05:41:39 p.m.   10-09-2014
8706472145

                                Institution Name: Arkansas Counseling Assoclates/MAXUS
                                           Location: Warm Springs, AR
                                lnstituiton Dates: 01/25/2005
                               Verification Date: 11/18/2013
                            Verification Source: Verbal Direct
                                 Board Waiver?: No
                                         . Remarks: Staff PsychlatrlsVMedloal DlreetoF · ·


                               Institution Name: Boone Park And Lynch Drive Elementaries
                                           Location: North Little Rock, AR
                               lnstltuiton Dates: 02/01/2005 Thru 12131/2006
                               Verification Date: 06/17/2010
                            Verification Source: Verbal Direct
                                 Board Waiver?: No
                                          Remarks: Contract physician


                               Institution Name: Rlvendell Behavioral Health Services
                                          Location: Benton. AR
                               lnstltulton Oates: 07/01/2005 Thru 03/31/2006
                              Verification Date: 01/31/2007
                           Verification Source: Verbal Direct
                                Board Waiver?: No
                                         Remarks: Medical Director




         Work History {Staff Appointments)

                              Institution Name: The Bridgeway
                                         Location: North Little Rock, AR
                              Institution Dates: 08/19/1987 Thru 05/24/2007
                                            Status: Inactive
                                 Staff Privilege: Courtesy
                                Clinical Scope: Psychiatry
                          In Good Standing?: Yes
                             Verification Date: 05/06/2008
                          Verification Source: Verbal Direct
                               Board Waiver?: No
                                        Remarks: None




   Page 12 of 16                       Initial Credentlallng                      (C·7152) • Thomas Christian Stinnett, M.D.
               Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 145 of 217


                                                                                                                            19122_ _
                                                                                      05:41:57 p.m.    10-09-2014
870 647 2145         Trlnty Behavioral

                                  Institution Name: Saint Mary's Regional Medical Center
                                            Location: Russellville, AR
                                  Institution Dates: 10/29/1991 Thru 02123/2008
                                               Status: Inactive
                                    Staff Privilege: Consulting
                                    Clinical Scope: Psychiatry
                             ·In GoodStandlng?:Yes - -- -·
                                 Verification Date: 06/1012008
                              Verification Source: Verbal Direct
                                   Board Waiver?: No
                                           Remarks: None


                                 Institution Name: St. VIncent Infirmary Medical Center (St. VIncent
                                                     Health System)
                                           Location: Little Rock, ARUSA
                                 Institution Dates: 09/04/1996 Thru 03/17/2000
                                              Status: Inactive
                                   Staff Privilege: Courtesy
                                   Clinical Scope: Psychiatry
                             In Good Standing?: Yes
                                Verification Date: 04/08/2003
                             Verification Source: Direct
                                  Board Waiver?: No
                                          Remarks: None


                                Institution Name: Baptist Health Medical Center- Little Rock
                                           Location: Little Rock, AR
                                Institution Dates: 11/21/1996 Thru 02101/2011
                                             Status: Inactive
                                   Staff Privilege: Consulting
                                  Clinical Scope: Psychiatry
                             In Good Standing?: Yes
                               Verification Date: 07/26/2011
                            Verification Source: Direct
                                 Board Waiver?: No
                                          Remarks: None




     Page 13 of 16                       Initial Credenttallng                  (C-7152) ·Thomas Christian Stinnett, M.D.
                  Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 146 of 217


                                                                                                                                    20122 _ _
                                                                                                  05:42: 13   p.m.   10-09-2014
870647 2145                  Trlnty Behavioral

                                           Institution Name: Charter Behavioral Health System of Little Rock
                                                        Location: Maumelle, ARUSA
                                            Institution Dates: 02/01/1999 Thru 10/31/1999
                                                            Status: Inactive
                                               Staff Privilege: Active Staff
                                               Clinical Scope: Psychiatry
              -. ---·----- - -·-··- .... -- -- .. ln. Good. Standlng1_: ..Y.e.s...
                                           Verification Date:
                                       Verification Source: Unknown
                                              Board Wal,ver?: No
                                                   Remarks: Cannot verify, facility closed; physician Info only



                                            Institution Name: Pinnacle Pointe Hospital
                                                         Location: Little Rock, AR
                                            Institution Dates: 12/09/1999 Thru 01/13/2012
                                                            Status: Inactive
                                                Staff Privilege: Active Staff
                                               Clinical Scope: Psychiatry
                                        In Good Standing?: Yes
                                            Verification Date: 10/19/2012
                                        Verification Source: Verbal Direct
                                              Board Waiver?: No
                                                        Remarks: None



                                            Institution Name: Arkansas Heart Hospital
                                                         Location: Little Rock, AR
                                             Institution Oates: 03/17/2005 Thru 07/01/2013
                                                             Status: Inactive
                                                 Staff Privilege: Associate
                                                Clinical Scope: Psychiatry
                                         In Good Standing?: Yes
                                             Verification Date: 08/2312013
                                         Verification Source: Roster Direct
                                               Board Waiver?: No
                                                         Remarks: None




                                                                                             (C-7152) ·Thomas Christian Stinnett, M.D.
      Page 14 of 16                                     Initial Credentlallng
               Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 147 of 217



                      Trlnty Behavioral                                                 05:42:29 p.m.   10-09-2014      21/22
870 647 2145
                               Institution Name: Rivendell Behavioral Health Services
                                          Location: Benton, AR
                               Institution Dates: 07/01/2005 Thru 03131/2006
                                            Status: Inactive
                                  Staff Privilege: Active Staff
                                  Clinical Scope: Psychiatry
                            In Good Standing?: Yes
                               Verification Date: 01/31/2067 ··
                            Verification Source: Verbal Direct
                                 Board Waiver?: No
                                          Remarks: None


                                Institution Name: River Valley Medical Center (formerly Dardanelle
                                                  Hospital)
                                          Location: Dardanelle, ARUSA
                                Institution Dates: 08/20/2007 Thru 10/01/2008
                                             Status: Inactive
                                   Staff Privilege: Courtesy
                                   Clinical Scope: Psychiatry
                             In Good Standing?: Yes
                                Verification Date: 12/03/2008
                             Verification Source: Verbal Direct
                                  Board Waiver?: No
                                          Remarks: None


                                 Institution Name: The Brldgeway
                                           Location: North Little Rock, AR
                                 Institution Dates: 07/21/2008 Thru 07/21/2011
                                              Status: Inactive
                                    Staff Privilege: Courtesy
                                    Clinical Scope: Psychiatry
                              In Good Standing?: Yes
                                 Verification Date: 01/30/2012
                              Verification Source: Verbal Direct
                                    Board Waiver?: No
                                           Remarks: None




                                                                                 (C·7152) ·Thomas Christian Stinnett, M.D.
      Page 15 of 16                        Initial Credentialing
               Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 148 of 217



                                                                                    05:42:45 p.m.     10-09-2014                 22122,_
870 647 2145         Trlnty Behavioral

                                Institution Name: Saint Mary's Regional Medical Center
                                          Location: Russellville, AR
                                Institution Dates: 10/21/2011
                                           Status: Current
                                  Staff Privilege: Active Staff
                                  Clinical Scope: Psychiatry
                            lo G<:>e>Q §tE:lJ}qj_ngJ: v 8$...
                              Verification Date: 11/15/2013
                            Verification Source: Roster Direct
                                 Board Waiver?: No
                                      Remarks: None


    No Information Found for: Work History (Teaching).

                                                                                              Report Veralon: 1.0. t Rev. 03/t 1
                                                                                                         PHIONO: ASMBS258
                                                                                                        Serial Number: 381843
                                                                                                Snapahol version: 1.0.0.1 05BB

                                                                              Report JD: e2al3cn·2CbHI3ac·8114-94d4S1cBet8b




                                         Initial Credantlallng                (C-7152) ·Thomas Christian Stinnett, M.D.
     Page 16 of 16
Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 149 of 217




   EXHIBITE
          Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 150 of 217



A R K A N S A S
DEPARTMENT OP                             Division of Medical Services
~HUMAN
~f SERVICES
                                       P.O. Box 1437, Slot S401 · little Rock, AR 72203-1437
                                      501-682-8292 · Fax: 501-682-1197 ·TOO: SQI-682-6789




  ... October 7, 2014

    Maxus, Inc.
    ATIN: Mr. Ted Suhl
    1033 Old Burr Road
    Warm Springs, AR 72478

    Re:     Maxus, Inc.
            Medicaid Provider Nos.



            Temporary Suspension

    Dear Mr. Suhl:

    Per 42 C.F.R. §455.23(a), Arkansas Department of Human Services (uDHS"), Division of
    Medical Services, the Medicaid agency for the State of Arkansas, is required to suspend all
    Medicaid payments to a provider when the agency determines there is a credible allegation of
    fraud for which an investigation is pending under the Medicaid Program against the individual or
    entity.

    You are hereby notified that DHS received a credible allegation of fraud against Maxus, Inc.
    ("Maxus") and will suspend all Medicaid payments to Maxus in accordance with 42 C.F.R.
    §455.23(a). This suspension is temporary and will continue until DHS or the prosecuting
    authorities determine that there is insufficient evidence of fraud or until the legal proceedings
    related to the alleged fraud are completed. Maxus will be notified, in writing, when this
    temporary suspension is terminated. This suspension applies to all Medicaid claims by Maxus ..

    This action is taken based upon credible allegations that you, as owner of Maxus, a behavioral
    health care provider, allegedly provided cash and other things of value to an official of DHS, in
    return for that official's acts, including the provision ofintemal DHS information that benefitted
    both you and Maxus. These acts were allegedly concealed from the agency. The allegation is of
    an exchange of cash and other things of value for the acts and information provided to you and
    Maxus that was unauthorized and illegal and was beneficial to Maxus, in violation of 18 U.S.C.
    §§ 371 & 666.

    Because of the large number ofbeneficiaries impacted by this action, DHS finds that good cause
    exists to immediately suspend payment only in part. Effective with the date of this letter, DHS
    will immediately suspend Medicaid payments for any new inpatient admissions and for any new
    outpatient beneficiaries. All remaining payments will be suspended thirty (30) days from the date
    of this letter, to allow time for existing beneficiaries to transition to new providers. DHS finds
                                           humanservlc:es.arkansas.gov
                  Protecting the vulnerable, fostering independence and promoting better ltealtb
    Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 151 of 217




that this delay is in the best interests of the Medicaid program, so as to ensure continuity of care
and to avoid the duplicative or unnecessary expenses that could be caused by an immediate
transition.

Maxus has the right to submit written evidence for consideration by DHS. Maxus also has a right
to appeal this temporary suspension of payment pursuant to 42 C.F.R §455.23(a)(3) and
Medicaid Prob'l'am Manual Sections, 152.000, 156.000 and 161.400. Please refer to the Medicaid
Program Manuar for details and time limitations on appeal.

Sincerely,



Dawn Stehle
Director, Division of Medical Services
Arkansas Department of Human Services
         Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 152 of 217



A R K A N S A S
DEPARTMINT OF                            Division of Medical Services
M-HUMAN
~f SERVICES
                                      P.O. Box 1437, Slot S401 · Little Rock, AR 72203-1437
                                     501:-682-8292 ·Fax: 501-682-1197 · TDD: 501-682-6789



   October 7~ 201.4

   Trinity Behavioral Healthcare System, Inc.
   ATIN: Mr. Ted Suhl
   1033 Old Burr Road
   Warm Springs, AR 72478

   Re:     Trinity Behavioral Health Care System, Inc.
           Medicaid Provider No. ·
           Temporary Suspension

   Dear Mr. Suhl:

   Per 42 C.F.R. §455.23(a), Arkansas Department of Human Services ("DHS"), Division of
   Medical Services, the Medicaid agency for the State of Arkansas, is required to suspend all
   Medicaid payments to a provider when the agency determines there is a credible allegation of
   fraud for which an investigation is pending under the Medicaid Program against the individual or
   entity.

   You are hereby notified that DHS received a credible allegation of fraud against Trinity
   Behavioral Health Care System, Inc. (..Trinity") and will suspend all Medicaid payments to
   Trinity in accordance with 42 C.F.R. §455.23(a). This suspension is temporary and will continue
   until DHS or the prosecuting authorities detennine that there is insufficient evidence of fraud or
   until the legal proceedings related to the alleged fraud are completed. Trinity will be notified, in
   writing, when this temporary suspension is tenninated. This suspension applies to all Medicaid
   claims by Trinity.

   This action is taken based upon credible allegations that you, as owner of Trinity, a behavioral
   health care provider, allegedly provided cash and other things of value to an official of DHS, in
   return for that official's acts, including the provision of internal DHS information that benefitted
   both you and Trinity. These acts were allegedly concealed from the agency. The allegation is of
   an exchange of cash and other things of value for the acts and information provided to you and
   Trinity that was unauthorized and illegal and was beneficial to Trinity, in violation of 18 U.S.C.
   §§ 371 & 666.

   Because of the large number of beneficiaries impacted by this action, D HS finds that good cause
   exists to immediately suspend payment only in part. Effective with the date of this letter, DHS
   will immediately suspend Medicaid payments for any new inpatient admissions and for any new
   outpatient beneficiaries. All remaining payments will be suspended thirty (30) days from the date
   of this letter, to allow time for existing beneficiaries to transition to new providers. DHS finds
   that this delay is in the best interests of the Medicaid program, so as to ensure continuity of care

                                          humanservlces.arkansas.gov
                 Protecting lhe vulnerable, fostering Independence and promoting better heallh
    Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 153 of 217




and to avoid the duplicative or unnecessary expenses that could be caused by an immediate
transition.
Trinity has the right to submit written evidence for consideration by DHS. Trinity also has a right
to appeal this temporary suspension of payment pursuant to 42 C.F.R §4S5.23(a)(3) and
Medicaid Program Manual Sections, 152.000, 156.000' and 161.400. Please refer to the Medicaid
~rogram Manual for details and time limitations on al>peal.

Sincerely,



Dawn Stehle
Director, Division of Medical Services
Arkansas Department of Human Services
Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 154 of 217




   EXHIBITF
        Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 155 of 217




                                               text_O
Kristi I am so sad to tell you that I sent in my letter of resignation today. I want
to call you so bad but can't even from
catch my breath from the tears I am crying. I want you to know that I have been here
9 amazing years and would have been for another 50. I love ACA and have enjoyed it.
I have been so uneasy about the future and the bottom line is that I have 3 babies
to take care of and they are my priority. You are such a dear friend and I hope that
you can look past this and continue that friendship. I did notify Francis as well. I
feel terrible for both of you but need to find something that I have a guaranteed
jQ_~ amL pay c;heck._ I __ bope you _c~11 understand! : ___ __ ______ , ----------~---~----------------




                                            Page 1
                           Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 156 of 217




·-·--- ·-   --   --·--·-------------------- -------.----   -   - .--   --   ------ --   --   -------------------------------------------------




                              EXHIBIT G
             Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 157 of 217




                                                    STATE OF ARKANSAS
                                               DEPARTMENT OF HUMAN SERVICES

         MA.XUS, INC. and
         TRINITY BEHAVIORAL HEALTHCARE
         SYSTEM, INC.,
--- ------------------     ~EE~!~!~-----------·------ _________ . _-----------------------···---
                   v.
         DAWN STEHLE, in her individual capacity as
         Director of the DIVISION OF MEDICAL
         SERVICES, ARKANSAS DEPARTMENT
         OF HUMAN SERVICES,
                        Appellee


                                                        NOTICE OF APPEAL
         Now comes Maxus Inc. and Trinity Behavioral Healthcare System, Inc., through its attorneys,
         Michael J. Scotti III and Ron Hope, stating its notice of appeal.

         1. NOTICE OF APPEAL. Maxus and Trinity hereby tender notice of appeal pursuant to their
            legal rights under federal and state law, including without limitation 42 C.F.R. 455.23(a) and
            Ark. Admin. Code 016.06.35-161-400, from the Arkansas Division of Medical Services' adverse
            decisions to suspend Medicaid payments.                    ·the
                                                             adverse decisions givii:tg            rise
                                                                                             to this notice were
            embodied in two letters directed to Ted Suhl, president and CEO of Maxus and Trinity, both
            dated October 7, 2014. Pursuant to these letters, OMS has suspended receipt of any Medicaid
            payments for any new inpatient admissions and for any new outpatient beneficiaries of Maxus
            and Trinity. Further, effective thirty (30) days from the date of these letters, OMS will suspend
            all other Medicaid payments due Trinity and Maxus. Trinity and Maxus allege that these adverse
            decisions made by OMS to suspend Medicaid payments are not supported by applicable federal
            law and rule, state law and rule, and Arkansas Department of Human Service policy.

        2. REQUEST FOR COMBINED HEARING. Maxus and Trinity hereby request to combine their
           respective rights to appeal. Both entities are under identical control and ownership, and the
           adverse decision levied against each is identical. Additionally, the allegations asserted by OMS
           in its October 7, 2014 letters appear to cite the same underlying alleged facts with respect to
           Maxus and Trinity president and CEO Ted Suhl.


        Dated this 22nd day of October, 2014




                                                                    Michael J. Scotti Ill



        3212094vi/08992-00IS
  Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 158 of 217




                                          Freeborn & Peters LLP
                                          311 South Wacker Drive
                                          Suite 3000
                                          Chicago, IL 60606
                                          312.360.6000

                                           Ron Hope
                                         - Hope, TriceO'Dwyer&EWUson:~·p:A-.----- -··-· --- --·- -----·-----------·-- -
                                           211 Spring Street
                                           Little Rock, Arkansas 72201

                                           Dated: October 22,2014




                                 CERTIFICATE OF SERVICE
        The undersigned hereby certifies that he/she/they caused a copy of the foregoing NOTICE

OF APPEAL to be served upon the following parties via electronic mail and U.S. Mail, postage

prepaid, on October 22, 2014:


Dawn Stehle
Director, Division of Medical Services
Arkansas Department of Human Services
P.O. Box 1437, Slot S401
Little Rock, AR 72203-1437


Office of Appeals and Hearings
Arkansas Department of Human Services
P.O. Box 1437, Slot S401
Little Rock, AR 72203-1437




                                      ~~da::er




3212094vl/08992·001S                            -2-
        -------~----




Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 159 of 217




  EXHIBITH
             Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 160 of 217




On Oct 13, 2014, ~t 11:34 AM, "Ron Hope" <rhope@htolaw.com> wrote:

       '01ank you Mark. Was there a written determination by the Agency of a credible determination
       of fraud? Was there any documentation of an investigation pending under the Medicaid
       Program?

       Thanks again,

       Ron

       Ronald A. Hope
       Hope, Trice, O'Dwyer & Wilson, P .A.
       211 S. Spring St.
       Little Rock, AR 72201
       direct 501.313.4201
       main 501.372.4144
       facsimile 501.372.7480
       rhope@htolaw.com


        From: Mark White [mailto:Mark.White@dhs.arkansas.gov]
        Sent: Monday, October 13, 2014 11:25 AM
        To: Ron Hope
        Cc: ·Kathryn Eickhoff; Mike Scotti; Lori McDonald
        Subject: RE: Maxus, Inc. and Trinity Behavioral Healthcare System, Inc.

        Attached please find the responsive documents. Two notes:

                                                            1
         Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 161 of 217

    1.    I have included copies of the notice letters we are sending to beneficiaries and their PCPs, as the
          letters refer to the allegations.
    2.    I have also included a copy of our transition plan summary as of Friday, as I am assuming it
          would fall under your request for "the file."

If you have any questions or other requests, please let me know.

Thanks,

Mark

PLEASE NOTE my e-mail address has changed: Mark.White@DHS.Arkansas.gov

J. Mark White
Director, Office of Policy and Legal Services
Arkansas Department of Human Services
P.O. Box 1437, Slot S260
Little Rock, AR 72203-1437
(501) 320-6315
Mark.White@DHS.Arkansas.gov

This message is intended only for the named recipient. If you are not the intended recipient you are
notified that disclosing, copying, distributing, or taking any action in reliance on the contents of this
information is strictly prohibited.
                                         ·-··----·-------···---------------~---·-------·--------·--·---···---

From: Ron Hope [mailto:rhope@htolaw.com]
Sent: Friday, October 10, 2014 9:44 PM
To: Mark White
Cc: Kathryn Eickhoff; Mike Scotti
Subject: Re: Maxus, Inc. and Trinity Behavioral Healthcare System, Inc.

Thank you Mark for your quick response. My purpose was to request everything you have regarding the
suspensions of the two companies. If you'lllet me know when the copies are ready I'll pick them up and
you won't have to mail them. If it's not too voluminous, you are welcome to email them.

Thank you again,
Ron

Ron Hope, iPhone
501-313-4201 direct


On Oct 10, 2014, at 5:46 PM, "Mark White" <Mark.White@dhs.arkansas.gov> wrote:

           I am a bit unclear as to what you mean in requests #1 and #2 by "the file," in that the
           documents I believe are responsive to your request are also covered by requests #3 and
           #4. Nonetheless, I will copy those documents and forward them to you at the address
           provided. If you wish to clarify or supplement your request, please let me know.


           Thanks,

           Mark

                                                          2
Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 162 of 217


  PLEASE NOTE my e-mail address has changed: Mark.White@DHS.Arkansas.gov

 J. Mark White
 Director, Office of Policy and Legal Services
 Arkansas Department of Human Services
 P.O. Box 1437, Slot $260
 Little Rock, AR 72203-1437
 {501) 320-6315           .
 Mark.White@DHS.Arkansas.gov

 This message is intended only for the named recipient. If you are not the intended
 recipient you are notified that disclosing, copying, distributing, or taking any action in
 reliance on the contents of this information is strictly prohibited.


 From: Ron Hope [mailto:rhope@htolaw.com]
 Sent: Friday, October 10, 2014 11:32 AM
 To: Mark White
 Cc: Kathryn Eickhoff; Scotti, III, Michael J.
 Subject: Maxus, Inc. and Trinity Behavioral Healthcare System, Inc.

 Dear Mr. White,

 Pursuant to the Arkansas Freedom of Information Act, ACA sec. 25-10-101 et
 seq., please provide or make available to our clients Maxus, Inc. and Trinity
 Behavioral Healthcare System, Inc., for inspection and copying the following
 public records relating to the recent temporary suspensions of payments to these
 companies:

    1. A complete copy of the file regarding the temporary suspension of
       Medicaid payments to Maxus, Inc.
    2. A complete copy of the file regarding the temporary suspension of
       Medicaid payment to Trinity Behavioral Healthcare System, Inc.
    3. Copies of all documents, or other evidence, that DHS employees have
       received, reviewed, sent, or authored in connection with the alleged
       "credible allegation of fraud" against Maxus, Inc.
    4. Copies of all documents, or other evidence, that DHS employees have
       received, reviewed, sent, or authored in connection with the alleged
       "credible allegation of fraud" against Trinity Behavioral Healthcare
       System, Inc.

 Please forward copies of the responses to our clients in care of the undersigned
 counsel at 211 S. Spring St., Little Rock, Arkansas 7220 I. If copies cannot be
 produced, please contact the undersigned to make arrangements for inspection
 and copying of the documents requested. Thank you for your courteous attention
 to this matter.

 Sincerely,

 Ron Hope

 Ronald A. Hope
 Hope, Trice, O'Dwyer & Wilson, P .A.
                                                 3
     Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 163 of 217


        211 S. Spring St.
        Little Rock, AR 72201
        direct 501.313.4201
        main 501.372.4144
        facsimile 501.372.7480
        rhope@htolaw.com


        CONFIDENTIAL & PRIVILEGED

       Note: This transmission is protected by the Electronic Communications Privacy
       Act, 18 U.S.C. Sections 2510-2521 and intended to be delivered only to the
       named addressee(s) and the information contained in this e-mail is intended only
       for the personal and confidential use of the recipients(s) named above. This
       message may be an attorney-client communication and/or attorney work product
       and as such is privileged and confidential. If the reader ofthis message is not the
       intended recipient or an agent responsible for delivering it to the intended
       recipient, you are hereby notified that you have received this document in error
       and that any review, dissemination, distribution, copying or other use of this
       message is strictly prohibited. If you have received this communication in error,
       please notify Hope, Trice O'Dwyer & Wilson, P.A. immediately at 501.372.4144
       or by e-mail.

       NOTICE : The Arkansas Department of Human Services has determined that this
       message may contain confidential or otherwise protected information. We have
       used transport encryption to help protect this message while in transit to you.
       Please take all reasonable measures to protect any protected or confidential data
       that might be in this message, including the limitation of re-disclosure to the
       minimum number of recipients necessary. Please report any inappropriate
       disclosure to https://dhs.arkansas.gov/reporting or as required by law.
NOTICE: The Arkansas Department of Human Services has determined that this message may
contain confidential or otherwise protected information. We have used transport encryption to
help protect this message while in transit to you. Please take all reasonable measures to protect
any protected or confidential data that might be in this message, including the limitation of re-
disclosure to the minimum number of recipients necessary. Please report any inappropriate
disclosure to https://dhs.arkansas.gov/reporting or as required by law.




                                                 4
             Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 164 of 217




On Oct 10, 2014, at 5:46PM, "Mark White" <Mark.White@dhs.arkansas.gov> wrote:

       I am a bit unclear as to what you mean in requests #1 and #2 by "the file," in that the documents I
       believe are responsive to your request are also covered by requests #3 and #4. Nonetheless, I will copy
       those documents and forward them to you at the address provided. If you wish to clarify or supplement
       your request, please let me know.

       Thanks,

       Mark

       PLEASE NOTE my e-mail address has changed: Mark.White@DHS.Arkansas.gov

      J. Mark White
      Director, Office of Policy and Legal Services
      Arkansas Department of Human Services
      P.O. Box 1437, Slot S260
      little Rock, AR 72203-1437
      (SOl) 320-6315
      Mark.White@DHS.Arkansas.gov

      This message is intended only for the named recipient. If you are not the intended recipient you are
      notified that disclosing, copying, distributing, or taking any action in reliance on the contents of this
      information is strictly prohibited.


      From: Ron Hope [mailto:rhope@htolaw.com]
      Sent: Friday, October 10, 2014 11:32 AM
      To:   Mark White
      Cc: Kathryn Eickhoff; Scotti, III, Michael J.
      Subject: Maxus, Inc. and Trinity Behavioral Healthcare System, Inc.

      Dear Mr. White,

      Pursuant to the Arkansas Freedom of Information Act, ACA sec. 25-10-101 et seq., please
      provide or make available to our clients Maxus, Inc. and Trinity Behavioral Healthcare System,
      Inc., for inspection and copying the following public records relating to the recent temporary
      suspensions of payments to these companies:

            1. A complete copy of the file regarding the temporary suspension of Medicaid payments to
               Maxus, Inc.
            2. A complete copy of the file regarding the temporary suspension of Medicaid payment to
               Trinity Behavioral Healthcare System, Inc.
            3. Copies of all documents, or other evidence, that DHS employees have received,
               reviewed, sent, or authored in connection with the alleged "credible allegation of fraud"
               against Maxus, Inc.
            4. Copies of all documents, or other evidence, that DHS employees have received,
               reviewed, sent, or authored in connection with the alleged "credible allegation of fraud"
               against Trinity Behavioral Healthcare System, Inc.



                                                            2
              Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 165 of 217

        Please forward copies of the responses to our clients in care of the undersigned counsel at 211 S.
        Spring St., Little Rock, Arkansas 72201. If copies cannot be produced, please contact the
        undersigned to make arrangements for inspection and copying of the documents
        requested. Thank you for your courteous attention to this matter.

        Sincerely,

        Ron Hope

        Ronald A. Hope
        Hope, Trice, O'Dwyer & Wilson, P.A.
        211 S. Spring St.
        Little Rock, AR 72201
        direct 501.313.4201
        main 501.372.4144
        facsimile 501.372.7480
        rhope@htolaw.com


        CONFIDENTIAL & PRIVILEGED

       Note: This transmission is protected by the Electronic Communications Privacy Act, 18 U.S.C.
       Sectipns 2510~2521 and intended to be delivered only to the named addressee(s) and the
       information contained in this e~mail is intended only for the personal and confidential use of the
       recipients(s) named above. This message may be an attorney~client communication and/or
       attorney work product and as such is privileged and confidential. If the reader of this message is
       not the intended recipient or an agent responsible for delivering it to the intended recipient, you
       are hereby notified that you have received this document in error and that any review,
       dissemination, distribution, copying or other use of this message is strictly prohibited. If you
       have received this communication in error, please notify Hope, Trice O'Dwyer & Wilson, P.A.
       immediately at 501.372.4144 or by e~mail.

       NOTICE : The Arkansas Department of Human Services has determined that this message may
       contain confidential or otherwise protected information. We have used transport encryption to
       help protect this message while in transit to you. Please take all reasonable measures to protect
       any protected or confidential data that might be in this message, including the limitation of re~
       disclosure to the minimum number of recipients necessary. Please report any inappropriate
       disclosure to https://dhs.arkansas.gov/reporting or as required by law.
NOTICE : The Arkansas Department of Human Services has determined tl1at this message may contain
confidential or otherwise protected information. We have used transport encryption to help protect this message
while in transit to you. Please take all reasonable measures to protect any protected or confidential data that
might be in this message, including the limitation of re~disclosure to the minimum nwnber of recipients
necessary. Please report any inappropriate disclosure to https://dhs.arkansas.gov/reporting or as required by law.




                                                         3
Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 166 of 217




     EXHIBIT I
                       Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 167 of 217



               ~.   .'...... ··.
        :   .. -~_: . ) -··---· ·-·· -·   ·----   -· ·~ .

                                                            Mark White < Mark.White@dhs.arkansas.gov>
From:
                                                            Monday, October 13, 2014 1:53 PM
Sent:
To:                                                         Ron Hope
                                                            Kathryn Eickhoff; Scotti, III, Michael J.; Lori McDonald
Cc:
                                                            Re: Maxus, Inc. and Trinity Behavioral Healthcare System, Inc.
Subject:


The suspension letter was our written determination of a credible allegation of fraud. Although Department staff have
been orally informed of an ongoing investigation by federal authorities, there are no written records showing the same.
The referral letter addressed to OMIG and MFCU is the only written record of any state investigation.


Thanks,

Mark

Thanks,

Mark

Sent from my iPhone

On Oct 13, 2014, at 11:34 AM 1 "Ron Hope" <rhope@htolaw.com> wrote:I

             Thank you Mark. Was there a written detem1ination by the Agency of a credible determination
             of fraud? Was there any documentation of an investigation pending under the Medicaid
             Program?

             Thanks again,

             Ron

             Ronald A. Hope
             Hope, Trice, O'Dwyer & Wilson, P .A.
             211 S. Spring St.
             Little Rock, AR 72201
             direct 501.313.4201
             main 501.372.4144
             facsimile 501.372.7480
             rhope@htolaw.com


               From: Mark White [mailto:Mark.White@dhs.arkansas.gov]
               Sent: Monday, October 13, 2014 11:25 AM
               To: Ron Hope
               Cc: Kathryn Eickhoff; Mike Scotti; Lori McDonald
               Subject: RE: Maxus, Inc. and Trinity Behavioral Healthcare System, Inc.

               Attached please find the responsive documents. Two notes:

                                                                                         1
         Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 168 of 217


   1.     I have included copies of the notice letters we are sending to beneficiaries and their PCPs, as the
          letters refer to the allegations.
    2.    I have also included a copy of our transition plan summary as of Friday, as I am assuming it
          would fall under your request for "the file."

If you have any questions or other requests, please let me know.


Thanks,

Mark

PLEASE NOTE my e-mail address has changed: Mark.White@DHS.Arkansas.gov


J. Mark White
Director, Office of Policy and Legal Services
Arkansas Department of Human Services
P.O. Box 1437, Slot 5260
Little Rock, AR 72203-1437
(501) 320-6315
Mark. White@ DHS.Arkansas.gov

This message is intended only for the named recipient. If you are not the intended recipient you are
notified that disclosing, copying, distributing, or taking any action in reliance on the contents of this
information is strictly prohibited.
                                                                        .----------·----·--··----·--"
                       ·---------------·
From: Ron Hope [mailto:rhope@htolaw.com]
Sent: Friday, October 10, 2014 9:44 PM
To: Mark White
Cc: Kathryn Eickhoff; Mike Scotti
Subject: Re: Maxus, Inc. and Trinity Behavioral Healthcare System, Inc.

Thank you Mark for your quick response. My purpose was to request everything you have regarding the
suspensions of the two companies. If you'll let me know when the copies are ready I'll pick them up and
you won't have to mail them. If it's not too voluminous, you are welcome to email them.


Thank you again,
Ron

 Ron Hope, iPhone
 501-313-4201 direct


 On Oct 10, 2014, at 5:46 PM, "Mark White" <Mark.White@dhs.arkansas.gov> wrote:

           1 am a bit unclear as to what you mean in requests #1 and #2 by "the file," in that the
           documents I believe are responsive to your request are also covered by requests #3 and
           #4. Nonetheless, I will copy those documents and forward them to you at the address
           provided. If you wish to clarify or supplement your request, please let me know.


            Thanks,

            Mark .,. ____________ _
            ________
                                                          2
Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 169 of 217


  PLEASE NOTE my e-mail address has changed: Mark.White@DHS.Arkansas.gov

 J. Mark White
 Director, Office of Policy and Legal Services
 Arkansas Department of Human Services
 P.O. Box 1437, Slot 5260
 Little Rock, AR 72203-1437
 (SOl) 320-6315
 Mark. White@ DHS.Arkansas.gov

 This message is intended only for the named recipient. If yo·u are not the intended
 recipient you are notified that disclosing, copying, distributing, or taking any action in
 reliance on the contents of this information is stri.ctly prohibited.


 From: Ron Hope [mailto:rhope@htolaw.com]
 Sent: Friday, October 10, 2014 11:32 AM
 To: Mark White
 Cc: Kathryn Eickhoff; Scotti, III, Michael J.
 Subject: Maxus, Inc. and Trinity Behavioral Healthcare System, Inc.

 Dear Mr. White,

 Pursuant to the Arkansas Freedom of Information Act, ACA sec. 25-10-1 01 et
 seq., please provide or make available to our clients Maxus, Inc. and Trinity
 Behavioral Healthcare System, Inc., for inspection and copying the following
 public records relating to the recent temporary suspensions of payments to these
 companies:

    1. A complete copy of the file regarding the temporary suspension of
       Medicaid payments to Maxus, Inc.
    2. A complete copy of the file regarding the temporary suspension of
       Medicaid payment to Trinity Behavioral Healthcare System, Inc.
    3. Copies of all documents, or other evidence, that DHS employees have
       received, reviewed, sent, or authored in connection with the alleged
       "credible allegation of fraud" against Maxus, Inc.
    4. Copies of all documents, or other evidence, that DHS employees have
       received, reviewed, sent, or authored in connection with the alleged
       "credible allegation of fraud" against Trinity Behavioral Healthcare
       System, Inc.

Please forward copies of the responses to our clients in care ofthe undersigned
counsel at 211 S. Spring St., Little Rock, Arkansas 72201. If copies cannot be
produced, please contact the undersigned to make arrangements for inspection
and copying of the documents requested. Thank you for your courteous attention
to this matter.

Sincerely,

Ron Hope

Ronald A. Hope
Hope, Trice, O'Dwyer & Wilson, P .A.
                                              3
      Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 170 of 217


        211 S. Spring St.
        Little Rock, AR 72201
        direct 501.313.4201
        main 501.372.4144
        facsimile 501.372.7480
        rhope@htolaw.com


        CONFIDENTIAL & PRIVILEGED

       Note: This transmission is protected by the Electronic Communications Privacy
       Act, 18 U.S.C. Sections 2510-2521 and intended to be delivered only to the
       named addressee(s) and the information contained in this e-mail is intended only
       for the personal and confidential use of the recipients(s) named above. This
       message may be an attorney-client communication and/or attorney work product
       and as such is privileged and confidential. If the reader of this message is not the
       intended recipient or an agent responsible for delivering it to the intended
       recipient, you are hereby notified that you have received this document in error
       and that any review, dissemination, distribution, copying or other use of this
       message is strictly prohibited. If you have received this communication in error,
       please notify Hope, Trice O'Dwyer & Wilson, P.A. immediately at 501.372.4144
       or by e-mail.

       NOTICE: The Arkansas Department of Human Services has determined that this
       message may contain confidential or otherwise protected information. We have
       used transport encryption to help protect this message while in transit to you.
       Please take all reasonable measures to protect any protected or confidential data
       that might be in this message, including the limitation of re-disclosure to the
       minimum munber of recipients necessary. Please report any inappropriate
       disclosme to https://dhs.arkansas.gov/reporting or as required by law.
NOTICE: The Arkansas Department of Human Services has determined that this message may
contain confidential or otherwise protected information. We have used transport encryption to
help protect this message while in transit to you. Please take all reasonable measures to protect
any protected or confidential data that might be in this message, including the limitation of re-
disclosure to the minimum number of recipients necessary. Please repmt any inapprop1iate
disclosure to httns://dhs.arkansas.gov/reporting or as required by law.




                                                 4
           Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 171 of 217



A R K A N S A S
 DEPARTMENT OF                             Division of Medical Services
.HHUMAN
·J!..f   SERVICES
                                        P.O. Box 1437, Slot S401 · Little Rock, AR 72203-1437
                                       501-682-8292 ·Fax: 501-682-1197 · TDD: 50l..(i82-6789




     October 7, 2014

     Maxus, Inc.
     ATfN: Mr. Ted Suhl
     I 033 Old Burr Road
     Warm Springs, AR 72478

     Re:     Maxus, Inc.            .
             Medicaid Provider Nos. ·..



             Temporary Suspension

     Dear Mr. Suhl:

     Per 42 C.F.R. §455.23(a), Arkansas Department of Human Services (..DHS''), Division of
     Medical Services, the Medicaid agency for the State of Arkansas, is required to suspend all
     Medicaid payments to a provider when the agency determines there is a credible allegation of
     fraud for which an investigation is pending under the Medicaid Program against the individual or
    .entity.

    You are hereby notified that DHS received a credible allegation of fraud against Maxus, Inc.
    ("Maxus") and will suspend all Medicaid payments to Maxus in accordance with 42 C.F.R.
    §455.23(a). This suspension is temporary and will continue until DHS or the prosecuting
    authorities determine that there is insufficient evidence of fraud or until the legal proceedings
    related .to the alleged fraud are completed. Maxus will be notified, in writing, when this
    temporary suspension is terminated. This suspension applies to all Medicaid claims by Maxus.

    This action is taken based upon credible allegations that you, as owner of Maxus, a behavioral
    health care provider, allegedly provided cash and other things of value to an official of DHS, in
    return for that official's. acts, including the provision of internal DHS information that benefitted
    both you and Maxus. These acts were allegedly concealed from the agency. The allegation is of
    an exchange of cash and other things of value for the acts and information provided to you and
    Maxus that was unauthorized and illegal and was beneficial to Maxus, in violation of 18 U.S.C.
    §§ 371 & 666.

    Because of the large number of beneficiaries impacted by this action, DHS finds that good cause
    exists to immediately suspend payment only in part. Effective with the date of this letter, DHS
    will immediately suspend Medicaid payments for any new inpatient admissions and for any new
    outpatient beneficiaries. All remaining payments will be suspended thirty (30) days from the date
    of this letter, to allow time for existing beneficiaries to transition to new providers. DHS finds
                                           humanscrvic:es.arkansas.gov
                  Protecting the vulnerable, fostering lndcpcndenc:c and promoting better health
   Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 172 of 217




that this delay is in the best interests of the Medicaid program, so as to ensure continuity of care
and to avoid the duplicative or unnecessary expenses that could be caused by an immediate
transition.

Maxus has the right to submit written evidence for consideration by DHS. Maxus also has a right
to appeal this temporary suspension of payment pursuant to 42 C.F.R §455.23(a)(3) and
Medicaid Probrram Manual Sections, 152.000, 156.000 and 161.400. Please refer to the Medicaid
Program Manual for details and time limitations on appeal.

Sincerely,



Dawn Stehle
Director, Division of Medical Services
Arkansas Department of Human Services
              Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 173 of 217



A   a     K A N 5 A 5
DEPARTMENT OF                                  Division of Medical Services


u::v.-:                                    P.O. Box 1437, Slot S401 · Little Rock, AR 72203-1437
                                          501-682-8292 ·Fax: 501-682-1197 ·TOO: 501-682-6789



        October 7, 2014

        Trinity Behavioral Healthcare System, Inc.
        ATfN: Mr. Ted Suhl
        1033 Old Burr Road
        Warm Springs, AR 72478

        Re:     Trinity Behavioral Health Care System, Inc.
                Medicaid Provider No .. ! ·:
                Temporary Suspension

        Dear Mr. Suhl:

        Per 42 C.F.R. §45S.23(a), Arkansas Department of Human Services ("DHS"), Division of
        Medical Services, the Medicaid agency for the State of Arkansas, is required to suspend all
        Medicaid payments to a provider when the agency detennines there is a credible allegation of
        fraud for which an investigation is pending under the Medicaid Program against the individual or
        entity.

        You are hereby notified that DHS received a credible allegation of fraud against Trinity
        Behavioral Health Care System, Inc. ("Trinity") and will suspend all Medicaid payments to
        Trinity in accordance with 42 C.F.R. §455.23(a). This suspension is temporary and will continue
        until DHS or the prosecuting authorities determine that there is insufficient evidence of fraud or
        until the legal proceedings related to the alleged fraud are completed. Trinity will be notified, in
        writing, when this temporary suspension is terminated. This suspension applies to all Medicaid
        claims by Trinity.

        This action is taken based upon credible allegations that you, as owner of Trinity, a behavioral
        health care provider, allegedly provided cash and other things of value to an official of DHS, in
        return for that official's acts, including the provision of internal DHS infonnation that benefitted
        both you and Trinity. These acts were allegedly concealed from the agency. The allegation is of
        an exchange of cash and other things of value for the acts and information provided to you and
        Trinity that was unauthorized and iilegal and was beneficial to Trinity, in violation of 18 U.S.C.
        §§ 371 & 666.

        Because of the large number of beneficiaries impacted by this action, DHS finds that good cause
        exists to immediately suspend payment only in part. Effective with the date of this letter, DHS
        will immediately suspend Medicaid payments for any new inpatient admissions and for any new
        outpatient beneficiaries. All remaining payments will be suspended thirty (30) days from the date
        of this letter, to allow time for existing beneficiaries to transition to new providers. DHS finds
        that this delay is in the best interests of the Medicaid program, so as to ensure continuity of care

                                               hu manservlces.arkansas.gov
                      Protecting the vulnerable, fostering independence and promoting better health
   Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 174 of 217




and to avoid the duplicative or unnecessary expenses that could be caused by an immediate
transition.

Trinity has the right to submit written evidence for consideration by DHS. Trinity also has a right
to appeal this temporary suspension of payment pursuant to 42 C.F.R §455.23(a)(3) and
Medicaid Program Manual Sections, 152.000, 156.000',.and 161.400. Please refer to the Medicaid
Program Manual for details and time limitations on appeal.

Sincerely,



Dawn Stehle
Director, Division of Medical Services
Arkansas Department of Human Services
      Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 175 of 217
                                                           ~ •••• ~ •• ~ . . -·-·~   ..   ~   ..........   ~ .....   ""   ~   ... •   .. . . . . . . h   -   •   ..._ - - · .   • ••   • . . . . . . . . . . . . . . . _ .... ,   ..........   ... .....   ..........   _   . . . . . . . . .. _ -   . . . . . .-   ......... .




A R K A N 5 A 5
DEPARTMENT OF
                                      Office of Policy and Legal Services


u::=  October 8, 2014
                                        P.O. Box 1437, Slot S260 · Little Rock, AR 72203-1437
                                       501-320-6315 ·Fax: 501-682-8009 • TDD: SOJ-682-8933




      Hon. Jeanette Hamilton, Director
      Arkansas Medicaid Fraud Control Unit
      Office of the Attorney General
      323 Center Street, Suite 200
      Little Rock, AR 72201

      Hon. Jay Shue, Arkansas Medicaid Inspector General
      Office of the Medicaid Inspector General
      3Z3 Center Street, Suite 1ZOO
      Little Rock, AR 72201

      Ms. Hamilton and Mr. Shue:

      In compllance with 42 C.F.R. § 455.23(a), the Arkansas Department of Human Services
      ("DHS") will suspend all Medicaid payments to two Medicaid providers - Maxus, Inc., and
      Trinity Behavioral Health Care System, Inc. - on the basis of a credible allegation of fraud
      for which an investigation Is pending. The suspension notices are attached.

      These suspensions are based on allegations that Mr. Ted Suhl, as owner of both providers,
      provided cash and other things of value to an official of DHS, in return for that official's acts,
      including the provision of internal DHS information that benefitted both providers. These
      acts were allegedly concealed from the agency. If true, this alleged exchange of cash and
      other things of value for the acts and information provided was unauthorized and illegal
      and was beneficial to the providers, in violation of 18 U.S.C. §§ 371 & 666. It is our
      understanding there is an ongoing federal investigation regarding these allegations.

      The factual basis for these allegations is set forth in three documents filed in the United
      States District Court for the Eastern District of Arkansas by the U.S. Attorney - an
      Information charging Steven B. Jones with violation of 18 U.S.C. §§ 371 & 666; a Plea
      Agreement signed by Mr. Jones and his attorney; and a Factual Basis for Plea statement
      signed by Mr. Jones and his attorney. The three documents are attached.

      As required by 42 C.F.R. § 455.23(d) and Ark. Code Ann. § 20·77-2501 et seq., DHS is
      referring this credible allegation of fraud to you both .


      Sin~~~~".::·:;...··_-:_.·_.---
~White
  .


      Director, Office of Policy and Legal Services, DHS
                                             bumanservices.arkansas.gov
                    Protecting the vulnerable, fostering Independence and promoting better health
         Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 176 of 217



A R K A N 5 A 5
DEPARTMENT OF                            Division of Medical Services
. M'HUMAN
.~f   SERVICES
                                      P.O. Box 1437, Slot S401 · Little Rock, AR 72203-1437
                                     501-682-8292 ·Fax: 501-681-1197 ·TOO: 501·682-6789




   October 7, 20 14

   Maxus, Inc.
   ATTN: Mr. Ted Suhl
   I 033 Old Burr Road
   Warm Springs, AR 72478

   Re:     Maxus, Inc.
           Medicaid Provider Nos. :



           Temporary Suspension

   Dear Mr. Suhl:

   Per 42 C.F.R. §455.23(a), Arkansas Department of Human Services (''DHS"), Division of
   Medical Services, the Medicaid agency for the State of Arkansas, is required to suspend all
   Medicaid payments to a provider when the agency determines there is a credible allegation of
   fraud for which an investigation is pending under the Medicaid Program against the individual or
   entity.

   You are hereby notified that DHS received a credible allegation of fraud against Maxus, Inc.
   ("Maxus") and will suspend all Medicaid payments to Maxus in accordance with 42 C.F.R.
   §455.23(a). This suspension is temporary and will continue until DHS or the prosecuting
   authorities determine that there is .insufficient evidence of fraud or until the legal proceedings
   related to the alleged fraud are completed. Maxus will be notified, in writing, when this
   temporary suspension is terminated. This suspension applies to all Medicaid claims by Maxus.

  This action is taken based upon credible allegations that you, as owner of Maxus, a behavioral
  health care provider, allegedly provided cash and other things of value to an official of DHS, in
  return for that official's acts, including the provision of internal DHS information that benefitted
  both you and Maxus. These acts were allegedly concealed from the agency. The allegation is of
  an exchange of cash and other things of value for the acts and information provided to you and
  Maxus that was unauthorized and illegal and was beneficial to Maxus, in violation of 18 U.S.C.
  §§ 371 & 666.

  Because of the large number ofbeneficiaries impacted by this action, DHS finds that good cause
  exists to immediately suspend payment only in part. Effective with the date of this letter, DHS
  will immediately suspend Medicaid payments for any new inpatient admissions and for any new
  outpatient beneficiaries. All remaining payments will be suspended thirty (30) days from the date
  of this letter, to allow time for existing beneficiaries to transition to new providers. DHS finds
                                         humanservices.arkansas.gov
                Protecting the vulnerable, fostering independence and promoting better health
    Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 177 of 217




that this delay is in the best interests of the Medicaid program, so as to ensure continuity of care
and to avoid the duplicative or unnecessary expenses that could be caused by an immediate
transition.

Maxus has the right to submit written evidence for consideration by DHS. Maxus also has a right
to appeal this temporary suspension of payment pursuant to 42 C.F.R §455.23(a)(3) and
Medicaid Program Manual Sections, 152.000, I 56.000 and 161.400. Please refer to the Medicaid
Program Manual for details and time limitations on appeal.

Sincerely,



Dawn Stehle
Director, Division of Medical Services
Arkansas Department of Human Services
         Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 178 of 217



A R K A N 5 A 5
DEPARTMENT OF                             Division of Medical Services


u::=                                  P.O. Box 1437, Slot S401 · liule Rock, AR 72203-1437
                                     501-682-8292 ·Fax: 501-682-1197 ·TOO: 501-682-6789




   October 7, 2014

   Trinity Behavioral Healthcare System, Inc.
   ATIN: Mr. Ted Suhl
   1033 Old Burr Road
   Warm Springs, AR 72478

   Re:     Trinity Behavioral Health Care System, Inc.
           Medicaid Provider No. ·
           Temporary Suspension

   Dear Mr. Suhl:

   Per 42 C.F.R. §455.23(a), Arkansas Department of Human Services (.. DHS.,), Division of
   Medical Services, the Medicaid agency for the State of Arkansas, is required to suspend all
   Medicaid payments to a provider when the agency determines there is a credible allegation of
   fraud for which an investigation is pending under the Medicaid Program against the individual or
   entity.

   You are hereby notified that DHS received a credible allegation of fraud against Trinity
   Behavioral Health Care System, Inc. ("Trinity") and will suspend all Medicaid payments to
   Trinity in accordance with 42 C.F.R. §455.23(a). This suspension is temporary and will continue
   until DHS or the prosecuting authorities detennine that there is insufficient evidence of fraud or
   until the legal proceedings related to the alleged fraud are completed. Trinity will be notified, in
   writing, when this temporary suspension is terminated. This suspension applies to all Medicaid
   claims by Trinity.

   This action is taken based upon credible allegations that you, as owner of Trinity, a behavioral
   health care provider, allegedly provided cash and other things of value to an official of DHS, in
   return for that official's acts, including the provision of internal DHS information that benefitted
   both you and Trinity. These acts were allegedly concealed from tl1e agency. The allegation is of
   an exchange of cash and other things of value for the acts and information provided to you and
   Trinity that was unauthorized and illegal and was beneficial to Trinity, in violation of 18 U.S.C.
   §§ 371 & 666.

   Because of the large number of beneficiaries impacted by this action, DHS finds that good cause
   exists to immediately suspend payment only in part. Effective with the date of this letter, DHS
   will immediately suspend Medicaid payments for any new inpatient admissions and for any new
   outpatient beneficiaries. All remaining payments will be suspended thirty (30) days from the date
   of this letter, to allow time for existing beneficiaries to transition to new providers. DHS finds
   that this delay is in the best interests of the Medicaid program, so as to ensure continuity of care

                                          hu manservices.arkansas.gov
                 Protecting the vulnerable, fostering independence and promoting better health
   Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 179 of 217




and to avoid the duplicative or unnecessary expenses that could be caused by an immediate
transition.

Trinity has the right to submit written evidence for consideration by DHS. Trinity also has a right
to appeal this temporary suspension of payment pursuant to 42 C.F.R §455.23(a){3) and
Medicaid Program Manual Sections, 152.000, 156.000'.-and 161.400. Please refer to the Medicaid
Program Manual for details and time limitations on appeal.

Sincerely,



Dawn Stehle
Director, Division of Medical Services
Arkansas Department of Human Services
     Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 180 of 217

             Case 4:14-cr-00197-BRW Document 2 Filed 10/02/14 &S~DISffli~T COURT
                                                                   EASTERN DISTRICT OF ARKANSAS

                                                                               FILED
                                                                                OCT - 2 2014
                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF ARKANSAS IN OPEN COURT
                                                                     J~~K
                                                                              DEPUTY CLERK

UNITED STATES OF AMERICA                       )
                                               )
                                               )    No. 4:14-CR-197 BRW
v.
                                               )
STEVEN B. JONES                                )
                                               )

                                        INFORMATION

       The United States charges that, at all times material to this Information:

                                   GENERAL ALLEGATIONS

        1.      The Arkansas Department of Human Services (ADHS) was an agency ofth'e

government of the State of Arkansas. ADHS was Arkansas' largest state agency, with more than

7,500 employees and a budget of approximately $6.8 billion. Among other things, ADHS works

with a system of community mental health care centers to provide mental health services to

adults, juveniles, and children.

        2.       In each of the calendar years of2007, 2008, 2009, 2010, 2011, and 2012 ADHS

received over $10,000 in federal funding.

        3.       Defendant STEVEN B. JONES was a resident of Crittenden County, Arkansas.

JONES was a Deputy Director of ADHS from in or about April2007 to in or about July 2013.

Prior to becoming Deputy Director of ADHS, JONES served in the Arkansas House of

Representatives from in or about November 1998 to in or about December 2004. JONES

represented District 54, which included most of Crittenden County.
   Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 181 of 217

            Case 4:14-cr-00197-BRW Document 2 Filed 10/02/14 Page 2 of 9




       4.      As a supervisor and employee, JONES was an agent of ADHS, and he was

responsible for, among other things, overseeing five of ADHS's ten divisions. JONES worked

directly with the Division Directors in areas that encompass both state and federal programs,

including at-risk youth and delinquent youth services facilities.

       5.      PERSON A was a resident of Crittenden County, Arkansas. PERSON A was the

Pastor and Superintendent of a church located in West Memphis, Arkansas.

       6.      PERSON B was a resident of Crittenden County, Arkansas. PERSON B was a

juvenile probation officer in Crittenden County and city councilmember for West Memphis,

Arkansas. PERSON B was also affiliated with PERSON A's church.

       7.       PERSON C was the owner of two mental health companies, COMPANY A and

COMPANY B.
       8.       COMPANY A provided outpatient mental health services to juveniles.

       9.       COMPANY B provided inpatient mental health services to juveniles.

                                           COUNT ONE
                                            Conspiracy
                                   (Violation of 18 U.S.C. § 371)

        10.     The introductory allegations set forth in paragraphs I through 9 are realleged and

incorporated by reference as though fully set forth herein.

                                          The Conspiracy

        11.     Beginning in or about April2007, and continuing through in or about February

2012, in the Eastern District of Arkansas, and elsewhere, the defendant, STEVEN B. JONES,

together with PERSON A, PERSON B, PERSON C, and others known and unknown, did

knowingly and unlawfully conspire, confederate, and agree together and with each other:

                                                  -2-
   Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 182 of 217

                Case 4:14-cr-00197-BRW Document 2 Filed 10/02/f4 Page 3 of 9




                   a.     to corruptly solicit and demand for the benefit of any person, and accept

and agree to accept, anything of value from any person, intending to be influenced and rewarded

in connection with a business, transaction, and series of transactions of$5,POO or more of ADHS,

an agency of the State of Arkansas, in violation of 18 U.S.C. § 666(a)(1)(B); and

                   b.     to devise and intend to devise a scheme and artifice to defraud and deprive

the citizens of the State of Arkansas of their right to the honest and faithful services of its public

officials, through bribery and the concealment of material information, in violation of 18 U.S.C.

§§ 1343 and 1346.

                                       Objects of the Conspiracy

      . 12.        It was an object of the conspiracy for JONES, PERSON A, PERSON B, PERSON

C, and others to enrich themselves and COMPANY A and COMPANY B, and to advance

COMPANY A and COMPANY B's business interests, by providing cash payments and other

things of value to JONES in exchange for JONES agreeing to take official acts to benefit

PERSON C, COMPANY A, and COMPANY B.

          13.     It was an object of the conspiracy to hide, conceal, and cover up the nature and

scope of JONES' dealings with PERSON A, PERSON B, and PERSON C, including the true

source and nature of the payments and other things of value solicited and received by JONES.

                                         Manner and Means

          14.     The conspiracy was carried out through the following manner and means, among

others:

                  a.     JONES solicited and received things of value, including cash payments,

from PERSON C.

                                                   -3-
   Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 183 of 217

          Case 4:14-cr-00197-BRW Document 2 Filed 10/02/14 Page 4 of 9




              b.      PERSON C provided things of value to JONES, through the use of

intermediaries, PERSONS A and B.

              c.      In return for cash payments and other things of value, JONES agreed to

perform official acts that benefitted PERSON C, COMPANY A, and COMPANY B.

              d.      JONES, PERSON B, and PERSON C hid, concealed, and covered up their

activity and dealings by holding periodic meetings at restaurants in Memphis, Tennessee or rural

Arkansas so they would not be easily recognized. At the meetings, they discussed the business

interests ofPERSON C, COMPANY A, and COMPANY B, and JONES agreed to take official

acts to benefit PERSON C, COMPANY A, and COMPANY B, including providing internal

ADHS information to PERSON C.

              e.      In general, prior to or during the meetings between JONES, PERSON B

·and PERSON C, PERSON C would provide PERSON B with checks from companies associated

with PERSON C that were made payable to PERSON A's church. After the restaurant meetings,

PERSON B would provide the checks to PERSON A, who typically deposited the checks or

caused the checks to be deposited into church-related checking accounts (including an account

associated with the church's child development center) and received cash in return--either

directly from the church-related accounts or after transferring the money to a personal checking

account. PERSON A would then provide PERSON B with all or part of the cash, and PERSON

B would, in tum, provide all or part of the cash payment to JONES during a subsequent, in-person

meeting between JONES and PERSON B.

               f.      JONES and PERSON C used PERSON B as an intermediary to relay

messages, schedule meetings, and deliver bribe payments from PERSON C to JONES.

                                                -4-
   Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 184 of 217

          Case 4:14-cr-00197-BRW Document 2 Filed 10/02/14 Page 5 of 9




               g.      JONES, PERSON A, PERSON B, and PERSON C frequently spoke in

basic code when talking to each other on the telephone and refrained from using the names of

other participants in the conspiracy.

               h.      JONES, PERSON A, PERSON B, PERSON C, and others hid, concealed,

and covered up their dealings and activity by using bank accounts associated with PERSON A's

church to funnel bribe payments to JONES. The transmission of the funds that were paid by

PERSON C to JONES, with the assistance of PERSONS A and B, occurred through the use of

interstate wire communications.

                                           Overt Acts

        15.    In furtherance ofthe conspiracy, and to effect its objects and purposes, STEVEN

B. JONES, and others, committed the following overt acts, among others, in the Eastern District

of Arkansas, and elsewhere:

        16.     On or about August 3, 2011, during the following recorded telephone

conversation between JONES and PERSON B, JONES provided information to PERSON B

regarding reports JONES had received in internal DHS monitoring meetings concerning

COMPANY A and COMPANY B:

PERSON B:      Listen, this is what I called you about. Our friend got some concerns about the
               way some of the referral process is going in Northeast Arkansas. [Competitor
               company], it's like, everybody is obligated to give them to [competitor company].
               I don't know if that's a move that was made by the State or what, but nothing has
               changed here in Crittenden County, we have a system of how we refer.

JONES:          I know you got that on lock. (laughing)




                                                -5-
   Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 185 of 217

           Case 4:14-cr-00197-BRW Document 2 Filed 10/02/14 Page 6 of 9




PERSON B:      Yeah, yeah. [PERSON C] just had some concerns so, when you get home this
               weekend, if you can man, well it's state convocation [for PERSON B's church]
               this weekend, so we probably won't get a chance to touch. But within the next
               two weeks.

JONES:         Yeah, I've actually been, I actually intended to call you a couple of weeks ago.
               Because some stuff, I told you I sit in on the monitor meetings now, because of
               [PERSON C).

PERSON B:      Right.

JONES:         And some stuff came up with [PERSON C] regarding [PERSON C] at
               the last ... not [PERSON C] personally, regarding [PERSON C's]
               organization which is directed at [PERSON C] and I got the new
               monitoring reports yesterday ... Monday, and I just haven't read them
               yet, but I was going to say, hell, you might, uh, get back on schedule.

       17.     On or about August 3, 2011, during the same recorded telephone conversation,

JONES and PERSON B continued to discuss scheduling a meeting with PERSON C, with

JONES suggesting that they meet in Brinkley, Arkansas "like we did that time". PERSON B

told JONES he would call PERSON C and discuss scheduling the meeting. JONES then agreed

to provide information concerning internal reports about PERSON C and about a referral

program in place at DRS, stating, "I get you up to speed with what's going on, you know, some

of the stuff that's been said (about PERSON C] ... Just let [PERSON C] know we still trying to

look out on the inside, but I did not know about the referral thing changing .... [UI] So, we'll

see ifi can fmd out what's going on with that."

         18.   On or about September 11, 2011, JONES, PERSON B, and PERSON C met at a

restaurant in Memphis, Tennessee. PERSON C used a business credit card to pay for the meal,

which cost $189.64.
   Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 186 of 217

          Case 4:14-cr-00197-BRW Document 2 Filed 10/02/14 Page 7 of 9




       19.    On or about September 11,2011, during a recorded telephone conversation after

the restaurant meeting, PERSON B called JONES and asked JONES: "Can you roll that

information over in your head real quick and let's come back to the table next weekend?"

JONES replied, "You know I can." JONES and PERSON B then had the following exchange:

PERSON B:     Alright. That's what we need to do.

JONES:        Ok.

PERSON B:     But [PERSON C's] adamant. [PERSON C] wants to know where you are on it.
              And, you know, what's the pros and cons?

JONES:        Yeah, let me just, let me just weigh it and make sure that it's cool. Because I
              know internally we have lots of discussions when those types of issues come up,
              so ....

PERSON B:     Right.

JONES:        Let me think it through for a minute and I'll get back with you.

PERSON B:     Ok. Ok. Alright. I appreciate you man.


       20.    On or about November 23,2011, during conversation consensually recorded by

PERSON B, PERSON B told JONES: "[L]isten are you going to be in town, 'cause I got that

little package I owe you from our last meeting." After JONES confirmed that he was in town,

PERSON B stated, "You in town. Alright, well I ain't gonna be able to get with you today, but

I'm going to catch you before the weekend's out. I done went up there and blessed the food

man. So, you know I got to bring it to the table." JONES replied, "You're the man... Yeah,

you kinda like the Lord, he may not come when you want him, but you right on time."

       21.     On or about November 27,2011, JONES met PERSON Bat a restaurant in West

Memphis, Arkansas, which was surveilled and consensually recorded.

                                               -7.-
   Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 187 of 217

          Case 4:14-cr-00197-BRW Document 2 Filed 10/02/14 Page 8 of 9




       22.     On or about November 27, 20 II, during the surveilled and consensually recorded

meeting at the restaurant in West Memphis, Arkansas, JONES accepted from PERSON B a

$1,000 cash payment JONES believed to be bribe money provided by PERSON C related to the

September 11, 2011 meeting.

                       All in violation ofTitle 18, United States Code,§ 371.

                                   COUNT TWO
                   Bribery Concerning Programs Receiving Federal Funds
                           (Violation of 18 U.S.C. § 666(a)(l)(B))

       23.     Paragraphs 1 through 9 and 15 through 22 are realleged and incorporated by

reference as though fully set forth herein.

       24.     In each of the calendar years 2009,2010, and 2011, ADHS received in excess of

$10,000 from the United States government under Federal programs involving grants, subsidies,

loans, guarantees, insurance, and other forms of assistance. In addition, JONES' position with

ADHS was largely funded by Federal monies.

       25.     From in or about August 2009 and continuing until in or about February 2012, in

the Eastern District of Arkansas and elsewhere, the defendant, STEVEN B. JONES,

a deputy director of ADHS-an agency of the government of the State of Arkansas-did

knowingly and corruptly solicit and demand for his own benefit and the benefit of others, and

accept and agree to accept, a thing of value from PERSON B and PERSON C-that is, cash

payments, meals and beverages-for JONES and others intending to be influenced and rewarded

in connection with a business, transaction, and series of transactions of ADHS that involves

$5,000 or more.

        All in violation of Title 18, United States Code, Section 666(a)(I)(B).

                                                 -8-
   Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 188 of 217

         Case 4:14-cr-00197 -BRW Document 2 Filed 10/02/14 Page 9 of 9




PATRICK C. HARRIS




       IC                S (AR #89208)
ANGELA S. JEGLEY (AR #79100)                   Trial Attorney
Assistant United States Attorneys              Public Integrity Section
Eastern District of Arkansas                   Criminal Division
                                               U.S. Department of Justice
Post Office Box 1229
424 W. Capitol Avenue, Suite 500               1400NewYorkAve., N.W., 12th Floor
Little Rock, Arkansas 72203                    Washington, D.C. 20530
Tel: (501) 340-2600                            Tel: (202) 514-1412
Fax: (501)340-2725                             Fax: (202) 514-3003
                                               E-mail: edward.sullivan@usdoj .gov
Tricia.harris@usdoj. gov
Angela. jegley(a),usdoj .gov




                                         -9-
      Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 189 of 217

          Case 4:14-cr-00197-BRW Document 5 Filed 10/02/14 tlPager~mrtti- COURT
                                                     EASTERN DISTRICT OF ARKANSAS
                                                                              FILED
                        IN THE UNITED STATES DISTRICT COURT                    OCT - 2 20f4
                       FOR THE EASTERN DISTRICT OF ARKANSAS
                                                                            IN OPEN COURT
                                                                   ~                             fRK
UNITED STATES OF AMERICA                       )                            DEPUTY CLERK
                                               )
 v.                                            )    No. 4:14-CR-197 BRW
                                               )
 STEVEN B. JONES                               )
                                               )


                                     PLEA AGREEMENT

        The United States of America, by and through the undersigned attorneys for the United

States Attorney's Office for the Eastern District of Arkansas (USAO-EDAR) and the Public

Integrity Section, Criminal Division, United States Department of Justice, and Steven B. Jones

(hereinafter referred to as the "defendant") enter into the following agreement:

        Charges and Statutory Penalties

         1.    The defendant agrees to plead guilty to a two-count Information, which includes

Count 1, Conspiracy, in violation ofTitle 18, United States Code, Section 371, and Count 2,

Bribery Concerning Programs Receiving Federal Funds, in violation of Title 18, United States

Code, Section 666(a)(l)(B).

         2.    The defendant understands that he is charged in Count 1 of the Information with

Conspiracy, which has the following essential elements, each of which the United States would be

required to prove beyond a reasonable doubt at trial:

               a.       First, from in or about April2007, and continuing to in or about February

2012, two or more people reached an agreement to commit the crimes ofbribery and honest

services wire fraud;
Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 190 of 217




                 b.      Second, the defendant voluntarily and intentionally joined in the agreement,

 either at the time it was first reached or at some later time while It was still in effect;

                 c.      Third, at the time the defendant joined in the agreement, the defendant

 knew the purpose of the agreement; and

                 d.      Fourth, while the agreement was in effect, a person or persons who had

 joined in the agreement knowingly did one or more acts for the purpose of carrying out or carrying

 forward the agreement.
         3.     The defendant further understands that he is charged in Count 2 of the Information

 with Bribery Concerning Program& Receiving Federal Funds. The defendant understands that

 Title 18, United States Code, Section 666(a)(t )(B) has the following essential elements, each of

 which the United States would be required to prove beyond a reasonable doubt at trial:

                a.      First, the defendant was an agent of the Arkansas Department of Human

 Services (ADHS), an agency of the government of the State of Arkansas;

                b.      Second, between in or about August 2009 and continuing until in or about

 February 2012, the defendant corruptly solicited or demanded for the benefit of himself and others
                                          ....    ...
                                                  .

 and accepted and agreed to accept from another, something of value, that is cash payments, meals

 and beverages, in connection with a business, transaction, or series of transactions of ADHS;

                c.      Third, the business, transaction or series of transactions of ADHS involved

 something of a value of $5,000 or morei and

                d.      Fourth, ADHS received benefits in excess of$10,000 In each ofthe

 calendar years 2009, 2010, 20 I I, and 2012, pursuant to a. federal program involvi11g a grant,

 contract, subsidy, loan, guarantee, insurance, or other form of federal assistance.


                                                      -2-
Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 191 of 217

                                                                                                          l;::.,·:n
                                                                                                           -   -   .J




         3.      The defendant understands that pursuant to Title 18, United States Code, Section

 371, Count I carries a maximum sentence of five (5) years of Imprisonment, a fine of$250,000 or

 a tlne of twice the pecuniary gain or Joss pursuant to 18 U.S.C. § 3571 (d), a S100 special

 assessment, a three year term of supervised release, and an obligation to pay any applicable interest

 or penalties on fines or restitution not timely made. The defendant further understands that

 p~rsuant to Title 18, United States Code, Section 666(a.)(l)(B), Count 2 carries a maximum

 sentence of ten (I 0) years imprisonment, a fine of $250,000 or fi~e of twice the pecuniary gain or

 loss pursuant to 18 U.S.C. § 3571 (d), a $100 special assessment, a three year term of supervised

 release, and an obligation to pay any applicable interest or penalties on fines or restitution not

 timely made.
         4.      If the Court accepts the defendant's plea of guilty and the defendant fulfills each of

 the terms and conditions of this Plea Agreement, the United States agrees that it will not further

 prosecute the defendant for any orimes described in the attached "Factual Basis for Plea" or for any

 conduct of the defendant now known to the USAO-EOAR, the Public Integrity Section, and to the

 law enforcement agents working with the USAO~EDAR and the Public Integrity Section on the

 present investigation. Nothing in this Plea Agreement is intended to provide any limitation of

 liability arising out of any acts of violence.

        Factual Stipulations

        5.      The defendant agrees that the attached "Factual Basis for Plea" fairly and

 accurately describes the defendant's actions and involvement in the offense to which the defendant

 is pleading guilty. The defendant knowingly, voluntarily, and truthfully ttdmits the facts set forth

 in the Factual Basis for Plea.


                                                  ·3-
Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 192 of 217




        Sentenclnr
        6.     The defendant is aware that the sentence will be imposed by the Court after

considering the Federal Sentencing Guidelines and Policy Statements (hereinafter "Sentencing

Guidelines"). The defendant acknowledges and understands that the Court will compute an

advisory sentence under the Sentencing Guidelines and that the applicable guidelines will be

determined by the Court relying in part on the results of a Pre-Sentence Investigation by the

Court's probation office, which investigation wlll commence after the guilty plea has been entered.

The defendant is also aware that, under certain circumstances, the Court may depart from the

advisory sentencing guideline range that it has computed, and may raise that advisory sentence up

to and Including the statutory maximum sentence or lower that advisory sentence. The defendant

is further aware and understands that the Court is required to consider the advisory guideline range

determined under the Sentencing Guidelines, but is not bound to impose that sentence; the Court is

permitted to tailor the ultimate sentence in light of other statutory concerns, and such sentence may

be either more severe or less severe than the Sentencing Guidelines' advisory sentence. Knowing

these facts, the defendant understands and acknowledges that the Court has the authority to impose

any sentence within and up to the statutory maximum authori2:ed by Jaw for the. offenses identified

in paragraph I and that the defendant may not withdraw the plea solely as a result of the sentence

imposed.
       7.      The United States reserves the right to inform the Court and the probation office of

all facts pertinent to the sentencing process, including all relevant information concerning the

offenses committed, whether charged or not, as well as concerning the defendant and the

defendant's background. Subject only to the express tenns of any agreed-upon sentencing


                                                 -4-
Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 193 of 217




 recommendations contained in this Plea Agreement, the United States further reserves the right to

 make any recommendation as to the quality and quantity of punishment.

        8.      The defendant is aware that any estimate of the probable sentence or the probable

 sentencing range relating to the defendant pursuant to the advisory Sentencing Oufdellnes that the

 defendant may have received from any source is only a prediction and not a promise, and is not

 binding on the United States, the probation office, or the Court, ~ccpt as expressly provided in

 this Plea Agreement.

        Sentencing Guidelines Stipulations

        9.      The defendant understands that the sentence in this case will be determined by the

Court, pursuant to the factors set forth in 18 U.S.C. § 3553(a), including a consideration of the

guidelines and policies promulgated by the United States Sentencing Commission, Guidelines

Manual20.11 (hereinafter "Sentcncins Guidelines" or ..U.S.S.G."). Pursuant to Federal Rule of

Criminal Procedure 11 (c){ I)(B), and to assist the Court in determining the appropriate sentence,

the parties stipulate to the following;

               a.       Bue Offense Level Under the Guidelines

       The parties agree and stipulate that, because the defendant was a public official, the Base

Offense Level, pursuant to U.S.S.O. § 2CI.l(a), Is a Levell4.

               b.       Specific Offense Characteristics Under the Guidelines

       The parties agree and :Jtipulate that bec11.use the offense involved more than one bribe, the

defendant's Base Offense Level should be increased by two levels, pursuant to U.S.S.G. §

2CI.l(b)(l).
Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 194 of 217




        The parties agree and stipulate that pursuant to U.S.S.G. §§ 2CI.I{b)(2) and 281.1, the

 things of value and bcncfitsreoeived by the defendant totaled between $10,000 and $20,000.

        The parties do not agree and stipulate regarding the applicability of other Specific Offense

 Characteristics.

                 c.    Acceptance of Responsibilltv

        Provided that the defendant clearly demonstrates acceptance of responsibility, to the

satisfaction of the United States, through the defendant's allocution and subsequent conduct prior

to the imposition of sentence, the United States agrees that a two-level reduction would be

appropriate, pursuant to U.S.S.G § 3EI.I (a).

        The United States, however, may oppose any adjustment for acceptance of' responsibility if

the defendant:

                       i.     fails to admit a complete factual basis for the plea at the time the

                              defendant is sentenced or at any other time;

                      ii.     challenges the adequacy or sufficiency of the United States' offer of

                              proof at any time after the plea is entered;

                      iii.    denies involvement in the offense:

                      iv.     gives conflicling statements about that involvement or is untruthful

                              with the Court, the United States, or the probation office;

                      v.      fnil11 to give complete and accurate information about the               J-..........
                              defendant's financial status to the probation office:

                      vi.     obstt'ucts o.r attempts to obstruct justice, prior to sentencing;




                                                 -6·
Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 195 of 217




                         vii.    has engaged in conduct prior to signing this Plea Agreement which

                                 reasonably could be viewed as obstruction or an attempt to obstruct

                                justice, and has failed to fully disclose such conduct to the United

                                States prior to signing Ibis Plea Agreement;

                        viii.   fails to appear in Court as required;

                        ix.     after signing this Plea Agreement, engages In additional criminal

                                conduct; or

                        x.      attempts to withdraw the plea of guilty.

         Irthe defendant has accepted responsibility as described above, and the defendant's

 offense level is I 6 or greater, the United States agrees that an additional one-level reduction would

 be appropriate, pursuant to U.S.S.G. § 3E1.l(b), because the defendant has assisted authorities by

 providing timely notice ofthe defendant's Intention to enter a plea of guilty, thereby permitting tho

 United States to avoid preparing for trial and permitting the Court to allocate its resources

 efficiently.

                d.      Criminal History Catego[)' and Sentencing Recommendation

         The defendant understands that his Criminal History Category will be determined by the

Court after completion of a Pre-Sentence Investigation Report by the probation office. Based

upon the information now available to the United States (Including representations by the

defense),_the defendant's Criminal History Category is Level I. The United States funher agrees

to recommend the low end of any applicable sentencing guideline range.




                                                  -7-
Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 196 of 217




        Axreement as to Sentencing Allocution

        4.      The parties agre~ that either party may suggest that the Court consider a sentence

 outside of the advisory Sentencing Guidelines range, based upon the factors to be considered in

 impo.sing a sentence pursuant to Title 18, United States Code, Section 35S3(a).

        5,      In support of any variance or departure argument from the advisory Sentencing

Ouideline range, the defendant agrees to provide to the United States reports, motions, memoranda

of law and documentation of any kind on which the defendant intends to rely at sentencing not

later than the deadlines set by the Court or, if no sentencing schedule is set by the Court, 21 days

before sentencing. Any basis for sentencing with respect to which all expert reports, motions,

memoranda oflaw and documentation have not been provided to the United States on or before the

deadlines set by the Court, or if no sentencing schedule is set by the Court, 21 days before

sentencing, shall be deemed waived.

        Court Not Bound by the Plea Agreement
        6.      It is understood that pursuant to Federal Rules of Criminal Procedure 11 (c)(l )(B)

and ll(c)(J)(B) the Court is not bound by the above stipulations, either as to questions of fact or as

to the parties' determination of the applicable Sentencing Guidelines range, or other sentencing

issues. In the event that the Court considers any Sentencing Guidelines adjustments, departures,

or calculations different from any stipulations contained in this Plea Agreement, or contemplates a

sentence out:~ ide the advisory Sentencing Guidelines range based upon the general sentencing

factors listed in Title 18, United States Code, Section 3553(a), the parties reserve the right to

answer any related inquiries from the Court.




                                                 -8-
Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 197 of 217




            Appeal Wajver _

            7.   The defendant is aware that he has the right to challenge the defendant's sentence

 and guilty plea on direct appeal. The defendant is also aware that the defendant may, in some

 circumstances, be able to argue that the defendant's guilty plea should be set aside, or sentence set

 aside or reduced, in a collateral challenge (such as pursuant to a motion under 28 U.S.C. § 2255).

 Knowing that, and in consideration of the concessions made by the United States in this Plea

 Agreement, the defendant knowingly and voluntarily waives his right to appeal or collaterally

 challenge: (a) the defendant's guilty plea and any other aspect of the defendant's conviction,

 Including, but not limited to, any rulings on pretrial suppression motions or any other pretrial

 dispositions of motions and issues; and (b) the defendant's sentence or the manner in which his

 sentence was determined pursuant to 18 U.S.C. § 3742, except to the extent that the Court

 sentences the defendant to a period of imprisonment longer than the statutory maximum, or the

 Court departs upward from the applicable Sentencing Guidelines range pursuant to the provisions

 of U.S.S.O. § 5K.2 or based on a consideration of the sentencing factors set forth in 18 U.S.C. §

 3553(a).

        8.       The defendant further understands that nothing in this Plaa Agreement shall affect

the USAO·EDAR or the Public Integrity Section's right and/or duty to appeal as set forth in Title

 18, United States Code, Section 3742(b). However, if the United States appeals the defendant's

sentence pursuant to Soction 3742(b), the defendant shall be released from the above waiver of

appellate rights. By signing this Plea Agreement, the defendant acknowledges that the defendant

has discussed the appeal waiver set forth in this Plea Agreement with the defendant's attorney.

The defendant further agrees, together with the United States, to request that the district court enter


                                                  -9-
Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 198 of 217

                                                                                                      23t33




a specific finding that the waiver of the defendant's right to appeal the sentence to be imposed in

this case was knowing and voluntary.

        9.     The defendant's waiver of rights to appeal and to bring collateral challenges shall

not apply to appeals or challenges based on new legal principles in the United States Court of

Appeals for the Eighth Circuit or Supreme Court cases decided after the date of this Plea

Agreement that are held by the United States Court of Appeals for the Eighth Circuit or Supreme

Court to have retroactive effect.

        Restitution

        10.    In addition to the other penalties provided by law, the Court may also order the

defendant to make restitution under 18 U.S.C. § 3663. The defendant und~rstands that restitution

may be ordered by the Court to all victims of the defendant's criminal conduct and not merely for

those victims included jn the count(s) to which the defendant agrees to plead guilty.

       )l.elease/Detention

        11.    The defendant acknowledges that while the United States will not seek a change in

the defendant's release conditions pending sentencing, the final decision regarding the defendant's

bond status or detention will be made by the Court at the time of the defendant's plea of guilty.

Should th0 defendant engage in futther criminal conduct or violate any conditions of release prior

to sentencing., however, the United States may move to change the defendant's conditions of

release or move to revoke the defendant's release.

       Breach of Agreement
       12.     The defendant understands and agrees that if, after entering this Plea Agreement,

the defendant fails specifically to perform or to fulfill completely each and every one of the


                                                ·10-
Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 199 of 217

                                                                                                       241.33




defendant's obligations under this Plea Agreement, or engages in any criminal activity prior to

sentencing, the defendant will have breached this Plea Agreement, In the event of such a breach:

(a) the United States will be free from its obligations under the Plea Agreement: (b) the defendant

will not have the right to withdraw the guilty plea; (c) the defendant shall be fully subject to

criminal prosecution for any other crimes, including perjury and obstruction ofjustice; and (d) the

United States will be free to use against the defendant, directly and indirectly. in any criminal or

civil proceeding, all statements made by the defendant and any of the information or materials

provided by the defendant, including such statements, information and materials provided

pursuant to this Plea Agreement or during the course of any debriefings conducted in anticipation

of, or after entry of this Plea. Agreement, including the defendant's statements mode during

proceedings before the Court pursuant to Fed. R. Ct'im. P. 11.

       13.     The defendant understands that Federal Rule ofCriminal Procedure ll(f) and

Federal Rule of Evidence 410 ordinarily limit the admissibility of statements made by a defendant

in the course of plea discussions or plea proceedings if a guilty plea is later withdrawn. The

defendant knowingly and voluntarily waives the rights which arise under these rules.

       14.     The defendant understands and agrees that the United States shall only be required

to prove a breach of this Plea Agreement by a preponderance of the evidence. The defendant

further understands and agrees that the United States need only prove a violation of federal, state,

or local criminal law by probable cause in order to establish a breach of this Plea Agreement.

       15.     Nothing in this Plea Agreement shall be construed to permit the defendant to

commit perjury, to make falss statements or declarations, to obstruct justice, or lo protect the

defendant from prosecution for any crimes not included within this Plea Agreement or committed


                                                -11-
     Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 200 of 217

·. 15 .Au~-~c~a~~ ~1~,.cr_:-Og1~~:§ff.~ sQ?ftY,!1;l~~~:PA~F~~9~~.M                          Page 12 of 15         25133
     .                                           .



         by the defendant after the execution of this Plea Agreement. The defendant understands and

         agrees that the United States reserves the right to prosecute the defendant for any such offenses.

         The defendant further understands that any perjury, false statements or declarations. or obstruction

         ofjustice relating to the defendant's obligations under this Plea Agreement shall constitute a

         breach of this Plea Agreement. However, in the event of such a breach, the defendant will not be

         allowed to withdraw this guilty plea.

                Waiver of Statyte of Limitations
                 16.    It is further agreed that should any conviction following the defendant's plea of

         guilty pursuant tcrthis Plea Agreement be vacated for any reason, then any prosecution that is not

         time-barred by the applicable statute of limitations on the date of tho signing of this Plea

         Agreement (including any counts that the United States has agreed not to prosecute or to dismiss at

         sentencing pursuant to this Plea Agreement) may be commenced or reinstated again&t the

         defendant, notwithstanding the expiration of the statute of limitations between the signing ofthis

         Plea Agreement and the commencement or reinstatement of such prosecution. It is the intent of

         this Plea Agreement to waive all defenses based on the statute of limitations with respect to any

         prosecution that is not time-barred on the date that this Plea Agreement is signed.

                Complete Agreement

                 f7.    No other agreements, promises, understandings, or representations have been made

         by tho parties or their counsel than those co11tained in writing herein, nor will any such agreements,

         promises, understandings, or representations be made unless committed to writing and signed by

         the defendant, defonse counsel, and a prosecutor for the USAOKEDAR or the Public lntegrlty

         Section.

                                                          -12-
                       ~-   ----~-~---------------------------------.




Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 201 of 217




         18.    The defendant further understands that this Plea Agreement is binding only upon

 tho USAO·EDAR and the Public Integrity Section. This Plea Agreement does not bind the Civil

· Division of the United States Department of Justice or any other United States Attorney's Office,

 nor does it bind any other state, local, or federal prosecutor. It also do~ not bar or compromise

 any civil, tax, or administrative claim pending or that may be made against the defendant.

        19.     If the foregoing terms and conditions are satisfactory, the defendant may so

 indicate by signing the Plea Agreement in the space indicated below and returning the original to

 me once it has been signed by the defendant and by you or other defense counsel.

                                                      Respectfully submitted,

 PATRICK C. HARRIS                                    JACK SMITH
 First             tates Attorney                     Chief



PATRICIA S. HA           (AR #89208)                  E       R P.
ANGELA S. JEOLEY (AR #79 I 00)                        Trial Attorney
Assistant United States Attorneys                     Public Integrity Section
Eastern District of Arkansas                          Criminal Division
Post Office Box 1229                                  U.S. Department of Justice
424 W. Capitol Avenue, Suite 500                      1400 New York Ave., N.W., 12th Floor
Little Rock, Arkansas 72203                           Washington, D.C. 20530
Tel: (50 I) 340-2600                                  Tel: (202) 514-1412
Fax: (501) 340-2725                                   Fax:   (202)51~3003
E-mail: tricia.harris@usdoj.gov                       E-mail: edward.su!ljyan@usdoj.gov
         angelajegley@usdoj.gov




                                               -13-
     Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 202 of 217

,.                                                                                                            27/33




                                       DEFENDANT'S ACCEPTANC6

                I have read this Plea Agreement In its entirety and discussed it with my attorney. I hereby

       acknowledge that It fully sets forth my agreement with the United States. I further state that no

       additional promises or representations have been made to me by any official of the United States

       in connection with this matter. I understand the crimes to which I have agreed to plead guilty,

       the maximum penalties for those offenses and Sentencing Guideline penalties potentially

       applicable to them. 1am satisfied with the legal representation provided to me by my attorney.

       We have had sufficient time to meet and discuss my case. We have discussed the chllt'ges against

       me, possible defenses 1 might have, the terms ofthis Plea Agreement, and whethor I should go to

       trial. Jam entering Into thi! Plea Agreement freely, voluntarily, and knowingly because I am

       guilty of the offense_s to which I am pleading guilty, and I believe this Plea Agreement is in my

       best interest.



                                                   ~~STEVEN B. JONES
                                                     Defendant




                                                      -14-
Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 203 of 217




                              ATTORNEY'S ACKNOWLEDGMENT

         I have read each of the pages constituting this Plea Agrcemcnt1 reviewed them with my

  client. and discussed the provisions of the Plea Agreement with my client, fully. These pages

  accurately and completely set forth the entire Plea Agreement. I concur In my client's desire to

  plead guilty as set forth in this Plea Agreement.



                                               ~~
                                               MICHAEL BOOKER, ESQ.
                                                Attomey for the Defendant




                                                 -15·
      Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 204 of 217

              Case 4:14-cr-00197-BRW Document 6 Filed 10/02/14 PIMJ~.bltf~ICT COURT
                                                            r: '-'STERN DISTRICT OF ARKANSAS

                                                                                     ~-=I LED
                       IN THE UNITED STATES DISTRICT COURT                             OCT - 2 201~
                      FOR THE EASTERN DISTRICT OF ARKANSAS                            . .JPEN COURT
                                                                             ~R~LERK
 UNITED STATES OF AMERICA                        )                                   -·EPUTY CLERK
                                                 )
 v.                                              )    No. 4:14-CR-197 BRW
                                                 )
 STEVEN B. JONES                                 )
                                                 )




                                    FACTUAL BASIS FOR PLEA

        In support of the defendant's plea of guilty to Counts 1 and 2 of the Information,

charging Conspiracy, in violation of Title 18, United States Code, Section 371, and Bribery

Concerning Programs Receiving Federal Funds, in violation ofTitle 18, United States Code,

. Section 666(a)(2) and 2~ STEVEN B. JONES (hereinafter referred to as the "defendant") admits

that the following facts are true and that, if this matter were to proceed to trial, the United States

could prove, through competent evidence, the following facts beyond a reasonable doubt:

         1.       The Arkansas Department of Human Services (ADHS) was an agency of the

 government of the State of Arkansas. ADHS was Arkansas' largest state agency, with more than

 7,500 employees and a budget of approximately $6.8 billion. Among other things, ADHS works

 with a system of community mental health care centers to provide mental health services to

 adults, juveniles, and children.
         2.       In each of the calendar years of2007, 2008,2009, 2010,2011, and 2012 ADHS

 received over $10,000 in federal funding.
    Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 205 of 217


              Case 4:14-cr-00197-BRW Document 6 Filed 10/02/14 Page 2 of 7



        3.       Defendant STEVEN B. JONES was a resident of Crittenden County, Arkansas.

 JONES was a Deputy Director of ADHS from in or a~out April2007 to in or about July 2013.

 Prior to becoming Deputy Director of ADHS, JONES served in the Arkansas House of

 Representatives from in or about November 1998 through in or about December 2004. JONES

represented District 54, which included most of Crittenden County.

        4.       As a supervisor and employee, JONES was an agent of ADHS, and he was

responsible for, among other things, overseeing five of ADHS's ten divisions. JONES worked

directly with the Division Directors in areas that encompass both state and federal programs,

including at-risk youth and delinquent youth services facilities.

        5.      PERSON A was a resident of Crittenden County, Arkansas. PERSON A was the

Pastor and Superintendent of a church located in West Memphis, Arkansas.

       6.       PERSON B was a resident of Crittenden County, Arkansas. PERSON B was a

juvenile probation officer in Crittenden County and city councilmember for West Memphis,

Arkansas. PERSON B was also affiliated with PERSON A's church.

       7. ·     PERSON C was the owner of two mental health companies, COMPANY A and

COMPANY B.

       8.       COMPANY A provided outpatient mental health services to juveniles.

       9.       COMPANY B provided inpatient mental health services to juveniles.

       10.      Beginning in or about April2007, and continuing through in or about February

2012, in the Eastern District of Arkansas, and elsewhere:

                a.     JONES solicited, accepted, and agreed to accept things of value from

PERSON C.


                                                -2-
    Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 206 of 217


             Case 4:14-cr-00197-BRW Document 6 Filed 10/02/14 Page 3 of 7



                b.     PERSON C provided things of value to JONES, through the use of

 intermediaries, PERSONS A and B, including multiple cash payments totaling at least $10,000.

               c.      In return for cash payments and other things of value, JONES agreed to

 perform and actually performed official acts that benefitted PERSON C, COMPANY A, and

 COMPANY B.

               d.      JONES, PERSON B, and PERSON C concealed their activity and

dealings by holding periodic meetings at restaurants in Memphis, Tennessee or rural Arkansas so

they would not be easily recognized. At the meetings, they discussed the business interests of

PERSON C, COMPANY A, and COMPANY B, and JONES agreed to take official acts to

benefit PERSON C, COMPANY A, and COMPANY B, including providing internal ADHS

information to PERSON C.

               e.     In general, prior to or during the meetings between JONES, PERSON B

and PERSON C, PERSON C would provide either PERSON A or PERSON B with checks from

companies associated with PERSON C that were made payable to PERSON A's church.

PERSON A typically deposited the checks or caused the checks to be deposited and received

cash in return. PERSON A would then provide PERSON B with all or part of the cash, and

PERSON B would, in turn, provide all or part of the cash payment to JONES during a

subsequent, in-person meeting between JONES and PERSON B. On at least one occasion,

PERSON A provided the cash directly to JONES. JONES also informed PERSON A that he

wanted to receive cash instead of checks so that the bribe payments would not be easily

traceable.




                                               -3-
   Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 207 of 217

         Case 4:14-cr-00197-BRW Document 6 Filed 10/02/14 Page 4 of 7



              f.     JONES and PERSON C used PERSON B as an intermediary to relay

messages, schedule meetings, and deliver bribe payments from PERSON C to JONES.

              g.     JONES and PE~SON B frequently spoke in basic code when talking to

each other on the telephone and refrained from using PERSON C's name.

              h.     JONES, PERSON A, PERSON B, PERSON C, and others hid, concealed,

and covered up their dealings and activity by using bank accounts associated with PERSON A's

church to funnel bribe payments to JONES. The transmission ofthe funds. that were paid by

PERSON C to JONES, with the assistance of PERSONS A and B, occurred through the use of

interstate wire communications.

       11.    On or about August 3, 2011, during a recorded telephone conversation between

JONES and PERSON B, JONES provided information to PERSON B regarding reports that

JONES had received during internal ADHS monitoring meetings concerning COMPANY A and

COMPANY B.
       12.     On or about August 3, 2011, during the same recorded telephone conversation,

PERSON B told JONES that PERSON C wanted to meet with JONES to discuss concerns about

a referral process that PERSON C believed was disadvantageous to PERSON C's businesses.




                                               -4-
   Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 208 of 217


               Case 4:14-cr-00197-BRW Document 6 Filed 10/02/14 Page 5 of 7



         13.      On or about August 3, 2011, during the same recorded telephone conversation,

JONES and PERSON B continued to discuss scheduling a meeting with PERSON C, with

JONES suggesting that they meet in Brinkley, Arkansas "like we did that time". PERSON B

told JONES he would call PERSON C and discuss scheduling the meeting. JONES then agreed

to provide information concerning ADHS's internal reports about PERSON C, stating, "I get you

up to speed with what's going on, you know, some of the stuff that's been said [about PERSON

C] ... Just let [PERSON C] know we still trying to look out on the inside, but I did not know

about the referral thing changing.... [UI] So, we'll see ifl can find out what's going on with

that." JONES also told PERSON B they should "get back on schedule," meaning that JONES

wanted to start receiving bribe payments again as he had in the past on several occasions.

         14.     On or about September 11, 2011, JONES, PERSON B, and PERSON C met at a

restaurant in Memphis, Tennessee. PERSON C paid for the meals and beverages. During the

meeting, JONES and PERSON C discussed ADHS issues affecting PERSON C' s businesses.

       15.       On or about September 11, 2011, during a recorded telephone conversation after

the restaurant meeting in Memphis, Tennessee, PERSON B called JONES and asked JONES:

"Can you roll that information over in your head real quick and let's come back to the table next

weekend?" JONES replied, "You know I can." JONES and PERSON B then had the following

exchange:

PERSON B:        Alright. That's what we need to do.

JONES:           Ok.

PERSON B:        But [PERSON C's] adamant. [PERSON C] wants to know where you are on it.
                 And, you know, what's the pros and cons?



                                                -5-
         Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 209 of 217

..
                   Case 4:14-cr-00197-BRW Document 6 Filed 10/02/14 Page 6 of 7



      JONES:          Yeah, let me just, let me just weigh it and make sure that it's cool. Because I
                      know internally we have lots of discussions when those types of issues come up,
                      so ....

      PERSON B:       Right.

     JONES:           Let me think it through for a minute and I'll get back with you.

     PERSON B:        Ok. Ok. Alright. I appreciate you man.

             16.     On or about November 23,2011, during a conversation that was consensually

     recorded by PERSON B, PERSON B told JONES: "[L]isten are you going to be in town, 'cause

     I got that little package I owe you from our last meeting." After JONES confinned that he was

     in town, PERSON B stated, "You in town. Alright, well I ain't gonna be able to get with you

     today. but I'm going to catch you before the weekend's out. I done went up there and blessed

     the food man. So, you know I got to bring it to the table." JONES replied, "You're the man...

     Yeah, you kinda like the Lord, he may not come when you want him, but you right on time."

            17.      On or about November 27. 2011, JONES met PERSON Bat a restaurant in West

     Memphis, Arkansas, which was surveilled and consensually recorded.

            18.      On or about November 27, 2011, during the surveilled and consensually recorded

     meeting at the restaurant in West Memphis, Arkansas, JONES accepted from PERSON B a

     $1,000 cash payment, which JONES believed to be bribe money provided by PERSON C related

     to the September 11, 2011 meeting.




                                                      -6-
                              Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 210 of 217

 •
~.   .
     ••   I

              '
                  I   f

                                    Case 4:14-cr-00197-BRW Document 6 Filed 10/02/14 Page 7 of 7




                                  19.    The defendant has read this Factual Basis for Plea and has discussed it with his

                          attorney. The defendant fully understands the contents of this Factual Basis for·Plea and agrees

                          without reserve that it accurately describes the events and his acts. The defendant acknowledges

                          that the contents of this Factual Basis for Plea do not constitute all of the facts relevant to the

                          matters discussed herein.



                                                                                     Date




                          MICHAEL BOOR:ESQ:"                                         Date
                          Counsel for Defendant




                                                                               -7-
       Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 211 of 217

                                                                                              Page 1 of2




                                 FORIMMEDIATERELEASE CRM

                        THURSDAY, OCTOBER 2, 2014              (202)   514-2007~


                            WWW.JUSTICE.GOV TTY (866) 544-5309 ~



                  FORMER DEPUTY DIRECTOR OF THE LARGEST STATE

             AGENCY IN ARKANSAS PLEADS GUILTY TO BRIBERY SCHEME



            WASHINGTON- A former deputy director of the Arkansas Department of Human
       Services (ADHS), a multi-billion dollar state agency, pleaded guilty today for providing
       official assistance in exchange for bribes from the owner of two mental health companies.



            Assistant Attorney General Leslie R. Caldwell ofthe Justice Department's Criminal
       Division and First Assistant United States Attorney Patrick C. Harris of the Eastern
       District of Arkansas made the announcement.



               Steven B. Jones, 49, of Marion, Arkansas, pleaded guilty to a two-count
       information charging him with conspiracy and bribery concerning programs receiving
       federal funds. A sentencing hearing is scheduled for Apri12, 2015, before U.S. District
       Judge Billy Roy Wilson of the Eastern District of Arkansas.



              According to his plea agreement, Jones served as deputy director of ADHS from
      approximately April2007 until July 2013. While serving in that capacity, Jones solicited
      and accepted multiple cash payments and other things of value from the owner of two
      businesses that provided inpatient and outpatient mental health services to juveniles.
      This individual provided the cash payments and other things of value to Jones through the
      use of two intermediaries, a local pastor and a former county probation officer and city
      councilman.


          As part of his plea, Jones admitted that in return for the bribes, he provided official
      assistance, including providing internal ADHS information about the individual's
      businesses. Jones further admitted that he and other members of the conspiracy
      concealed their dealings by, among other things, holding meetings at restaurants in
      Memphis, Tennessee, or rural Arkansas, where they would not be easily recognized;
      funneling the cash payments through the pastor's church; providing the bribe payments in




file:///C:IUsers/mwhite 1IAppData/Local/Microsoft!Windows/Temporary%20Internet%20... 10/10/2014
      Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 212 of 217
                                                                                            Page 2 of2




      cash so that the transactions would not be easily traceable; and speaking in code during
      telephone conversations.



              The case was investigated by the FBI's Little Rock Field Office, and is being
      prosecuted by Trial Attorney Edward P. Sullivan of the Criminal Division's Public
      Integrity Section and Assistant U.S. Attorneys Patricia S. Harris and Angela S. Jegley of
      the Eastern District of Arkansas.


                                                ###



      14-1081


      DO NOT REPLY TO THIS MESSAGE. IF YOU HAVE QUESTIONS, PLEASE USE THE CONTACTS
      IN THE MESSAGE OR CALL THE OFFICE OF PUBLIC AFFAIRS AT 202-514-2007 ep.




file:///C:/Users/mwhite 1IAppData/Local!Microsoft/Windows/Temporary%20Internet%20... 10/10/2014
       Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 213 of 217



A R KA N S A S
DEPARTMINT OF                              Division of Medical Services
MHUMAN                                            Medicaid Director's Office


~f SERVICES
                                       P.O. Box 1437, Slot S401 ·Little Rock, AR 72203-1437
                                                501-682-8292 ·Fax: 501-682-1197



 October 10, 2014




 Re: Maxus, Inc. dba Arkansas Counseling Associates

 Dear Beneficiary:
 Maxus, Inc. (also known as Arkansas Counseling Associates) will be suspended as a Medicaid
 provider on November 5, 2014. This will affect the services you receive from Maxus. Arkansas
 Medicaid will not pay for your current behavioral health services at Maxus after November 5, 2014. If
 you choose to continue your services at Maxus after that date, you will be responsible for paying for
 them.
 Maxus was suspended from Medicaid because of credible allegations of engaging in conduct that
 defrauds or abuses the Medicaid program. Effective immediately, Arkansas Medicaid will not pay for
 any new services at Maxus, Inc.

 Value Options Arkansas can help you fmd another Medicaid provider in your area. Value Options
 Arkansas has set up a toll-free phone number that you can call. The Hotline is open from 8:00a.m. to
 5:00p.m., Monday through Friday. Please calll-877-821-0566, then, when asked, select Option 2.

 Please feel free to contact Vivian Jackson, 501-537-1359, or Derica Scott, 501-396-6369, at the
 Arkansas Medicaid Behavioral Health Unit if you have additional questions or concerns about this
 letter.

 Sincerely,




 Dawn Stehle, DHS - DMS Medicaid Director

 Cc: Marilyn Strickland, DHS - DMS Chief Operating Officer
 Anita Castleberry, DHS - DMS Business Operations Manager
 Mark White, DHS Chief Counsel




                                             humanservices.arkansas.gov
                    Protecting the vulnerable, fostering independence and promoting better health
       Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 214 of 217


A I K A N S A S
DIPARTM.NT OF                              Division of Medical Services
MHUMAN                                            Medicaid Director's Office

lf SERVICIS                            P.O. Box 1437, Slot S401 ·Little Rock, AR 72203-1437
                                                501-682-8292 ·Fax: 501-682-1197



 October 10, 2014




 Re: Trinity Behavioral Health Care

 Dear Parent or Guardian:

 Trinity Behavioral Health Care will be suspended as a Medicaid provider on November 5, 2014. This
 will affect the services your child receives from Trinity. Arkansas Medicaid will not pay for staying at
 Trinity after November 5, 2014. If you choose to continue your child's services at Trinity after that
 date, you will be responsible for paying for them.

 Trinity was suspended from Medicaid becat,1se of credible allegations of engaging in conduct that
 defrauds or abuses the Medicaid program.

 ValueOptions Arkansas can help you find services from other Medicaid providers. A Care Coordinator
 is ready to help you move your child to another provider. You can call Value Options at 1-877-821-
 0566, then, when asked, press Option 2. Someone will be available from 8:00 a.m. to 5:00 p.m.,
 Monday through Friday to take your call.

 All moves must occur before November 5, 2014, to allow Medicaid payment for services to continue.

 Please feel free to contact Vivian Jackson, 501-537-1359, or Derica Scott, 501-396-6369, at the
 Arkansas Medicaid Behavioral Health Unit if you have questions or concerns about this letter.

 Sincerely,




 Dawn Stehle, DHS - DMS Medicaid Director

Cc: Marilyn Strickland, DHS - DMS Chief Operating Officer
Anita Castleberry, DHS - DMS Business Operations Manager
Mark White, DHS Chief Counsel




                                          humanservices.arkansas.gov
                 Protecting the vulnerable, fostering independence and promoting better health
                Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 215 of 217




A· R K A N I A S
DIP. AiliTM.INT. op·                             Division of Medical Services

UHU
J ·-=
           IUAU
                                                        Medicaid Director's Office

                                             P.O. Box 1437, Slot S401 ·Little Rock, AR 72203-1437
                                                      501-682-8292 ·Fax: 501-682-1197



  October 10, 2014

 Re: Trinity Behavioral Health Care
     Maxus, Inc. dba Arkansas Counseling Associates

 Dear Provider:

 Trinity Behavioral Health Care and Maxus, Inc. (also known as Arkansas Counseling Associates) will
 be suspended as a Medicaid provider on November 5, 2014. This may affect your practice's volume of
 requests for services. Arkansas Medicaid will not pay for any services at Trinity and Maxus after
 November 5, 2014, so many Medicaid beneficiaries and their families will be looking elsewhere for
 help.

 Trinity Behavioral Health Care and Maxus, Inc. were suspended as Medicaid providers by Medicaid
 based upon allegations of engaging in conduct that defrauds or abuses the Medicaid program. This
 means Arkansas Medicaid will not pay for ~ referrals, admissions, intakes, inpatient or outpatient
 services for Medicaid beneficiaries at Trinity Behavioral Health or Maxus, Inc. as of now.

 ValueOptions Arkansas will assist both beneficiaries and providers to ease the disruption in services.
 Please contact Nicole May, Melissa Ortega, or Kerri Brazzel for additional information at 501-707-
 0950 or 1-877-821-0566, Option 2.

 All transition services must occur before November 5, 2014 to allow for continued Medicaid payment
 for affected beneficiaries.

 Please feel free to contact Anita Castleberry, 501-682-8154 or Debra Garrison, 501-537-1361, if you
 have additional questions or concerns related to this letter.

 Sincerely,
 .....:::::'\         :r..,c...-'"""
 -~-~~
 Dawn Stehle, DHS -DMS Medicaid Director

 Cc: Marilyn Strickland, DHS - DMS Chief Operating Officer
 Anita Castleberry, DHS-DMS Business Operations Manager
 Mark White, DHS Chief Counsel




                                                humanservices.arl<ansas.gov
                       Protecting the vulnerable, fostering independence and promoting better health
         Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 216 of 217



A R K A N I .A S
DIPA.RTM.NT OF                               Division of Medical Services
         . ... IUA.U
MHU.....,.                                           Medicaid Director's Office


~f SmYICES                               P.O. Box 1437, Slot S401 ·Little Rock, AR 72203-1437
                                                  501-682-8292 ·Fax: 501-682-1197


  October 10,2014




 Re:   Trinity Behavioral Health Care
       Maxus, Inc., dba Arkansas Counseling Associates

 Dear Primary Care Physician:

 Trinity Behavioral Health Care and Maxus, Inc. (also known as Arkansas Counseling Associates) will be
 suspended as a Medicaid provider on November 5, 2014. Arkansas Medicaid will not pay for any services at
 Trinity and Maxus after November 5, 2014, so many Medicaid beneficiaries and their families will be looking
 elsewhere for help as they transition to new providers. This may affect your practice's volume of requests for
 referrals to other mental health providers.

 Trinity Behavioral Health Care and Maxus, Inc. were suspended as Medicaid providers by Medicaid based upon
 allegations of engaging in conduct that defrauds or abuses the Medicaid program. This means Arkansas
 Medicaid will not pay for ~ services for Medicaid beneficiaries at Trinity Behavioral Health or Maxus, Inc.
 as of now.

 Because your practice may experience increased requests for new referrals to other outpatient behavioral health
 centers or residential treatment facilities, Medicaid has developed a list of your primary care patients who may
 be affected. To obtain your list, please contact Debra Garrison at 501-537-1361.

 The Department of Human Services, Division of Medical Services, has established a 30-calendar-~ay window
 within which beneficiaries currently at Trinity or receiving outpatient services at Maxus, Inc. may be transferred
 to other Medicaid-approved providers. All transition services must occur before November 5, 2014 to allow for
 continued Medicaid payment for services.

 Please feel free to contact Anita Castleberry, 501-682-8154, or Debra Garrison, 501-537-1361, if you have
 additional questions or concerns related to this matter.

 Sincerely,




 Dawn Stehle, DHS - DMS Medicaid Director

 Cc: Marilyn Strickland, DHS - DMS Chief Operating Officer
 Anita Castleberry, DHS - DMS Business Operations Manager
 Mark White, DHS Chief Counsel




                                            humanservices.arl{ansas.gov
                   Protecting the vulnerable, fostering independence and promoting better health
     Case 4:14-cv-00651-KGB Document 3 Filed 11/05/14 Page 217 of 217




 •!• OMS to contact HP for letters (complete)
 •!• OMS will draft notifications to beneficiaries, providers, PCP's (in process)
     >   OMS or its designee to notify the above groups
•!• Value Options will:
         >-   Provide Care Coordination Services to transition the approximately 80 beneficiaries
              admitted to the present psychiatric residential treatment facility into appropriate medically
              necessary behavioral health services by assisting them and their families based upon review
              of their individual needs. It is anticipated this transition period will take 30 days.
         >    Establish a toll-free beneficiary hotline number to assist beneficiaries and their families
              (guardians) with referrals to other outpatient providers located within the beneficiary's
              area of residence. The toll free number will be available during regular business days and
              hours (8 a.m. to 5 p.m.). The phone number is 877-821-0566, option 2 at the voice prompt.
              Value Options will keep a phone log of the contacts and referrals made.
         >    Value Options will provide weekly reports monitoring the beneficiary transition and access
              to services.
         >-   Value Options will provide OMS with a list of beneficiaries potentially receiving services
              from the inpatient and outpatient provider (completed)
•!• OMS will utilize beneficiary listings to run claims data and identify associated PCPs. (in process)
•!• Beneficiary records transfer will be handled through regular HIPAA compliant requests. Value
    Options will assist providers and beneficiaries with coordinated dissemination of information related
    to timely records authorizations.
•!• Value Options shall authorize extension of benefits per normal process if additional patient
    assessments are required.
•!• PCP referrals for new provider services shall be handled according to established RSPMI policy;
    however, OMS will assess PCP capacity in the affected areas and utilize Medicaid Managed Care
   Services contract to resolve any issues that may arise.
•!• OMS and Value Options will coordinate with Division of Behavioral Health Services to ensure
    processes for transitioning beneficiaries are in alignment.
